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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION                                                              ENTERED
                                                                                                                 06/15/2020
                                                            )
In re:                                                      )    Chapter 11
                                                            )
WESTWIND MANOR RESORT                                       )    Case No. 19-50026 (DRJ)
ASSOCIATION, INC., et al.,1                                 )
                                                            )    Jointly Administered
                                    Debtors.
                                                            )

          FINDINGS OF FACT, CONCLUSIONS OF LAW, AND ORDER CONFIRMING
           THE DEBTORS’ JOINT CHAPTER 11 PLAN AS OF MARCH 20, 2020

         Each of the above-captioned debtors and debtors in possession (collectively, the “Debtors”),

Filed with this Court a voluntary petition for relief under chapter 11 of Title 11, United States Code,

11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), on March 4, 2019 (the “First Petition Date”),

April 4, 2019, and May 30, 2019 (collectively, the “Petition Dates”). On March 20, 2020, the

Debtors Filed the First Amended Disclosure Statement with Respect to the Joint Chapter 11 Plan

Dated as of March 20, 2020 [Docket No. 786] (as amended and modified to date, the “Disclosure

Statement”). On March 20, 2020, the Debtors and the Committee (defined below) Filed the Joint

Chapter 11 Plan as of March 20, 2020 [Docket No. 787] (as supplemented by the Plan Supplement

(defined below) and as amended and modified to date, the “Plan”), the Plan is attached as Exhibit

1 hereto. 2 On March 18, 2020, the Court entered the Order Approving: (I) The Disclosure




1
 The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Westwind Manor Resort Association, Inc. (7533); Warrior ATV Golf, LLC (3420); Warrior Acquisitions, LLC
(9919); Warrior Golf Development, LLC (5741); Warrior Golf Management, LLC (7882); Warrior Golf Assets, LLC
(1639); Warrior Golf Venture, LLC (7752); Warrior Premium Properties, LLC (0220); Warrior Golf, LLC (4207);
Warrior Custom Golf, Inc. (2941); Warrior Golf Equities, LLC (9803); Warrior Golf Capital, LLC (5713); Warrior
Golf Resources, LLC (6619); Warrior Golf Legends, LLC (3099); Warrior Golf Holdings, LLC (2892); and Warrior
Capital Management, LLC (8233). The address of the Debtors’ corporate headquarters is 15 Mason, Suite A, Irvine,
California 92618.
2
 Capitalized terms used herein and not defined herein shall have the meaning ascribed thereto in either the Disclosure
Statement or the Plan.

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Statement; etc. [Docket No. 783] (the “Disclosure Statement Approval Order”). The Disclosure

Statement Approval Order, among other things: (i) approved the Disclosure Statement as

containing “adequate information” pursuant to Section 1125 of the Bankruptcy Code; (ii) approved

the solicitation procedures for the solicitation of votes on the Plan; (iii) fixed June 2, 2020, as the

date by which all Ballots to accept or reject the Plan must be received (the “Voting Deadline”);

(iv) fixed June 5, 2020, as the last day for Creditors and other parties in interest to File objections

to Confirmation of the Plan (the “Objection Deadline”); (v) scheduled a hearing to consider

Confirmation of the Plan and final approval of the Disclosure Statement for June 15, 2020 (the

“Confirmation Hearing”); and (vi) prescribed the form and manner of notice with respect to the

foregoing.

        The Plan provides for equitable and prompt Distributions to Creditors of the Debtors and

preserves the value of the Estates. The Debtors and the Committee believe that the Plan

represents the best opportunity to distribute the Estates’ assets to Creditors at the earliest possible

date.

        The Confirmation Hearing was held on June 15, 2020. After having conducted the

Confirmation Hearing, reviewed any objections, considered the evidence, exhibits, and records,

and considered any remaining objections and arguments of counsel,


        THE COURT HEREBY FINDS AND CONCLUDES AS FOLLOWS:

        A.       Jurisdiction. The Court has jurisdiction over the Chapter 11 Cases and the subject

matter of the Confirmation Hearing pursuant to 28 U.S.C. §§ 157 and 1334. Plan Confirmation is

a “core proceeding” pursuant to 28 U.S.C. § 157(b)(2), and this Court has jurisdiction to enter this

Order with respect thereto. The Debtors are eligible for relief under Section 109 of the Bankruptcy

Code.

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       B.       Venue. Venue of the Chapter 11 Cases and the subject matter of the Confirmation

Hearing are proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

       C.       Judicial Notice. This Court takes judicial notice of the docket of the Chapter 11

Cases maintained by the Clerk of the Court, including all pleadings, all documents Filed, all orders

entered, all evidence and arguments made, proffered or adduced at the hearings held before this

Court during the pendency of the Chapter 11 Cases, and of the claims register and proofs of claim

maintained by Donlin, Recano & Company, Inc. the duly-appointed claims agent in these cases

(the “Claims Agent”).

       D.       Plan Supplement. On May 18, 2020, the Debtors Filed their Plan Supplement

[Docket No. 903]. On June 11, 2020, the Debtors Filed an amended Plan Supplement [Docket No.

975] (the “Plan Supplement”).

       E.       Voting Solicitation. In conformance with Rules 2002 and 3017 of the Federal Rules

of Bankruptcy Procedure (the “Bankruptcy Rules”), the Debtors solicited votes on the Plan by

distributing the following documents to Holders of Claims in Classes 3C, 4, 5 and 6: (1) the

Confirmation Hearing Notice (as defined in the Disclosure Statement Approval Order); (2) a Ballot

for voting on the Plan; (3) a pre-addressed and postage paid return envelope for the Ballot; and (4)

the Disclosure Statement Approval Order (as more detailed in the Ballot Declaration, defined

herein). In addition, Ballots were supplied to each Person requesting a Ballot who did not otherwise

receive a Ballot.

       F.       Notice. Notice of the Confirmation Hearing, the Voting Deadline, and the

Objection Deadline was issued in conformance with Rules 2002, 3017, and 3020, and the

Disclosure Statement Approval Order was issued to creditors and other parties in interest, as

evidenced by the affidavits of service [Docket Nos. 785, 832 and 833] Filed with this Court. The


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Court finds that notice of the Plan and of the Confirmation Hearing has been reasonable, adequate,

and sufficient in all respects.

        G.       Tabulation of Acceptances. Upon the Declaration Of John Burlacu On Behalf Of

Donlin, Recano & Company, Inc. Regarding Voting And Tabulation Of Ballots Accepting And

Rejecting The Debtors And Committees First Amended Joint Plan Of Reorganization [Docket No.

966] (the “Ballot Declaration”), the Debtors certified that they received the requisite acceptances

both in number and amount from certain Classes of Creditors for Confirmation of the Plan as

required under Section 1126 of the Bankruptcy Code. As evidenced by the Ballot Declaration and

based upon the record before the Court, the solicitation and tabulation of acceptances and

rejections of the Plan by the Debtors, their counsel, and the Claims Agent was accomplished in a

proper, fair, and lawful manner in accordance with the Disclosure Statement Approval Order, all

applicable sections of the Bankruptcy Code, and all applicable sections of the Bankruptcy Rules.

Holders of Other Priority Claims in Class 1, Other Secured Claims in Class 2, Prepetition Secured

Claims in Class 3A and Class 3B are Unimpaired and are, therefore, deemed to accept the Plan.

Holders of Interests in Class 7 and Class 8 were deemed to have rejected the Plan. Ballots were

transmitted to Holders of Claims in Classes 3C, 4, 5, and 6 (the “Voting Classes”) in accordance

with the Disclosure Statement Approval Order. The Debtors solicited votes for the Plan from the

Voting Classes in good faith and in a manner consistent with the Bankruptcy Code. As of the date

of the Ballot Declaration, Holders of Claims entitled to vote to accept or reject the Plan voted in

the numbers and percentages stated in the Ballot Declaration. At least two-thirds in dollar amount

and more than one-half in number of the Creditors in Classes 3C, 4, 5 and 6 who voted on the Plan

voted to accept the Plan.

        H.       Objections. No objections were timely Filed to the Plan.


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        I.       Reasonable Classification of Claims and Equity Interests (Section 1122 and Section

1123(a)(1), (2) and (3)). The Plan designates Claims and Interests, in compliance with Sections

1122 and 1123(a)(1)–(3) of the Bankruptcy Code, in the following eight Classes: Other Priority

Claims (Class 1); Other Secured Lender Claims (Class 2); Prepetition Secured Claims (Classes

3A, 3B and 3C); General Unsecured Claims (Class 4); Investment Claims (Class 5); Convertible

Note Claims (Class 6); Custom Golf Interests (Class 7); and LLC Interests (Class 8). The

classification of Claims and Interests in Section 3 of the Plan is reasonable and necessary, has a

rational, justifiable, and good faith basis, and places Claims and Interests in a particular Class

where such Claims or Interests are substantially similar to the other Claims or Interests of such

Class. Under the Plan, Holders of Other Priority Claims in Class 1, Other Secured Claims in Class

2, and Prepetition Secured Claims in Classes 3A and 3B are Unimpaired, and are, therefore,

deemed by law to have accepted the Plan. Holders of Claims in Classes 3C, 4, 5 and 6, and Holders

of Custom Golf Interests in Class 7 and LLC Interests in Class 8 are Impaired. Classes 7 and 8 is

deemed to have rejected the Plan. In light of the foregoing, the Plan complies with Sections 1122

and 1123(a)(1)–(3) of the Bankruptcy Code.

        J.       No Discrimination (Section 1123(a)(4)). Section 4 of the Plan provides for all

Holders of Claims and Interests within a particular Class to receive identical treatment under the

Plan on account of such Claims and Interests unless such a Holder has expressly consented to less

favorable treatment. The Plan, therefore, complies with Section 1123(a)(4) of the Bankruptcy

Code.

        K.       Implementation of the Plan (Section 1123(a)(5)). Section 5 and other provisions of

the Plan provide adequate means for implementation of the Plan, including: (1) substantive

consolidation of the Debtors and their respective Estates for all purposes relating to the Plan,


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including for purposes of voting, Confirmation, and Distributions; (2) the appointment of a

Creditor Trustee and the designation of the powers of the Creditor Trustee; (3) the liquidation of

the Debtors’ assets; (4) the appointment of the Creditor Trustee and the designation of the powers

of the Creditor Trustee; (5) the authorization of the creation of the Creditor Trust and the

administration of the Creditor Trust by the Creditor Trustee; (6) the cancellation of existing

securities of the Debtors; (7) the authorization of necessary and appropriate corporate action; and

(8) the preservation of certain Causes of Action, Avoidance Actions and Assigned Estate Claims.

Section 7 of the Plan specifies the procedures by which Distributions will be made to Holders of

Allowed Claims. Accordingly, the Plan provides adequate, proper, and legal means for its

implementation. The Plan, therefore, complies with Section 1123(a)(5) of the Bankruptcy Code.

       L.       Equity Securities (Section 1123(a)(6)). Section 1.02(111) of the Plan provides that

the Organizational Documents of the Debtors shall be amended to prohibit the issuance of

nonvoting equity securities (to the extent required by the Bankruptcy Code).

       M.       Selection of Officers, Directors and Managers (Section 1123(a)(7)). Section 5.05

of the Plan establishes the procedures for appointing a Creditor Trustee. Jeremy Rosenthal has

been selected as the Creditor Trustee by the Debtors, with the agreement of the Committee.

Accordingly, to the extent Section 1123(a)(7) of the Bankruptcy Code is applicable, the selection

of the Creditor Trustee is consistent with the interests of the Debtors’ Creditors and comports with

public policy. The Plan, therefore, complies with Section 1123(a)(7) of the Bankruptcy Code.

       N.       Payment of Future Income (Section 1123(a)(8)).Section 1123(a)(8) is inapplicable

because the Debtors are not individuals.

       O.       Impairment or Unimpairment of Claims or Interests (Section 1123(b)(1)). Section

4 of the Plan Impairs or leaves Unimpaired each Class of Claims and the class of Interests in


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accordance with Section 1123(b)(1) of the Bankruptcy Code. The Plan, therefore, complies with

Section 1123(b)(1) of the Bankruptcy Code.

       P.       Assumption or Rejection of Executory Contracts and Unexpired Leases (Section

1123(b)(2)). Pursuant to Section 8 of the Plan, the Debtors have exercised sound business

judgment in determining that all executory contracts and unexpired leases of the Debtors shall be

deemed rejected by the Debtors as of the Effective Date, except for any executory contract or

unexpired lease that: (1) has been previously rejected or assumed by the Debtors pursuant to an

order of this Court, or (2) is the subject of a motion to assume Filed by the Debtors which is

pending on the Effective Date. The Plan, therefore, complies with Section 1123(b)(2) of the

Bankruptcy Code.

       Q.       Release of Certain Causes of Action (Section 1123(b)(3)(A)). Sections 6 and 13 of

the Plan provides for certain releases. The releases contained in the Plan comply with Section

1123(b)(3)(A) of the Bankruptcy Code.

       R.       Pursuit of Causes of Action, Avoidance Actions and Assigned Estate Claims

(Section 1123(b)(3)(B)). Section 5 of the Plan and Exhibit “A” to the Plan, as amended and

supplemented by the Plan Supplement [Docket No. 975] provides that the Reorganized Debtors and

the Creditor Trustee, with respect to Assigned Estate Claims, will retain and may (but are not

required to) enforce certain Causes of Action, Avoidance Actions and the Assigned Estates Claims,

as applicable. The Plan also provides that after the Effective Date, the Reorganized Debtors and the

Creditor Trustee, with respect to Assigned Estate Claims, in their sole and absolute discretion, shall

have the right to bring, settle, release, compromise, or enforce such Causes of Action, Avoidance

Actions or Assigned Estate Claims, as applicable (or decline to do any of the foregoing), without

further approval of this Court. The Reorganized Debtors and the Creditor Trustee (as applicable)


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are permitted to pursue such Causes of Action, Avoidance Actions or Assigned Estate Claims so

long as it is the best interests of either the Reorganized Debtors or the Creditor Trust, as applicable.

Pursuant to Section 5.14 of the Plan, the failure of the Debtors to specifically list any claim, right

of action, suit, proceeding or other Cause of Action, or Assigned Estate Claim in the Plan does not,

and will not be deemed to, constitute a waiver or release by the Estates, the Creditor Trustee, or the

Debtors of such claim, right of action, suit, proceeding or other Cause of Action, Avoidance Actions

or Assigned Estate Claim, and the Creditor Trustee (on behalf of the Debtors, and as applicable,

with respect to Direct Causes of Action and/or WGP Causes of Action, assigned pursuant to the

Plan) will retain the right to pursue such claims, rights of action, suits, proceedings and other Causes

of Action, Avoidance Actions and, Assigned Estate Claims, therefore, no preclusion doctrine,

collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable or otherwise) or

laches will apply to such claim, right of action, suit, proceeding or other Cause of Action, Avoidance

Actions, Assigned Estate Claims, Direct Causes of Action and/or WGP Causes of Action, upon or

after the Confirmation or consummation of the Plan. The provisions of Section 5 of the Plan comply

with and are consistent with Section 1123(b)(3)(B) of the Bankruptcy Code. The retention and

enforcement of Causes of Action, Avoidance Actions and Assigned Estate Claims (1) are an

essential means of implementing the Plan, (2) are integral elements of the settlements and

compromises incorporated in the Plan, and (3) confer material benefits on, and are in the best

interests of, the Debtors, their Estates, their stakeholders and other parties in interest.

        S.       Plan Compliance With Provisions of the Bankruptcy Code (Section 1129(a)(1)).

The Plan complies with all applicable provisions of the Bankruptcy Code, including Sections 1122

and 1123 of the Bankruptcy Code. The Plan, therefore, complies with Section 1129(a)(1) of the

Bankruptcy Code.


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       T.       Proponent’s Compliance With Applicable Provisions of the Bankruptcy Code

(Section 1129(a)(2)). The Debtors and the Committee have fully complied with the provisions of

Sections 1125 and 1126 of the Bankruptcy Code and with Bankruptcy Rules 3017 and 3018

regarding disclosure and notice. The Debtors solicited acceptances of the Plan from Class 3C

(Prepetition Secured Claim) Class 4 (General Unsecured Claims), Class 5 (Investment Claims),

and Class 6 (Convertible Note Claims). Class 1 (Other Priority Claims), Class 2 (Other Secured

Claims), and Classes 3A and 3B (Prepetition Secured Claims) are Unimpaired under the Plan and,

as a result, pursuant to Section 1126(f), Holders of Claims in those Classes are conclusively

presumed to have accepted the Plan. Holders of Custom Golf Interests in Class 7 and LLC Interests

in Class 8 are Impaired and deemed to have rejected the Plan, and the Debtors did not solicit votes

from these Classes. The Debtors, therefore, have satisfied the applicable requirements of Section

1129(a)(2) of the Bankruptcy Code.

       U.       Plan Proposed in Good Faith (Section 1129(a)(3)). The Plan has been proposed in

good faith and not by any means forbidden by law. The Plan was proposed by the Debtors and the

Committee with the intent to realize the maximum benefit for the Debtors’ stakeholders. The Plan

was the product of arms-length negotiations among the Debtors and the Committee, and the Plan

is consistent with the interests of all the Estates’ constituencies. In determining that the Plan has

been proposed in good faith, the Court has examined the totality of the circumstances surrounding

the filing of the Chapter 11 Cases and the formulation of the Plan and has concluded that there is

a reasonable likelihood that the Plan will achieve a result consistent with the objectives and

purposes of the Bankruptcy Code. The Debtors, therefore, have satisfied the requirements of

Section 1129(a)(3) of the Bankruptcy Code.




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       V.       Payment of Costs and Expenses (Section 1129(a)(4)). Any payments made or to be

made by the Debtors or by a person issuing securities or acquiring property under the Plan, for

services or for costs and expenses in or in connection with the Chapter 11 Cases, or in connection

with the Plan and incident to the Chapter 11 Cases, have, to the extent required by the Bankruptcy

Code, the Bankruptcy Rules, or the various orders of this Court, been approved by, or are subject

to the approval of, this Court as reasonable. The Plan, therefore, complies with Section 1129(a)(4)

of the Bankruptcy Code.

       W.       Disclosure of Identities of Officers, Directors, Members and Insiders (Section

1129(a)(5)). The Debtors and the Committee have agreed to the designation, as set forth in the

Plan and the Plan Supplement, of Jeremey Rosenthal, as the Creditor Trustee. The Plan, therefore,

complies with Section 1129(a)(5) of the Bankruptcy Code.

       X.       No Rate Change (Section 1129(a)(6)). The Plan does not provide for any rate

change over which a governmental regulatory commission will have jurisdiction. Therefore,

Section 1129(a)(6) of the Bankruptcy Code is not applicable to the Plan.

       Y.       Best Interest of Creditors (Section 1129(a)(7)). With respect to each Class of

Impaired Claims against and Interests in the Debtors, each Holder of a Claim or Interest of such

Class either (1) has accepted (or is deemed to have accepted) the Plan, or (2) will receive or retain

under the Plan on account of such Claim or Interest, property of a value, as of the Effective Date

of the Plan, that is not less than the amount that such Holder would so receive or retain if the

Debtors were liquidated on such date under Chapter 7 of the Bankruptcy Code. The Plan, therefore,

complies with Section 1129(a)(7) of the Bankruptcy Code.

       Z.       Plan Acceptance (Section 1129(a)(8)). Classes 7 and 8 are Impaired and deemed to

have rejected the Plan. Therefore, the Plan does not satisfy the requirements of Section 1129(a)(8)


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of the Bankruptcy Code. However, as shown below, the Plan meets the requirements of Section

1129(b) of the Bankruptcy Code.

       AA.      Plan Treatment of Administrative Claims, Other Priority Claims, and Priority Tax

Claims (Section 1129(a)(9)). The Plan satisfies the requirements of Section 1129(a)(9) of the

Bankruptcy Code because, except to the extent that the Holder of a particular Claim has agreed to

different treatment of such Claim, Section 2 of the Plan provide that Administrative Claims, DIP

Facility Claims, and Priority Tax Claims shall be treated in accordance with Section 1129(a)(9) of

the Bankruptcy Code.

       BB.      Acceptance by at Least One Impaired Class (Section 1129(a)(10)). The Plan has

been accepted by Classes 3C, 4, 5 and 6, therefore, has been accepted by all Classes of Impaired

Claims under the Plan (which acceptance has been determined without including any vote by any

insider). The Plan, therefore, complies with Section 1129(a)(10) of the Bankruptcy Code.

       CC.      Feasibility (Section 1129(a)(11)). Except for the liquidation provided for in the

Plan, Confirmation of the Plan is not likely to be followed by the liquidation, or the need for further

financial reorganization, of the Debtors or any successor to the Debtors under the Plan. The Plan,

therefore, complies with Section 1129(a)(11) of the Bankruptcy Code.

       DD.      Payment of Fees (Section 1129(a)(12)). Section 1129(a)(12) of the Bankruptcy

Code requires the payment of all fees payable under 28 U.S.C. § 1930. Section 2.05 of the Plan

provides that the Debtors shall pay all fees required by the Bankruptcy Code, Bankruptcy Rules,

United States Trustee guidelines, and the rules and orders of the Bankruptcy Court. Moreover,

Section 2 of the Plan provides for the payment in full of all Allowed Administrative Claims. The

Plan defines “Administrative Claim” to include “any fees or charges assessed against the Debtors’




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respective Estates under section 1930 of title 28 of the United States Code.” The Plan, therefore,

complies with Section 1129(a)(12) of the Bankruptcy Code.

        EE.      Retiree Benefits (Section 1129(a)(13)). Section 1129(a)(13) of the Bankruptcy

Code requires that the Plan provide “for the continuation of payment of all retiree benefits, as that

term is defined in section 1114 of [the Bankruptcy Code], at the level established pursuant to

subsection (e)(1)(B) or (g) of section 1114 [of the Bankruptcy Code], at any time prior to the

confirmation of the plan, for the duration of the period the debtor has obligated itself to provide

such benefits.” The Debtors are not (and, as of the Petition Dates, were not) obligated to provide

any retiree benefits as that term is defined pursuant to Section 1114 of the Bankruptcy Code.

Accordingly, Section 1129(a)(13) is inapplicable.

        FF.      Domestic Support Obligations (Section 1129(a)(14)). The Debtors are not

individuals and have no domestic support obligations. Section 1129(a)(14) of the Bankruptcy Code

is, therefore, inapplicable.

        GG.      Requirements for Debtors that Are Individuals (Section 1129(a)(15)). Section

1129(a)(15) of the Bankruptcy Code only applies to individuals. The Debtors are not individuals,

and Section 1129(a)(15) is, therefore, inapplicable.

        HH.      Transfer of Property (Section 1129(a)(16)). The Debtors are each moneyed,

business, or commercial corporations. Accordingly, Section 1129(a)(16) of the Bankruptcy Code

is inapplicable.

        II.      The Plan Does Not Discriminate Unfairly and is Fair and Equitable (Section

1129(b)). With respect to the Classes that are Impaired under, and have not accepted, the Plan,

the Plan does not discriminate unfairly and is fair and equitable. With respect to Classes 7 and

8, the deemed rejecting Impaired classes, no Holder of any Claim or Interest that is junior to


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these Classes will receive or retain under the Plan on account of such junior Claim or Interest

any property. Accordingly, Section 1129(b) of the Bankruptcy Code is satisfied.

       JJ.      No Other Plan (Section 1129(c)). Other than the Plan, no reorganization plan has

been Filed with respect to the Debtors’ Chapter 11 Cases. Therefore, the requirements of Section

1129(c) of the Bankruptcy Code have been satisfied.

       KK.      Avoidance of Taxes or Application of Securities Laws (Section 1129(d)). No party

in interest that is a governmental unit (as defined in the Bankruptcy Code) has objected to the Plan

on the grounds that the principal purpose of the Plan is the avoidance of taxes or the avoidance of

the application of Section 5 of the Securities Act of 1933, and the Court finds this is not the

principal purpose of the Plan. The Plan, therefore, satisfies the requirements of Section 1129(d) of

the Bankruptcy Code.

       LL.      Release, Injunction and Exculpation. The release, injunction, and exculpation

provisions set forth in the Plan and this Order: (1) are within the jurisdiction of this Court under

28 U.S.C. § 1334; (2) are each an essential means of implementing the Plan pursuant to Section

1123(a)(5) of the Bankruptcy Code; (3) are integral elements of the settlements and compromises

incorporated in the Plan; (4) confer material benefits on, and thus are in the best interests of, the

Debtors, their Estates, their stakeholders, and other parties in interest; and (5) are, under the facts

and circumstances of the Chapter 11 Cases, consistent with and permitted pursuant to Sections

105, 1123 and 1129 and all other applicable provisions of the Bankruptcy Code. Further,

reasonable, adequate, and sufficient notice of and opportunity to be heard with respect to such

release, injunction, and exculpation provisions have been provided under the circumstances and

such notice and opportunity have complied with all provisions of the Bankruptcy Code,




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Bankruptcy Rules, and all other applicable rules and law, including Bankruptcy Rules 2002(c)(3),

3016(c), 3017(f) and 3020.

        MM. Exemption from Transfer Taxes. All transfers and issuances by the Debtors on and

subsequent to the Effective Date are transfers under the Plan free from the imposition of taxes of

the kind specified in Section 1146(a) of the Bankruptcy Code and are subject to the exemptions of

Section 1145 of the Bankruptcy Code.

        NN.      Substantive Consolidation. The evidence presented at the Confirmation Hearing

supports the Substantive Consolidation of the Debtors. Separating the liabilities and claims of the

Debtors would be time consuming, difficult and costly, and there will be considerable savings in

administrative costs by having one Disclosure Statement and Plan instead of several. Moreover,

no Creditor has objected to the substantive consolidation of the Debtors, and no Creditor can argue

that it will be prejudiced by substantive consolidation. The inclusion of the WGP Investors and

their Investment Claims (to the extent such WGP Investors have not exercised their respective

WPG Opt Out Rights, as provided in the Plan) is reasonable and such Substantive Consolidation

of the WGP Investment Claims and the treatment under the Plan is reasonable.

        OO.      Good Faith Solicitation. Based upon the record before the Court, the Debtors, the

Committee and their counsel have formulated and Filed the Plan, obtained approval of the

Disclosure Statement, and solicited votes on the Plan all in good faith and in compliance with the

applicable provisions of the Bankruptcy Code and are entitled to the protections afforded by

Section 1125(e) of the Bankruptcy Code and the exculpatory, injunctive, and release provisions

set forth in the Plan.

        PP.      Good Faith. The Debtors and the Committee and each of their respective members,

directors, employees, officers, managers, agents, advisors, attorneys, and financial advisors, have


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acted in good faith and in compliance with the applicable provisions of the Bankruptcy Code

pursuant to Sections 1125(e) and 1129(a)(3) of the Bankruptcy Code, with respect to the

administration of the Plan, the solicitation of acceptances with respect thereto, and the property to

be distributed thereunder and are entitled to the protections afforded by Section 1125(e) of the

Bankruptcy Code and the exculpatory, injunctive, and release provisions set forth in the Plan.

       QQ.      Retention of Jurisdiction. The Court may properly, and hereby does, retain

jurisdiction over the Debtors with respect to the matters set forth in Section 12 of the Plan.


       NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       1.       Confirmation. The Plan shall be, and hereby is, Confirmed, having met the

requirements of Section 1129 of the Bankruptcy Code. Any and all objections to the Plan not

previously withdrawn or resolved under the terms of this Order are hereby overruled in their

entirety. The terms of the Plan are incorporated herein and are an integral part of this Order. The

provisions of this Order are integrated with each other and are mutually dependent and not

severable.

       2.       Findings of Fact and Conclusions of Law. The findings of this Court set forth above

and the conclusions of law stated herein shall constitute findings of fact and conclusions of law

pursuant to Bankruptcy Rule 7052, made applicable to this proceeding by Bankruptcy Rule 9014.

To the extent any provision designated herein as a finding of fact is more properly characterized

to be a conclusion of law, it shall be so deemed, and vice versa.

       3.       Compliance with Sections 1122 and 1123 of the Bankruptcy Code. The Plan

complies with the requirements of Section 1122 and 1123 of the Bankruptcy Code.

       4.       Plan Classification Controlling. The classification of Claims for purposes of

Distributions provided for under the Plan shall be governed solely by the terms of the Plan. The

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classifications and amounts of Claims, if any, set forth in the Ballots tendered or returned by the

Debtors’ Creditors in connection with voting on the Plan (a) were set forth on the Ballots solely

for purposes of voting to accept or reject the Plan, (b) do not necessarily represent, and in no event

shall be deemed to modify or otherwise affect, the actual classification of such Claims under the

Plan for Distribution purposes, and (c) shall not be binding on the Debtors, or the Creditor Trustee.

        5.         Confirmation Hearing Record. The record of the Confirmation Hearing shall be,

and hereby is, closed as of June 15, 2020.

        6.         Implementation of the Plan. In accordance with Section 1142 of the Bankruptcy

Code, the implementation and consummation of the Plan in accordance with its terms shall be, and

hereby is, authorized and approved and the Debtors, the Creditor Trustee and any other Person

designated pursuant to the Plan shall be, and they hereby are, authorized, empowered, directed,

and ordered to execute, deliver, file, and record contracts, instruments, releases, indentures, and

other agreements or documents, whether or not such document, agreement, indenture, release,

instrument, or contract is specifically referred to in the Plan or the Disclosure Statement, and to

take any action necessary, appropriate or desirable to implement, effectuate, and consummate the

Plan in accordance with its terms. The Debtors and the Creditor Trustee, are hereby authorized and

directed to make all payments and Distributions required under the Plan and to implement the Plan

in all respects.

        7.         Binding Effect. Pursuant to Section 1141 of the Bankruptcy Code, the Plan and this

Order shall be legally binding upon and inure to the benefit of the Debtors, the Estates, the

Committee, the Creditor Trustee, the Holders of Claims, the Holders of Investment Claims, the

Holders of Convertible Note Claims, the Holders of Custom Golf Interests, the Holders of LLC

Interests, the Holders of WCG Investments (save to the extent such Holder has exercised, pursuant


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to the Plan their respective WCG Opt Out Right, and all other parties in interest in the Chapter 11

Cases, and their respective successors and assigns. Each federal, state, commonwealth, local, or

other governmental agency or department is hereby directed and ordered to accept any and all

documents and instruments necessary, useful, or appropriate to effectuate, implement, or

consummate the transactions contemplated by the Plan or herein.

       8.       Effective Date. The Effective Date shall mean the first Business Day following the

date on which all conditions to consummation set forth in Section 10 of the Plan have been satisfied

or waived (if capable of being duly and expressly waived), provided that no stay of the

Confirmation Order is then in effect, which date is specified by the Debtors in the Confirmation

Notice (defined below) Filed with this Court as the date on which the Plan shall take effect.

       9.       Record Date. The date for determining the identity of Holders of Allowed Claims

entitled to receive Distributions under the Plan shall be March 18, 2020 (the “Record Date”). All

Distributions on account of Allowed Claims, Allowed Investment Claims, Allowed Convertible

Note Claims, and Allowed WCG Investment Claims, shall be made to the Holder of such Claims

as of the Record Date. As of the close of business on the Record Date, the Claims register

maintained by the Claims Agent shall be closed. The Reorganized Debtor and the Creditor Trustee

shall have no obligation to recognize any transfer of any Claims occurring after the Record Date.

The Reorganized Debtors and the Creditor Trustee shall instead be entitled to recognize and deal

for all purposes under the Plan with the Holders as of the Record Date.

       10.      Administrative Bar Date (General). Except as otherwise provided in the Plan, any

Person holding an Administrative Claim (other than a claim for Professional Compensation) shall

File a request for payment of such Administrative Claim within thirty (30) days following the

Effective Date, except as specifically set forth in the Plan or a Final Order. At the same time any


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Person Files an Administrative Claim, such Person shall also serve a copy of the Administrative

Claim upon counsel for the Debtors. Any Person who fails to timely File and serve a request

for payment of such Administrative Claim shall be forever barred from asserting such

Administrative Claim against the Debtors, the Estates, the Reorganized Debtors, the

Creditor Trustee, the Creditor Trust or any of their respective properties.

       11.      Administrative Bar Date (Professionals). Any Person seeking an award by this

Court of Professional Compensation shall File a final application with this Court for allowance of

Professional Compensation for services rendered and reimbursement of expenses incurred through

the Effective Date within thirty (30) days after the Effective Date. The provisions of this paragraph

shall not apply to any Professional providing services pursuant to, and subject to the limits

contained in, the Order Authorizing Debtors the Retention and Compensation of Professionals

Utilized in the Ordinary Course of Business entered in the Chapter 11 Cases on June 6, 2019

[Docket No. 290].

       12.      Approval of Rejection of Executory Contracts and Unexpired Leases. On the

Effective Date, all remaining executory contracts or unexpired leases of the Debtors will be

deemed rejected in accordance with the provisions and requirements of Sections 365 and 1123 of

the Bankruptcy Code, except those executory contracts or unexpired leases that (a) have been

previously rejected or assumed by the Debtors pursuant to an order of this Court, or (b) are the

subject of a motion to assume Filed by the Debtors which is pending on the Effective Date. The

entry of this Order shall, subject to and upon the occurrence of the Effective Date, constitute the

approval, pursuant to Sections 365 and 1123(b)(2) of the Bankruptcy Code, of the rejection of

executory contracts and unexpired leases rejected pursuant to Section 8 of the Plan.




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       13.      Bar Date for Rejection Damage Claims. All proofs of claim with respect to

Claims arising from the rejection pursuant to the Plan of any executory contracts or

unexpired leases, if any, must be Filed with the Bankruptcy Court no later than the later of

(a) thirty (30) days after the Effective Date, and (b) thirty (30) days after the entry of an

order rejecting such executory contract or unexpired lease. Any Claims arising from the

rejection of executory contracts or unexpired leases that become Allowed Claims are

classified and shall be treated as Class 4 in accordance with Section 3 of the Plan. Any Claims

arising from the rejection of an executory contract or unexpired lease pursuant to the Plan

not Filed within the time required by this section will be forever barred from assertion

against the Debtors, their Estates, the Reorganized Debtors, the Creditor Trustee, the

Creditor Trust or any of their respective properties unless otherwise ordered by this Court

or provided in the Plan. Notwithstanding the foregoing, a Claim for damages arising from

the rejection of an executory contract or unexpired lease rejected pursuant to a different

order of this Court must be Filed prior to any bar date set forth in such order.

       14.      Creditor Trust. On or before the Effective Date: (a) the Creditor Trust shall be

established and the relevant agreements shall be executed by the parties thereto; (b) all other

necessary steps shall be taken to establish the Creditor Trust; and (c) and the Creditor Trust Assets

shall be transferred to the Creditor Trust, in accordance with the provisions of the Plan.

       15.      Vesting of the Debtors’ Assets. All property of the Debtors and their Estates shall

vest automatically in either the Reorganized Debtors or the Creditor Trust, as applicable, pursuant

to the terms of the Plan on the Effective Date (without the necessity of executing any instruments

of assignment) for the express purpose of allowing the Reorganized Debtors or the Creditor

Trustee to make Distributions to Holders of Claims pursuant to the terms and conditions of the


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Plan. As of the Effective Date, (a) all property of the Debtors shall be free and clear of all Liens,

Claims and Interests, and (b) the rights of Holders of Claims to receive Distributions shall be

governed by the Plan; provided that the with respect to the Prepetition Secured Claims in Class 3

shall continue to be subject to the Liens of the Holders of Prepetition Secured Claims.

       16.      The Creditor Trustee. Jeremy Rosenthal is approved as the Creditor Trustee under

the Plan. The Creditor Trustee shall conduct the final liquidation and distribution of the Estates in

each case in accordance with the terms and conditions of this Order and the Plan.

       17.      Powers and Duties of the Reorganized Debtors. The Reorganized Debtors are

authorized to operate their respective businesses and administer the Plan under the terms and

subject to the conditions set forth in this Order and in the Plan.

       18.      Powers and Duties of the Creditor Trustee. The Creditor Trustee shall have the

rights, powers and duties as set forth in the Plan and shall be responsible for administering the Plan

under the terms and subject to the conditions set forth in this Order and in the Plan.

       19.      Substantive Consolidation. The substantive consolidation of all of the Debtors

with respect to the treatment of all Claims and Interests, including the WCG Investments (save

an except to the extent of a exercised WCG Opt Right) as set forth the Plan is hereby approved.

On the Effective Date, (a) all assets and liabilities of the Debtors will be merged or treated as

though they were merged; (b) all guarantees of the Debtors of the obligations of any other Debtor

and any joint and several liability of any of the Debtors shall be eliminated; (c) each and every

Claim of a Debtor held against another Debtor shall be deemed released, cancelled and

terminated; and (d) each and every Claim against and Interest in any Debtor, and those of WCG

Investors (save an except to the extent of a exercised WCG Opt Right) shall be deemed Filed




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against the consolidated Debtors and all Claims Filed against more than one Debtor for the same

liability shall be deemed one Claim against any obligation of the consolidated Debtors.

       20.      Maintenance of Bank Accounts and Distribution of the Proceeds of Assets and

Assigned Estate Assets. The Reorganized Debtors or the Creditor Trustee, as applicable, shall have

the authority and responsibility to disburse the assets of the Estates to the Holders of Allowed

Claims and otherwise in accordance with the terms of the Plan.

       21.      Corporate Action. The entry of this Order shall constitute authorization for the

Debtors to take or to cause to be taken all corporate and limited liability company actions necessary

or appropriate to consummate and implement the provisions of the Plan prior to, on and after the

Effective Date, and all such actions taken or caused to be taken shall be deemed to have been

authorized and approved by the Bankruptcy Court. All such actions shall be deemed to have

occurred and shall be in effect pursuant to applicable non-bankruptcy law and the Bankruptcy

Code, without any requirement of further action by the stockholders or directors of the Debtors.

On the Effective Date, the appropriate officers and managers of the Debtors are authorized and

directed to execute and deliver the agreements, documents and instruments contemplated by the

Plan and the Plan Supplement in the name and on behalf of the Debtors.

       22.      Preservation of Causes of Action, Avoidance Actions and Assigned Estate Claims.

Except as otherwise provided in the Plan, the Reorganized Debtors and the Creditor Trustee, (as a

representative of the Debtors’ Estates), as applicable, will retain and may exclusively enforce any

Cause of Action, or Assigned Estate Claim (with respect to the Creditor Trustee),subject only to

any express waiver or release thereof in the Plan or in any other contract, instrument, release,

indenture or other agreement entered into in connection with the Plan, and this Order’s approval

of the Plan shall be deemed a res judicata determination of such rights to retain and exclusively


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enforce such Causes of Actions, Avoidance Actions and Assigned Estate Claims which shall be

retained and exclusively enforced by the Reorganized Debtors or the Creditor Trustee, as

applicable, and none of such Causes of Action, Avoidance Actions or Assigned Estate Claims is

deemed waived, released or determined by virtue of the entry of this Order or the occurrence of

the Effective Date, notwithstanding that the specific Causes of Action, Avoidance Action or

Assigned Estate Claims are not identified or described. Absent such express waiver or release by

the Debtors, the Reorganized Debtors or the Creditor Trustee may pursue Causes of Action,

Avoidance Actions or Assigned Estate Claims, as appropriate, in accordance with the best interests

of the Reorganized Debtors and/or the Creditor Trust, as applicable. The Reorganized Debtors and

the Creditor Trustee may pursue Causes of Action, Avoidance Actions and Assigned Estate

Claims, as appropriate, in the Reorganized Debtors’ or the Creditor Trustee’s, as applicable, sole

and absolute discretion, in accordance with the best interests of the Reorganized Debtors or the

Creditor Trust.

       23.        Effectuating Documents; Further Transactions. The Debtors, their officers,

directors, members and designees, and the Creditor Trustee, are authorized to execute, deliver, file,

record such contracts, instruments, releases, indentures, and other agreements or documents, and

to take such actions, as may be necessary, desirable or appropriate to effectuate and further

evidence the terms and conditions of the Plan or to otherwise comply with applicable law. In order

to facilitate the distribution of the Estates on the Effective Date, the Reorganized Debtors and the

Creditor Trustee, as applicable, shall be deemed, by operation of law and this Order and without

need for any action by any person affiliated with the Debtors or any officer, manager, or member

of the Debtors, to hold an irrevocable power of attorney on behalf of the Debtors and the Estates




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and with respect to all of the Assets and the Creditor Trust Assets, subject in all cases to the

continuing Liens of the Prepetition Secured Claims.

       24.      Exemption From Certain Transfer Taxes and Recording Fees. Pursuant to Section

1146(a) of the Bankruptcy Code, any transfers from the Debtors to any other Person, including the

Reorganized Debtors and the Creditor Trust, pursuant to the Plan, or any agreement regarding the

transfer of title to or ownership of any of the Debtors’ property, will not be subject to any document

recording tax, stamp tax, conveyance fee, sales tax, intangibles or similar tax, mortgage tax, stamp

act, real estate transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording

fee, or other similar tax or governmental assessment. The appropriate state or local governmental

officials or agents are hereby directed to forego the collection of any such tax or governmental

assessment and to accept for filing and recordation any of the foregoing instruments or other

documents without the payment of any such tax or governmental assessment.

       25.      Automatic Stay. The automatic stay arising out of Section 362(a) of the Bankruptcy

Code shall continue in full force and effect until the Consummation Date and the Debtors, the

Reorganized Debtors, the Estates and the Creditor Trust shall be entitled to all of the protections

afforded thereby.

       26.      Retention of Jurisdiction. Pursuant to Section 12 of the Plan, subsequent to the

Effective Date, this Court shall have or retain jurisdiction for the purposes provided therein.

       27.      Alternative Jurisdiction. To the extent this Court abstains from exercising or

declines to exercise jurisdiction over any matter arising under, arising in or related to the Debtors,

including with respect to the matters set forth in Section 11.01 of the Plan, this Order shall not

prohibit or limit the exercise of jurisdiction by any other court having competent jurisdiction with

respect to such subject matter.


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        28.      Creditors’ Committee. On the Effective Date, the Committee shall be automatically

dissolved, and all of its members, Professionals and agents shall be deemed released of their duties,

responsibilities and obligations, and shall be without further duties, responsibilities and authority

in connection with the Debtors, the Chapter 11 Cases, the Plan or its implementation. After the

date of dissolution, the Debtors, the Reorganized Debtors and the Creditor Trust shall not be

responsible for paying any fees, costs, or expenses incurred by the members of, or professionals

or advisors to, the Committee after the Effective Date.

        29.      Section 1125 of the Bankruptcy Code. The Debtors have solicited acceptances of

the Plan in good faith and in compliance with the applicable provisions of the Bankruptcy Code,

and the Debtors and their Affiliates, officers, managers, employees, consultants, agents, advisors,

members, attorneys, accountants, financial advisors, other representatives and professionals are

not, and on account of such solicitation will not be, liable at any time on account of such solicitation

for the violation of any applicable law, rule, or regulation governing the solicitation of acceptances

or rejections of the Plan.

        30.      Effect of Reference to the Plan in this Order. The failure to reference or discuss any

particular provision of the Plan in this Order shall have no effect on the validity, binding effect,

and enforceability of such provision, and each provision of the Plan shall have the same validity,

binding effect, and enforceability as if fully set forth in this Order.

        31.      Substantial Consummation. On the Effective Date, the Plan shall be deemed to be

substantially consummated under Sections 1101 and 1127(b) of the Bankruptcy Code.

        32.      Notice. The form of the notice of the entry of this Order and occurrence of the

Effective Date attached hereto as Exhibit 2 (the “Confirmation Notice”) is hereby approved.

Pursuant to Rule 3020(c), on or before the date that is five (5) days after the occurrence of the


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Effective Date, the Debtors shall File the Confirmation Notice with this Court and serve it by first

class mail on each of the following at their respective addresses last known to the Debtors: (i) the

Office of the United States Trustee for the Southern District of Texas; (ii) counsel to the

Committee; (iii) all parties on the Master Service List Filed in the Chapter 11 Cases; (vii) all known

Creditors of the Debtors; (viii) all known Holders of Custom Golf Interests; (ix) all know Holders

of LLC Interests; and (x) all known Holders of WCG Interests. The Confirmation Notice need not

be mailed to any Person if a previous mailing to such Person has been returned as undeliverable

by the United States Postal Service, unless the Debtors have been informed in writing of a

corrected address for such Person. The notice described in this paragraph shall constitute good

and sufficient notice pursuant to Bankruptcy Rules 2002(f)(7), 2002(i)-(l) and 3020(c) of

Confirmation of the Plan, the entry of this Order, and the occurrence of the Effective Date.

       33.      Headings. The headings of the paragraphs in this Order have been used for

convenience of reference only and shall not limit or otherwise affect the meaning of this Order.

Whenever the words “include,” “includes” or “including” (or other words of similar import) are

used in this Order, they shall be deemed to be followed by the words “without limitation.”

       34.      Conflicts. The provisions of the Plan and this Order shall be construed in a manner

consistent with each other so as to effect the purposes of each; provided, however, that if there is

any inconsistency between the provisions of the Plan and this Order, the terms and conditions

contained in this Order shall govern and shall be deemed a modification to the Plan and shall

control and take precedence.

       35.      Final Order/No Rule 3020(e) Stay. This Order is a final order, and the period in

which an appeal must be Filed shall commence immediately upon the entry hereof. The stay

imposed by Bankruptcy Rule 3020(e) is hereby waived.


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       36.      Applicable Non-Bankruptcy Law. Pursuant to Sections 1123(a) and 1142 of the

Bankruptcy Code, the provisions of this Order and the Plan (including any amendments or

modifications thereto) shall apply and be enforceable notwithstanding any otherwise applicable

nonbankruptcy law.

       37.      Modification to the Plan – Treatment of the DIP Facility Claim. In conformity with

the Plan’s treatment provided for in Section 2.02 of the DIP Facility Claim, on or before the

Effective Date the balance due under the DIP Facility Claim will be paid in full or the remaining

balance may be converted to an Exit Facility subject in all respects to the consent of the DIP

Lender. If the Debtors and the DIP Lender elect to enter into an Exit Facility on the Effective

Date, the Debtors will file a notice with the Court summarizing the terms of the Exit Facility and

attaching the loan documents related to the Exit Facility. The notice of the Exit Facility, if any,

shall be filed with the Court at least 7 days prior to the Effective Date.

       38.      Modification to the Plan – Treatment of Certain Professional Fee Claims. As may

be agreed to in writing by and among the Debtors and any Holders of Allowed Professional Fee

Claims, such Allowed Professional Fee Claims shall be paid, after the Effective Date, upon terms

deemed reasonable by the Creditor Trustee, and the Holder of such Allowed Professional Fee

Claims, from Assets of the Reorganized Debtors and/or the Creditor Trust Assets, prior to any

distribution to Holders of Allowed Claims, Holders of Allowed Investment Claims, Holders of

Allowed Convertible Note Claims, and Holders of Allowed WCG Investment Claims.

       39.      Modification to the Plan – Treatment of the Force Ten Partners’ Professional Fees.

As may be agreed to in writing by and among the Debtors and the Holder of the Force Ten Partners’

Professional Fee Claims, such Allowed Force Ten Partners’ Professional Fee Claims, shall be paid,

after the Effective Date, upon terms deemed reasonable by the Creditor Trustee, and the Holder of


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such Allowed Force Ten Partners’ Professional Fee Claim, from Assets of the Reorganized

Debtors and/or from the Creditor Trust Assets, prior to any distribution to Holders of Allowed

Claims, Holders of Allowed Investment Claims, Holders of Allowed Convertible Note Claims,

and Holders of Allowed WCG Investment Claims.

       40.      Modification to the Plan – Treatment of Class 3B. The Treatment provided in the

Plan for Class 3B, is hereby deleted in its entirety, and replaced with the following:

                The Holder of an Allowed Claim in Class 3B, on or as soon as
                practicable after the Effective Date, shall receive from the
                Reorganized Debtors, in full satisfaction, release, settlement, and
                discharge of such Claim, as determined in the sole and exclusive
                discretion of the Reorganized Debtors: (1) payment in full in Cash,
                plus Post-Petition Interest, costs and attorneys’ fees to the extent
                required under Section 506(b) of the Bankruptcy Code and as
                provided by that certain Stipulation between the Debtors and ANB
                Bank (Docket No. 808) (the “Stipulation”); (2) be Reinstated or
                receive such other treatment sufficient to render the Holder of such
                Claim Unimpaired pursuant to Section 1124 of the Bankruptcy Code
                and as provided by the Stipulation; or (3) the return of the applicable
                collateral in satisfaction of the Allowed amount of such Secured
                Claim. The terms of the Stipulation of are hereby incorporated into
                the Plan and any order confirming the Plan. For the avoidance of
                doubt, to the extent of any direct conflict between the Plan’s
                treatment of a Holder of an Allowed Claim in Class 3B and the
                Stipulation, the terms of the Stipulation shall control.


       41.      Modification to the Plan – Treatment of Class 3C. The Treatment provide in the

Plan for Class 3C, is hereby deleted in its entirety, and replaced with the terms of that certain

Stipulation by and between the Debtors and CBB, Docket Number 842.




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       42.      Service. Counsel for the Debtors is directed to serve a copy of this Order on all

parties on the Master Service List within three (3) days of the entry of this Order and to File a

certificate of service with the Clerk of Court.



         Signed: June 15, 2020.
 Dated: ________________, 2020                    ___________________________________________
                                                        ____________________________________
                                                  THE HONORABLE     DAVID R. JONES
                                                  CHIEF DAVID
                                                        UNITED R.STATES
                                                                  JONES BANKRUPTCY JUDGE
                                                        UNITED STATES BANKRUPTCY JUDGE




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                           EXHIBIT 1
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                         )
     In re                                               )     Chapter 11
                                                         )
     WESTWIND MANOR RESORT                               )     Case No. 19-50026 (DRJ)
     ASSOCIATION, INC., et al.,1                         )
                                                         )     Jointly Administered
                                       Debtors.
                                                         )




                        DEBTORS’ AND COMMITTEE’S FIRST AMENDED
                             JOINT PLAN OF REORGANIZATION

          The above-referenced Debtors and Debtors in Possession and the Official Committee of

Unsecured Creditors hereby submit this First Amended Joint Plan of Reorganization.

March 20, 2020

    By: /s/ Michael D. Warner                                By: /s/ Thomas J. Francella, Jr.
    Michael D. Warner (TX Bar No. 00792304)                  Thomas J. Francella, Jr. (admitted pro hac vice)
    Benjamin L. Wallen (TX Bar No. 24102623)                 COZEN O’CONNER, P.C.
    COLE SCHOTZ P.C.                                         1201 N. Market Street, Suite 1001
    301 Commerce Street, Suite 1700                          Wilmington, Delaware 19801
    Ft. Worth, TX 76102                                      Telephone: (302) 295-2000
    (817) 810-5250                                           Facsimile: (302) 295-2013
    (817) 810-5255 (fax)                                     Email: tfrancella@cozen.com
    mwarner@coleschotz.com                                   tfrancella@cozen.com
    bwallen@coleshotz.com
                                                             Counsel to the Official Committee of
    Counsel for the Debtors                                  Unsecured Creditors

1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are:
Westwind Manor Resort Association, Inc. (7533); Warrior ATV Golf, LLC (3420); Warrior Acquisitions, LLC
(9919); Warrior Golf Development, LLC (5741); Warrior Golf Management, LLC (7882); Warrior Golf Assets, LLC
(1639); Warrior Golf Venture, LLC (7752); Warrior Premium Properties, LLC (0220); Warrior Golf, LLC, a Delaware
limited liability company (4207); Warrior Custom Golf, Inc. (2941); Warrior Golf Equities, LLC (9803); Warrior Golf
Capital, LLC (5713); Warrior Golf Resources, LLC (6619); Warrior Golf Legends, LLC (3099); Warrior Golf
Holdings, LLC (2892); and Warrior Capital Management, LLC (8233). The address of the Debtors’ corporate
headquarters is 15 Mason, Suite A, Irvine, California 92618.


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                                        INTRODUCTION

The Warrior Family of Debtors filed for bankruptcy protection commencing in March 2019. The
Debtors and the Official Committee of Unsecured Creditors together propose the following First
Amended Joint Plan of Reorganization for the resolution of outstanding creditor Claims against,
and Interest in, the Debtors. The Debtors and the Committee are the proponents of the Plan within
the meaning of Bankruptcy Code Section 1129. The Plan results in the consolidation of the
Debtors into two business units: the golf club manufacturing and sales business and the golf course
ownership and operation business. Pursuant to the Plan, a Creditor Trust is created for the benefit
of certain classes of creditors and the Creditor Trust will hold all the equity of both business units.
The Debtors seek to consummate the restructuring on the Effective Date of the Plan.

Reference is made to the Disclosure Statement (as hereinafter defined) for a discussion of the
Debtors’ history, business, property, results of operations and projections of future operations, as
well as a summary and description of this Plan and certain related matters. No materials other than
the Disclosure Statement and this Plan including any exhibits and schedules attached or referenced
therein are authorized by the Debtors or the Committee for use in soliciting acceptances or
rejections of this Plan.

ALL HOLDERS OF CLAIMS OR INTERESTS ARE ENCOURAGED TO READ THIS
PLAN AND THE DISCLOSURE STATEMENT CAREFULLY AND IN THEIR
ENTIRETY BEFORE VOTING ON THIS PLAN.

                                       SECTION 1
                        DEFINED TERMS, RULES OF INTERPRETATION,
                               AND COMPUTATION OF TIME

1.01 Scope of Defined Terms; Rules of Construction

For purposes of this Plan, except as expressly defined elsewhere in this Plan or unless the context
otherwise requires, all capitalized terms used herein shall have the meanings ascribed to them in
Section 1. Any term used but not defined herein that is defined in the Bankruptcy Code or the
Bankruptcy Rules, as the case may be, shall have the meaning ascribed in the Bankruptcy Code or
the Bankruptcy Rules. Whenever the context requires, such terms shall include the plural as well
as the singular. The masculine gender shall include the feminine, and the feminine gender shall
include the masculine.

1.02 Defined Terms

         (1)   Acquisitions means Debtor Warrior Acquisitions, LLC, a California limited
liability company.

       (2)      Administrative Expense Claim(s) means a Claim(s) for costs and expenses of
administration pursuant to Bankruptcy Code Sections 503(b), 507(a)(2), 507(b), or 1114(e)(2),
including: (a) the actual and necessary costs and expenses incurred after the First Petition Date and
through the Effective Date of preserving the Estates and operating the businesses of the Debtors
(such as wages, salaries, or commissions for services, and payments for goods and other services
and leased premises); (b) all fees and charges assessed against the Estates pursuant to Section 1930

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of chapter 123 of Title 28 of the United States Code; (c) all Allowed Professional Fee Claims; (d)
any Cure Costs; and (e) all Allowed Claims for compensation or expense reimbursement for
making a substantial contribution in these Chapter 11 Cases pursuant to Bankruptcy Code Sections
503(b)(3), (4), and (5) approved by the Bankruptcy Court.

       (3)     Administrative Expense Claims Bar Date has the meaning set forth in Section
2.04(1), unless the Bankruptcy Court orders otherwise.

        (4)    Affiliate has the meaning set forth in Bankruptcy Code Section 101(2); provided,
however, the term Affiliate does not include Excluded Parties. For purposes of this Plan and the
definition of Related Person, an Affiliate of a Person shall also include another Person controlling,
controlled by or under common control with such first Person. For the purposes of this definition,
“control” means, when used with respect to any Person, the possession, directly or indirectly, of
the power to direct or cause the direction of the management and policies of such Person, whether
through the ownership of voting securities, by contract, or otherwise, and the terms “controlling”
and “controlled” have correlative meanings.

         (5)      Allowed means with reference to any Claim or Interest: any Claim or Interest or
any portion thereof; (a) as to which no objection to allowance has been interposed on or before the
latter of (i) the Claims Objection Deadline or (ii) the expiration of such other applicable period of
limitation fixed by the Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or is
listed on the Bankruptcy Schedules as liquidated, non-contingent and undisputed; (b) as to which
any objection to its allowance has been settled, waived through payment or withdrawn, as
permitted herein, or denied by a Final Order; (c) as to which liability of the Debtors and the amount
thereof have been determined and expressly allowed by a Final Order; (d) as to which the liability
of the Debtors and the amount thereof are determined and expressly allowed by Final Order of a
court of competent jurisdiction other than the Bankruptcy Court; or (e) that is expressly deemed
allowed in a liquidated amount in this Plan; provided, however, that with respect to an
Administrative Expense Claim, “Allowed Administrative Expense Claim” means an
Administrative Expense Claim as to which a timely request for payment has been made in
accordance with Section 2.04 (if such written request is required) or other Administrative Expense
Claim, in each case as to which the Debtors (1) have not interposed a timely objection or (2) have
interposed a timely objection and such objection has been settled, waived through payment or
withdrawn, as permitted herein, or denied by a Final Order: provided, however, that an “Allowed
Claim” shall not include any Claim subject to disallowance in accordance with Bankruptcy Code
Section 502(d).

        (6)     Assigned Estate Claims means (a) Avoidance Actions and (b) any and all of the
Estates’ direct or derivative claims or Causes of Action against any Excluded Party, including, for
breach of fiduciary duty, aiding and abetting breach of fiduciary duty, bad faith, willful
misconduct, Securities Violations, or for Commercial Tort Claims. Assigned Estate Claims
include, the Direct Causes of Action assigned pursuant to the Direct Causes of Action Assignment,
WGP Causes of Action assigned pursuant to the WGP Causes of Action Assignment, and any and
all Causes of Action arising under WGP Investments, assigned pursuant to the WGP Investment
Assignments.

         (7)      Assumption Dispute has the meaning set forth in Section 8.02.

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       (8)     Avoidance Actions means any and all actual or potential claims or Causes of
Action to avoid a transfer of property or an obligation incurred by the Debtors pursuant to any
applicable Section of the Bankruptcy Code, including Sections 506(c), 510, 542, 543, 544, 545,
547, 548, 549, 550, 551, 552(b), 553, and/or 724, other than Excluded Avoidance Actions.

       (9)    Ballot means the document for accepting or rejecting this Plan, in the form
approved by the Bankruptcy Court.

       (10) Balloting Agent means Donlin, Recano & Company, Inc., employed and retained
by the Debtors pursuant to Orders of the Bankruptcy Court [Docket Nos. 36 & 87].

        (11) Bankruptcy Code means the Bankruptcy Reform Act of 1978, as codified in Title
11 of the United States Code, 11 U.S.C. Sections 101-1532, as in effect on the First Petition Date
as heretofore or hereafter amended.

        (12) Bankruptcy Court means the United States Bankruptcy Court for the Southern
District of Texas, Houston Division.

        (13) Bankruptcy Rules means, collectively, the Federal Rules of Bankruptcy Procedure
and the Official Bankruptcy Forms, as amended, the Federal Rules of Civil Procedure, as amended,
as applicable to these Chapter 11 Cases or proceedings therein, and the Local Rules of the
Bankruptcy Court, as applicable to these Chapter 11 Cases or proceedings therein, as the case may
be.

       (14) Bankruptcy Schedules means the schedules of assets and liabilities, lists of
executory contracts and unexpired leases, and related information filed by the Debtors pursuant to
Bankruptcy Code Section 521 and Bankruptcy Rule 1007(b), as such schedules may be amended
or supplemented from time to time as permitted hereunder in accordance with Bankruptcy Rule
1009 or orders of the Bankruptcy Court.

       (15) Bankruptcy SOFA means the statements of financial affairs and related financial
information filed by the Debtors pursuant to Bankruptcy Code Section 521 and Bankruptcy Rule
1007(b), as such statements may be amended or supplemented from time to time as permitted in
accordance with Bankruptcy Rule 1009 or orders of the Bankruptcy Court.

        (16) Bar Dates means the applicable date(s) designated by the Bankruptcy Court, in the
First Bar Date Order, the Second Bar Date Order or otherwise, as the last date for filing Proofs of
Claim and Proofs of Interest in these Chapter 11 Cases.

        (17) Business Day means any day, excluding Saturdays, Sundays or “legal holidays”
(as defined in Bankruptcy Rule 9006(a)), on which commercial banks are open for business in
Texas.

       (18) Cash means legal currency of the United States of America or equivalents thereof,
including bank deposits and checks.




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      (19) Cash Equivalents means any item or asset of the Debtors readily converted to
Cash, such as bank accounts, marketable securities, treasury bills, certificate of deposit,
commercial paper maturing less than one year from date of issue, or other liquid investments.

       (20) Cash Purchase Price means, with respect to the purchase of LLC Interests by LLC
Investors, the actual Cash amount paid to the Debtors to acquire LLC Interests, less, the fair market
value of any Investment Benefits received by the LLC Investor, as may be determined by the
Creditor Trustee or Order of the Bankruptcy Court.

         (21) Causes of Action means all actions, causes of action, liabilities, obligations, rights,
suits, damages, judgments, remedies, demands, setoffs, defenses, recoupments, crossclaims,
counterclaims, third-party claims, indemnity claims, contribution claims, or any other claims
whatsoever, whether known or unknown, matured or unmatured, fixed or contingent, liquidated or
unliquidated, disputed or undisputed, suspected or unsuspected, foreseen or unforeseen, direct or
indirect, choate or inchoate, existing or hereafter arising, in law, equity, or otherwise, based in
whole or in part upon any act or omission or other event occurring before the First Petition Date
or during the course of these Chapter 11 Cases, including through the Effective Date. Causes of
Action include, but are not limited to, Avoidance Actions, claims of breach of fiduciary duty,
aiding and abetting breach of fiduciary duty, bad faith, willful misconduct, Securities Violations,
Commercial Tort Claims, fraudulent transfer, preferential transfer, unauthorized post-petition
transfer under Section 549 of the Bankruptcy Code, turnover under Sections 542 and/or 543 of the
Bankruptcy Code, subordination, recharacterization of debt to equity, malpractice, constructive
trust, disgorgement, counterclaims, claims to determine extent and validity of liens under Section
506 of the Bankruptcy Code, breach of contract, breach of the implied covenant of good faith and
fair dealing, common law and statutory conspiracy, civil remedies against racketeer influenced and
corrupt organizations under Chapter 96 of Title 18 of the United States Code, overpayment, unjust
enrichment, fraud, negligent misrepresentation, tortious interference with contract or prospective
economic advantage, civil conspiracy, whether under feral law or the laws of any state, equitable
subordination, including under Bankruptcy Code Section 510(c), aiding and abetting any act or
omission of any Person or Entity, objections to fees, and interest or other charges paid by the
Debtors.

         (22)     CBB means Citizens Business Bank, a California banking corporation.

        (23) CBB Mortgage Loan means the loan agreement dated as of March 12, 2016,
between Citizens Business Bank, as Lender, and Warrior Golf Equities, LLC, as borrower, which
is secured by a mortgage on the Cimarron Golf Resort Property.

        (24) CFO means David Cottrell, in his official capacity only, as Chief Financial Officer
of the Debtors.

       (25) Chapter 11 Cases means the voluntary cases that are jointly administered as case
number 19-50026 (DRJ) under chapter 11 of Title 11 of the United States Code in the Bankruptcy
Court.




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        (26) Cimarron Golf Resort Property means the Real Property commonly known as
the Cimarron Golf Resort (Cathedral City, CA), to the extent the same is the collateral for the
obligations owed to CBB under the CBB Mortgage Loan.

       (27) Cimarron Petition Date Value means the value of the Cimarron Golf Resort
Property as of First Petition Date.

        (28) Cimarron Surcharge Amount means the amount by which the outstanding
balance owed to CBB under CBB Mortgage Loan as of the Effective Date exceeds the Cimarron
Petition Date Value but shall not be greater than the value of the reasonable and necessary costs
and expenses incurred by the Debtors in preserving or disposing of CBB’s collateral to the extent
of any benefit to CBB.

      (29) Claim means a claim, whether or not asserted or Allowed, as defined in Bankruptcy
Code Section 101(5), including, the Convertible Note Claims and Investment Claims.

       (30) Claim Objection Deadline means the first Business Day, which is at least 120
calendar days after the Effective Date, or such later date as may be established by the Bankruptcy
Court in accordance with Section 9.02(3).

      (31) Class means a category of Claims or Interests as set forth in Section 3 pursuant to
Bankruptcy Code Section 1122.

       (32) Class A Interests means the Class A Interests in the Creditor Trust to be distributed
pro rata among Holders of Allowed General Unsecured Claims.

       (33) Class B Interests means the Class B Interests in the Creditor Trust to be distributed
pro rata among Holders of Allowed Investment Claims.

       (34) Class C Interests means the Class C Interests in the Creditor Trust to be distributed
pro rata among Holders of Allowed Convertible Note Claims.

        (35) Collateral means any property or interest in property of the Debtors’ Estates
subject to a Lien to secure the payment or performance of a Claim, which Lien is not subject to
avoidance under the Bankruptcy Code or otherwise invalid under the Bankruptcy Code or
applicable state law.

      (36) Commercial Tort Claim has the meaning set forth in Section 9-102(a)(13) of the
Uniform Commercial Code, of the state applicable to such claim.

       (37) Committee means the Official Committee of Unsecured Creditors appointed in
these Chapter 11 Cases.

       (38) Confirmation means entry by the Bankruptcy Court of the Confirmation Order on
the docket of these Chapter 11 Cases.

       (39) Confirmation Date means the date on which the Confirmation Order is entered on
the docket in these Chapter 11 Cases within the meaning of Bankruptcy Rules 5003 and 9021.

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       (40) Confirmation Hearing means the hearing(s) held by the Bankruptcy Court to
consider Confirmation of this Plan pursuant to Bankruptcy Code Section 1129, as such hearing
may be continued from time to time.

        (41) Confirmation Order means the order entered by the Bankruptcy Court confirming
this Plan pursuant to Bankruptcy Code Section 1129.

         (42)     Consummation means the occurrence of the Effective Date.

       (43) Conversion Right means the sole and exclusive right held by Acquisitions
pursuant to the Convertible Notes, to convert a Convertible Note in and to equity of Acquisitions,
which right has been extended by Bankruptcy Court Order [Docket No. 253].

        (44) Convertible Notes means those certain Convertible Promissory Notes, having an
original aggregate principal balances of $5.5 million, issued by Acquisitions in 2016, and
guaranteed by Custom Golf.

      (45) Convertible Note Claim means any Claim arising out of or related to the
Convertible Notes, less Investment Benefits.

        (46) Convertible Noteholders means those Persons holding, as of the First Petition
Date, a Convertible Note.

         (47)     Creditor means any Person who holds a Claim against the Debtors.

         (48)     Creditor Trust means the trust established under Section 5.15.

      (49) Creditor Trust Agreement means that certain agreement setting forth the terms
and conditions governing the Creditor Trust, in substantially the form included in the Plan
Supplement and in form and substance acceptable to the Debtors and the Committee.

        (50) Creditor Trust Assets means, collectively: (a) the Assigned Estate Claims and the
proceeds thereof; (b) the New Custom Golf Stock; (c) the Op.Co. Membership Interests; (d) the
Prop.Co. Membership Interests; (e) the Trust Contribution Funds; (f) the WGP Causes of Action,
assigned pursuant to the WGP Causes of Action Assignment and the proceeds thereof; (g) the
WGP Investments, assigned pursuant to the WGP Investment Assignment and the proceeds
thereof; and (h) the Direct Causes of Action of LLC Investors and Convertible Noteholders, that
do not exercise the Direct Opt Out Right.

       (51) Creditor Trust Beneficiaries means collectively, Holders of Allowed Priority Tax
Claims (other than Allowed Priority Tax Claims arising pursuant to Bankruptcy Code Section
507(a)(8)(B)) and General Unsecured Trust Beneficiaries.

        (52) Creditor Trust Expenses means all actual and necessary fees, costs, expenses and
obligations reasonably incurred by or owed to the Creditor Trustee and its agents, employees,
attorneys, advisors and other professionals in administering the Creditor Trust.




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       (53) Creditor Trustee means Force 10 Agency Services LLC (an affiliate of Force Ten
Partners, LLC) the entity to be designated in the Creditor Trust Agreement to administer the
Creditor Trust upon the Effective Date.

       (54) CRO means Jeremy Rosenthal, in his official capacity only, as Chief Restructuring
Officer of the Debtors.

        (55) Cure Costs means all costs required of the Debtors to cure any and all monetary
defaults including pecuniary losses, pursuant to Bankruptcy Code Section 365, arising under any
executory contract and unexpired lease to be assumed by the Debtors and vested in the
Reorganized Debtors.

         (56)     Custom Golf means Debtor Warrior Custom Golf, Inc., a California corporation.

        (57) Custom Golf Board means the board of directors, on and after the Effective Date,
consistent with the Organizational Documents, for Custom Golf, composed of seven (7) members,
consisting of: (a) the Independent Board of Directors (3 members); (b) the members of the
Oversight Board (3 members); and (c) a representative of the Creditor Trustee, holding the position
of Chairman of the Board.

         (58)     Custom Golf Interests means all Interests in Custom Golf, before the Effective
Date.

       (59) Custom Golf Guaranty means the Guaranty dated September 1, 2017, executed
by Custom Golf and issued in connection with the Pro Rata Notes.

         (60)     Debtors mean collectively, the above-reference debtors and debtors in possession.

       (61) Determined Distribution Amount means that amount determined by the Creditor
Trustee, in accordance with the terms of the Creditor Trust Agreement, to be distributed to General
Unsecured Trust Beneficiaries.

       (62) DIP Credit Agreement means that certain Senior Secured, Super-Priority Debtor-
in-Possession Loan and Security Agreement, dated as of April 2, 2019, approved by the DIP Order,
as amended, supplemented and restated.

        (63) DIP Documents means the DIP Credit Agreement, DIP Orders or other “Loan
Documents” (as defined in the DIP Credit Agreement), and any related agreements, instruments,
documents, certificates and schedules delivered from time to time in connection therewith, as
amended, supplemented, restated or otherwise modified from time to time in accordance with the
terms thereof.

       (64) DIP Facility means that certain postpetition debtor in possession loan facility
pursuant to (i) the DIP Credit Agreement and any and all documents, instruments or agreements
executed or delivered in connection therewith and (ii) the DIP Orders.

       (65) DIP Facility Claim means any and all of the Claims, held by the DIP Lender
derived from, based upon relating to or arising under or in connection with the DIP Documents,

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including Claims for all accrued and unpaid principal, interest, fees, expenses, costs and other
charges and amounts constituting “Obligations” (as defined in the DIP Credit Agreement and the
DIP Orders).

         (66)     DIP Lender means the lender party to the DIP Facility.

        (67) DIP Orders mean collectively, that certain Order of the Bankruptcy Court dated
March 6, 2019 [Docket No. 38], approving the DIP Facility, on an interim basis, that certain Order
of the Bankruptcy Court dated April 2, 2019 [Docket No. 125], approving the DIP Facility on a
final basis, and that certain Order of the Bankruptcy Court dated October 24, 2019 [Docket No.
529] approving amendments to the DIP Facility.

        (68) Direct Causes of Action means all actions, causes of action, liabilities, obligations,
rights, suits, damages, judgments, remedies, demands, setoffs, defenses, recoupments,
crossclaims, counterclaims, third-party claims, indemnity claims, contribution claims, or any other
claims whatsoever, whether known or unknown, matured or unmatured, fixed or contingent,
liquidated or unliquidated, disputed or undisputed, asserted or unasserted, suspected or
unsuspected, foreseen or unforeseen, direct or indirect, choate or inchoate, existing or hereafter
arising, in law, equity, or otherwise, based in whole or in part upon any act or omission or other
event occurring through the Effective Date relating to any of the Debtors, or the actions or
omissions of any of the Debtors’ present or former employees, officers or directors or any of the
Debtor’s present or former advisors, attorneys, accountants, investment bankers, brokers,
consultants, agents or other professionals, held directly by Investors and/or Convertible
Noteholders that have not, as of the Voting Deadline, exercised the Direct Opt Out Right. Direct
Causes of Action include, but are not limited to, claims of breach of fiduciary duty, aiding and
abetting breach of fiduciary duty, bad faith, willful misconduct, Securities Violations, Commercial
Tort Claims, fraudulent transfer, preferential transfer, subordination, recharacterization of debt to
equity, malpractice, constructive trust, disgorgement and counterclaims, breach of contract, breach
of the implied covenant of good faith and fair dealing, common law and statutory conspiracy, civil
remedies against racketeer influenced and corrupt organizations under Chapter 96 of Title 18 of
the United States Code, overpayment, unjust enrichment, fraud, negligent misrepresentation,
tortious interference with contract or prospective economic advantage, civil conspiracy, whether
under feral law or the laws of any state, equitable subordination, including under Bankruptcy Code
Section 510(c), aiding and abetting any act or omission of any Person or Entity, objections to fees,
and interest or other charges paid by the Debtors. Notwithstanding the forgoing definition of
Direct Causes of Action, nothing herein is intended to or shall be construed to confirm that the
Debtors, the Reorganized Debtors, the Creditor Trust or the Creditor Trustee takes the position
that a type, structure or nature of claim listed herein is a Direct Cause of Action of an Investor or
Convertible Noteholder.

       (69) Direct Causes of Action Assignment means the absolute and unconditional
assignment on the Effective Date to the Creditor Trust, of all Direct Causes of Action held by LLC
Investors and/or Convertible Noteholders, that have not validly exercised the Direct Opt Out Right.

      (70) Direct Opt Out Right means the right of LLC Investors and/or Convertible
Noteholders to opt out of the Direct Causes of Action Assignment.



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        (71) Disallowed means all or such part of a Claim (a) that is disallowed by a Final Order
of the Bankruptcy Court or other court of competent jurisdiction or (b) proof of which was required
to be filed but as to which a Proof of Claim was not timely or properly filed; unless Allowed by
the Final Order of the Bankruptcy Court or other court of competent jurisdiction.

        (72) Disbursing Agent means the Reorganized Debtors, the Creditor Trust or the Entity
or Entities selected by the Debtors or the Creditor Trustee to make or facilitate Plan Distributions
pursuant to the Plan.

        (73) Disclosure Statement means the First Amended Disclosure Statement Pursuant to
Section 1125 of the Bankruptcy Code dated as of March 17, 2020, as the same may be amended,
modified or supplemented from time to time, including all exhibits and schedules thereto, that is
prepared and distributed in accordance with the Bankruptcy Code, the Bankruptcy Rules, and any
other applicable law.

        (74) Disputed means, in reference to a Claim or Interest, any Claim or Interest not
otherwise Allowed or Disallowed pursuant to this Plan or an order of the Bankruptcy Court: (a)
which has been Scheduled, or hereafter is listed on the Bankruptcy Schedules as unliquidated,
contingent, or disputed, and which has not been resolved by written agreement of the parties; (b)
proof of which was timely and properly filed and which has been or hereafter is listed on the
Bankruptcy Schedules as unliquidated, disputed, or contingent; (c) that is disputed in accordance
with the provisions of this Plan; or (d) as to which the Debtors, the Reorganized Debtors or the
Creditor Trustee, as applicable, have interposed a timely objection in accordance with the
Bankruptcy Code, the Bankruptcy Rules, and any orders of the Bankruptcy Court, or is otherwise
disputed by the Debtors, the Reorganized Debtors, or the Creditor Trustee, as applicable in
accordance with applicable law, which objection or dispute has not been withdrawn or determined
by a Final Order; provided, however, that for purposes of determining whether a particular Claim
is a Disputed Claim before the expiration of any period of limitation fixed for the interposition by
the Debtors, the Reorganized Debtors or the Creditor Trustee, as applicable of objections to the
allowance of Claims, any Claim that is not an Allowed Claim shall be deemed Disputed.

        (75) Distribution Date means the date(s), occurring as soon as practicable after the
Effective Date, upon which Plan Distributions are made pursuant to the terms of this Plan to
Holders of Allowed Administrative Expenses Claims, DIP Facility Claim, and Allowed Claim in
Class 1 (other Priority Claims); provided, however, that should such Allowed Claims be paid in
the ordinary course of business, the Distribution Date shall be the date such Allowed Claim
becomes payable under the terms of any contract or agreement or applicable non-bankruptcy law;
provided further that Plan Distributions to indefeasibly satisfy the DIP Facility Claim shall be
made no later than the Effective Date.

        (76) Effective Date means the first Business Day on which all conditions precedent set
forth in Section 10.02 have been satisfied or waived as permitted hereunder.

         (77)     Entity has the meaning set forth in Bankruptcy Code Section 101(15).

       (78) Estates mean collectively, the estates created for the Debtors in their Chapter 11
Cases pursuant to Bankruptcy Code Section 541.


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         (79)     Exchange Act means the Securities Exchange Act of 1934, as amended.

       (80) Excluded Avoidance Actions means those Avoidance Actions that are forever
released, settled, resolved or, by agreement of the Debtors pursuant to this Plan, will not be
pursued, as detailed in the Plan Supplement.

       (81) Excluded Parties means those Entities and Persons, listed on Exhibit A, hereto;
and as may be supplemented or modified in the Plan Supplement.

       (82) Exhibit means an exhibit annexed either to this Plan, the Plan Documents, or the
Disclosure Statement or filed as part of the Plan Supplement.

        (83) Exit Facility means that certain loan transaction to take effect on the Effective Date
of the Plan, pursuant to terms and the Exit Facility Documentation to be detailed in and attached
to the Plan Supplement.

        (84) Exit Facility Documentation means, collectively, the Exit Facility and each other
agreement, security agreement, pledge agreement, collateral assignment, mortgage, control
agreement, guarantee, certificate, document or instrument executed and/or delivered in connection
with the foregoing, whether or not specifically mentioned herein or therein, as the same may be
modified, supplemented or replaced from time to time, and which shall be in form and substance
consistent with this Plan, and otherwise satisfactory to the Debtors, the Committee, and the Exit
Facility Lender.

       (85) Exit Facility Lender means any lenders party to the Exit Facility on the Effective
Date, as detailed in the Plan Supplement.

         (86) Final Order means an order or judgment of a court of competent jurisdiction that
has been entered on the docket maintained by the clerk of such court, which has not been reversed,
vacated or stayed and as to which; (a) the time to appeal, petition for certiorari, or move for a new
trial, reargument or rehearing has expired and as to which no appeal, petition for certiorari, or other
proceedings for a new trial, reargument or rehearing shall then be pending; or (b) if an appeal, writ
of certiorari, new trial, reargument or rehearing thereof has been sought, such order or judgment
shall have been affirmed by the highest court to which such order was appealed, or certiorari shall
have been denied, or a new trial, reargument or rehearing shall have been denied or resulted in no
modification of such order, and the time to take any further appeal, petition for certiorari or move
for a new trial, reargument or rehearing shall have expired; or (c) as to which an appeal, writ of
certiorari, motion for re-argument or rehearing has been filed or sought and such order shall not
have been stayed provided, however, that no order or judgment shall fail to be a “Final Order”
solely because of the possibility that a motion pursuant to Bankruptcy Code Sections 502(j) or
1144 or under Rule 60 of the Federal Rules of Civil Procedure or Bankruptcy Rule 9024 has been
or may be filed with respect to such order or judgment.

        (87) First Bar Date Order means that Order entered March 19, 2019 [Docket No. 66]
setting the Bar Date for filing proofs of Claim or Interest.

        (88) First Petition Date means March 4, 2019, the date on which certain of the Debtors
filed their voluntary petitions for relief under chapter 11 of the Bankruptcy Code.

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       (89) General Unsecured Claim means any Claim that is not an Administrative Expense
Claim, Claims pursuant to Bankruptcy Code Section 503(b)(9), Priority Tax Claim, Other Priority
Claim, Other Secured Claim, Prepetition Secured Claim, Convertible Note Claim, Investment
Claim, Intercompany Claim, or Guaranty Claims.

      (90) General Unsecured Trust Beneficiaries means collectively, the Holders of: (a)
Allowed Convertible Note Claims; (b) Allowed Investment Claims; and (c) Allowed General
Unsecured Claims.

        (91) Guaranty Claims means the Claims of Holders of Pro Rata Notes against Custom
Golf arising pursuant to the Custom Golf Guaranty.

         (92)     Holder means the beneficial holder of any Claim or Interest.

        (93) Impaired means, when used with reference to a Claim or Interest, a Claim or
Interest that is impaired within the meaning of Bankruptcy Code Section 1124.

       (94) Independent Board of Directors means the Board of Directors for Custom Golf,
and other Debtors, whose retention was approved by Order of the Bankruptcy Court [Docket No.
128], and consisting of Russell F. Nelms, Kevin Lantry, and David Gordon.

       (95) Individualized Proof of Claim Form means, collectively, those certain proof of
claim/interest forms issued to or filed by either (i) Holders of an Investor Claim or a Convertible
Note Claim or (ii) to a creditor pursuant to the Second Bar Date Order.

         (96)     Initial Request has the meaning set forth in Section 5.24.

         (97)     Intercompany Claims means any Claim by a Debtor against another Debtor.

       (98)       Intercompany Interests means any Interest held by any Debtor in any other
Debtor.

        (99) Interests means the interest of any Holder of equity securities in the Debtors
represented by any issued and outstanding common stock or interests, preferred stock or interests,
membership interest, or other instrument evidencing a present ownership interest in the Debtors
before the Effective Date, whether or not transferable, any restricted stock units, calls, rights, puts,
awards, commitments, repurchase rights, unvested or unexercised options, warrants, unvested
common interests, unvested preferred interests or any other agreements of any character related to
the common stock, preferred stock or membership interests of the Debtors, obligating the Debtors
to issue, transfer, purchase, redeem, or sell any interests or other equity securities, any rights under
any equity incentive plans, voting agreements and registration rights agreements regarding equity
securities of the Debtors, any claims arising from the rescission of a purchase, sale or other
acquisition of any outstanding common stock interests or preferred stock interests, membership
interests, or other equity securities (or any right, claim, or interest in and to any common stock
interests, preferred stock interests, membership interests, or other equity securities) of the Debtors,
any claims for the payment of any distributions with respect to any common stock, preferred stock
or membership interests of the Debtors, and any claims for damages or any other relief arising


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from the purchase, sale, or other acquisition of the Debtors’ outstanding common stock interests,
preferred stock interests, membership interests, or other equity securities, however evidenced.

       (100) Investment Benefits means assets of any nature, received by the holders of
Convertible Notes or LLC Investors, including interest payments, distributions, or other transfers,
made by or on behalf of any Debtor on account of such Claim or Interest; provided, however,
Investment Benefits exclude any free or reduced rate use of golf courses, free, or reduced price,
golf equipment, and any non-monetary benefits incidental to Investor trips or events.

        (101) Investment Claims means, collectively and without duplication, the Claims and
Interests held by the LLC Investors against the LLCs, based upon an Interest in the LLCs, and the
Claims held by the Pro Rata Note Holders based upon the Pro Rata Notes, less Investment Benefits;
provided, however, Investment Claims does not include Intercompany Claims, Intercompany
Interests, or Claims or Interests in the LLCs held by Excluded Parties or Debtors. Investment
Claims does not include claims held by WGP Investors who have exercised the WGP Opt Out
Right.

         (102) Lien means a charge against or interest in property, whether by mortgage, deed of
trust, or otherwise, to secure payment of a debt or performance of an obligation.

        (103) LLCs means: (i) the Debtors, Warrior ATV Golf, LLC; Acquisitions; Warrior Golf
Development, LLC; Warrior Golf Management, LLC; Warrior Golf Assets, LLC; Warrior Golf
Venture, LLC; Warrior Premium Properties, LLC; Warrior Golf, LLC, a Delaware limited liability
company; Warrior Golf Equities, LLC; Warrior Golf Capital, LLC; Warrior Golf Resources, LLC;
Warrior Golf Legends, LLC; Warrior Golf Holdings, LLC; Warrior Capital Management, LLC;
and (ii) non-Debtor WGP.

      (104) LLC Interests means the Interests received by the LLC Investors in any of the
LLCs and not transferred, assigned, or redeemed prior to the issuance of the Pro Rata Notes.

         (105) LLC Investors means a Person that holds or held an LLC Interest.

        (106) New CEO means Jeremy Rosenthal, who shall on the Effective Date assume the
role of Chief Executive Officer of the Reorganized Debtors.

     (107) New Custom Golf Stock means the authorized, issued and outstanding shares of
common stock of Custom Golf to be issued to the Creditor Trust.

       (108) Nocona Note means that certain secured Promissory Note dated September 11,
2017, made by Alpha Adventure Ranch At Nocona, LLC, and in favor of Debtor Warrior Golf
Management, LLC.

        (109) Op.Co. means the operating company to be formed on or as soon as practical after
the Effective Date, as a limited liability company under the laws of the State of Texas.

        (110) Op.Co. Membership Interests means the Membership Interests in Op.Co. to be
issued, on or as soon as practical after the Effective Date, to the Creditor Trust.


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        (111) Organizational Documents means the new company governance documents
related to the Reorganized Debtors including, articles of organization, limited liability company
agreements, operating agreements, shareholders agreement, or other organizational documents
which shall be consistent with the provisions of this Plan and the Bankruptcy Code and shall
include, among other things (and only to the extent required by Bankruptcy Code Section
1123(a)(6)), provisions prohibiting the issuance of non-voting equity securities. The
Organizational Documents shall be in form and substance acceptable to the Debtors and the
Committee.

       (112) Other Priority Claim means any Claim other than an Administrative Expense
Claim or a Priority Tax Claim entitled to priority in payment as specified in Bankruptcy Code
Section 507(a).

       (113) Other Secured Claim means any Secured Claim against the Debtors, other than
the DIP Facility Claims and Senior Statutory Lien Claims.

       (114) Oversight Board means the three (3) member oversight board having oversight
over the Creditor Trust and the Creditor Trustee. The Oversight Board will be formed with
members selected by the Committee and shall be disclosed in the Plan Supplement.

         (115) Person means an individual, corporation, general or limited partnership, limited
liability company, trust, liquidating trust, incorporated or unincorporated association, joint
venture, joint stock company, government (or an agency or political subdivision thereof) or other
Entity of any kind.

       (116) Petition Dates means, collectively and respectively, March 4, 2019, April 4, 2019,
and May 30, 2019, the date on which the Debtors filed their respective voluntary petitions for relief
under chapter 11 of the Bankruptcy Code.

        (117) Plan means this First Amended Plan of Reorganization, including any Exhibits and
all supplements, appendices and schedules thereto, including the Plan Supplement, either in its
present form or as the same may be altered, amended, modified or supplemented from time to time
as permitted herein and in accordance with the provisions of the Bankruptcy Code and the terms
hereof.

        (118) Plan Distribution means the payment or distribution under this Plan of Cash,
assets, securities or instruments evidencing an obligation under this Plan, a beneficial interest in
the Creditor Trust, or other property of any nature to any Holder of an Allowed Claim.

       (119) Plan Documents means all documents, forms, lists and agreements contemplated
under this Plan (including the Plan Supplement) to effectuate the terms and conditions hereof.

       (120) Plan Supplement means any supplement to this Plan and the compilation of Plan
Documents and forms of documents and Exhibits to this Plan, as amended, modified or
supplemented from time to time, to be collectively filed by the Debtors and the Committee, as
permitted herein on or before the Plan Supplement Filing Date.



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       (121) Plan Supplement Filing Date means the date not later than fourteen (14) calendar
days before the Voting Deadline.

      (122) Priority Tax Claim means a Claim that is entitled to priority pursuant to
Bankruptcy Code Section 507(a)(8).

      (123) Privilege means all attorney-client privileges, work product protections and other
immunities or protections from disclosure held by the Debtors.

       (124) Professional means any professional: (a) employed in these Chapter 11 Cases
pursuant to Bankruptcy Code Sections 327, 328 or 1103 and to be compensated for services
rendered pursuant to Bankruptcy Code Sections 327, 328, 329, 330 or 331; (b) retained pursuant
to Bankruptcy Code Section 363; or (c) seeking compensation and reimbursement pursuant to
Bankruptcy Code Section 503(b)(4).

       (125) Professional Fee Claim means a Claim of a Professional for compensation or
reimbursement of expenses relating to services after the First Petition Date through the Effective
Date.

       (126) Proof of Claim/Interest means the proof of claim or interest that must be filed by
a Holder of a Claim or Interest by the date(s) designated by the Bankruptcy Court as the Bar Dates.

        (127) Prop.Co. means the holding company to be formed on or as soon as practical after
the Effective Date, as a limited liability company under the laws of the State of Texas.

        (128) Prop.Co. Membership Interests means the Membership Interests in Prop.Co. to
be issued, on or as soon as practical after the Effective Date, to the Creditor Trust.

         (129) Pro Rata Notes means those Pro Rata Promissory Notes issued by Debtor Warrior
Golf, LLC, a Delaware limited liability company, and/or non-Debtor Warrior Golf, LLC, a
California limited liability company, to LLC Investors, and dated September 1, 2017.
Confirmation of the Plan shall constitute a finding of the Court that the Pro Rata Notes were an
obligation as of the First Petition Date of, inter alia, Warrior Golf, LLC, a Delaware limited
liability company.

         (130) Pro Rata Note Holders means the Holders of the Pro Rata Notes.

        (131) Real Property means the real property, leasehold interests, and fixtures generally
detailed in the Plan Supplement, and shall include all Real Property (a) titled in the name of any
of the Debtors, as of the First Petition Date, and (b) titled and/or recorded in official records of any
and all state and/or local agencies, in the name of “Warrior Golf, LLC” (with or without an
identification as a Delaware limited liability company).

       (132) Reinstated means, with respect to Claims and Interests, the treatment provided for
in Bankruptcy Code Section 1124.

       (133) Related Persons means, with respect to any Person, such Person’s predecessors,
successors and assigns (whether by operation of law or otherwise) and their respective present and

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former Affiliates, and each of their respective current and former members, partners, equity-
holders, officers, directors, employees, managers, shareholders, partners, financial advisors,
attorneys, accountants, investment bankers, consultants, agents and professionals, each acting in
such capacity, and any Person claiming by or through any of them (including their respective
officers, directors, managers, shareholders, partners, employees, members and professionals);
provided, that the Related Person shall not include any Excluded Party.

        (134) Released Persons means the CRO, the CFO, the Independent Board of Directors,
the Committee and its respective members in their capacity as such, the DIP Lender, and the Exit
Facility Lender and any of such Person’s or Entities’ Related Persons (each solely in their capacity
as such), including the Debtors’ and the Committee’s Professionals, unless expressly defined as
an Excluded Party.

         (135) Reorganized Custom Golf means Custom Golf from and after the Effective Date.

      (136) Reorganized Debtors means collectively, Reorganized Custom Golf, Op.Co. and
Prop.Co., from and after the Effective Date.

       (137) Restructuring Transactions means one or more transactions pursuant to Section
1123(a)(5)(D) of the Bankruptcy Code to occur on or before the Effective Date or as soon as
reasonably practicable thereafter, that may be necessary or appropriate to effect any transaction
described in, approved by, contemplated by, or necessary to effectuate this Plan, as further
described in Section 5.08.

        (138) Scheduled means, with respect to any Claim or Interest, the status and amount, if
any, of such Claim or Interest as set forth in the Bankruptcy Schedules.

        (139) Second Bar Date Order means that Order entered June 27, 2019 [Docket No. 333],
setting the Bar Date for Claims and Interests that arose against the Debtors prior to the Petition
Date for each of the Debtors.

        (140) Secured means, when referring to a Claim: (a) secured by a Lien on property in
which the Estates have an interest, which Lien is valid, perfected, and enforceable pursuant to
applicable law or by reason of a Bankruptcy Court order, or that is subject to setoff pursuant to
Bankruptcy Code Section 553, to the extent of the value of the Creditor’s interest in the Estates’
interest in such property or to the extent of the amount subject to setoff, as applicable, as
determined pursuant to Bankruptcy Code Section 506(a); or (b) Allowed pursuant to this Plan as
a Secured Claim.

       (141) Securities Act means the Securities Act of 1933, 15 U.S.C. Sections 77a-77aa, as
now in effect or hereafter amended.

       (142) Securities Violations means Causes of Action that may be asserted by the Debtors,
the Reorganized Debtors or the Creditor Trust, as applicable, for violations of the Securities Act,
the Exchange Act, all state Blue Sky laws, and the equivalents thereof.




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       (143) Senior Statutory Lien means any statutory Lien against the Debtors’ property that
has been perfected: (a) under Bankruptcy Code Section 546; or (b) prior to the Petition Date, under
applicable non-bankruptcy law.

         (144) Senior Statutory Lien Claim means any Claim secured by a Senior Statutory Lien.

       (145) Title Records means any and all records of any and all state or local agencies
recording titles and interests in and to the Real Property.

        (146) Trust Contribution Funds means the funds transferred by the Debtors to the
Creditor Trust on the Effective Date which shall be utilized by the Creditor Trustee to administer
the Creditor Trust Assets and pay all Creditor Trust Expenses. The amount of the Trust
Contribution Funds will be disclosed either in the Plan Supplement, or prior to the commencement
of the Confirmation Hearing.

         (147) Unclaimed Property has the meaning set forth in Section 7.03.

         (148) Unimpaired means a Claim or Interest that is not Impaired.

        (149) Voting Deadline means the date by which a Creditor must deliver a Ballot to accept
or reject this Plan as set forth in the order of the Bankruptcy Court approving the instructions and
procedures relating to the solicitation of votes with respect to this Plan.

         (150) Westwind means Debtor Westwind Manor Resort Association, Inc.

         (151) WGP means Warrior Golf Properties, LLC, a non-Debtor entity.

        (152) WGP Causes of Action means all actions, causes of action, liabilities, obligations,
rights, suits, damages, judgments, remedies, demands, setoffs, defenses, recoupments,
crossclaims, counterclaims, third-party claims, indemnity claims, contribution claims, or any other
claims whatsoever, whether known or unknown, matured or unmatured, fixed or contingent,
liquidated or unliquidated, disputed or undisputed, asserted or unasserted, suspected or
unsuspected, foreseen or unforeseen, direct or indirect, choate or inchoate, existing or hereafter
arising, in law, equity, or otherwise, based in whole or in part upon any act or omission or other
event occurring through the Effective Date against the WGP Entities, held by WGP Investors that
have not, as of the Voting Deadline, exercised the WGP Opt Out Right. WGP Causes of Action
include, but are not limited to, claims of breach of fiduciary duty, aiding and abetting breach of
fiduciary duty, bad faith, willful misconduct, Securities Violations, Commercial Tort Claims,
fraudulent transfer, preferential transfer, subordination, recharacterization of debt to equity,
malpractice, constructive trust, disgorgement and counterclaims, breach of contract, breach of the
implied covenant of good faith and fair dealing, common law and statutory conspiracy, civil
remedies against racketeer influenced and corrupt organizations under Chapter 96 of Title 18 of
the United States Code, overpayment, unjust enrichment, fraud, negligent misrepresentation,
tortious interference with contract or prospective economic advantage, civil conspiracy, whether
under feral law or the laws of any state, equitable subordination, including under Bankruptcy Code
Section 510(c), aiding and abetting any act or omission of any Person or Entity, objections to fees,
and interest or other charges paid by the Debtors. Notwithstanding the forgoing definition of WGP
Causes of Action, nothing herein is intended to or shall be construed to confirm that the Debtors,

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the Reorganized Debtors, the Creditor Trust or the Creditor Trustee takes the position that a type
or structure of claim listed herein is a direct claim of a WPG Investor.

       (153) WGP Causes of Action Assignment means the absolute and unconditional
assignment on the Effective Date to the Creditor Trust, of all WGP Causes of Action held by WGP
Investors, that have not validly exercised the WGP Opt Out Right.

         (154) WGP Entities means collectively WGP, and WGP Related Persons.

         (155) WGP Investment means the Interests of LLC Investors in WGP.

        (156) WGP Investment Assignment means the absolute and unconditional assignment
on the Effective Date to the Creditor Trust, of all the WGP Investment held by WGP Investors,
that have not validly exercised the WGP Opt Out Right.

        (157) WGP Investors means LLC Investors holding Investment Claims arising from an
Interest in WGP and/or Pro Rata Notes issued in connection with an Interest in WGP. A WGP
Investor that has not validly exercised the WGP Opt Out Right will be deemed a party-in-interest
in the Chapter 11 Cases.

       (158) WGP Opt Out Right means the right of WGP Investors to opt out of the WGP
Causes of Action Assignment and the WGP Investment Assignment. The exercise of the WGP
Opt Out Right is for the WGP Causes of Action Assignment and the WGP Investment Assignment
and cannot be separated or split between the two assignments.

        (159) WGP Related Persons means all of WGP’s affiliates, as set forth in Bankruptcy
Code Section 101(2), and all of WGP’s predecessors, successors and assigns (whether by operation
of law or otherwise) and their respective present and former affiliates (as set forth in Bankruptcy
Code Section 101(2)), and each of their respective current and former members, partners, equity-
holders, officers, directors, employees, managers, shareholders, partners, financial advisors,
attorneys, accountants, investment bankers, consultants, agents and professionals, each acting in
such capacity, and any Person claiming by or through any of them (including their respective
officers, directors, managers, shareholders, partners, employees, members and professionals).
WGP Related Persons does not include the Debtors, the Debtors’ Affiliates, and/or the WGP
Investors who have not exercised the WGP Opt Out Right.

1.03 Rules of Interpretation

For purposes of this Plan: (1) except as provided in Section 11, any reference in this Plan to a
contract, instrument, release, indenture, or other agreement or document being in a particular form
or on particular terms and conditions, means that such document shall be substantially in such
form or substantially on such terms and conditions; (2) except as provided in Section 11, any
reference in this Plan to an existing document or exhibit filed or to be filed with the Bankruptcy
Court, means such document or exhibit as it may have been or may be amended, modified, or
supplemented as permitted herein; (3) unless otherwise specified, all references in this Plan to
Sections, Schedules, and Exhibits are references to Sections, Schedules, and Exhibits of or to this
Plan; (4) the words “herein,” “hereto,” and “hereof” refer to this Plan in its entirety rather than to
a particular portion of this Plan; (5) captions and headings to Sections are inserted for convenience

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of reference only and are not intended to be a part of or to affect the interpretation of this Plan; (6)
the singular includes the plural and the plural includes the singular; and (7) the rules of construction
set forth in Bankruptcy Code Section 102 and in the Bankruptcy Rules shall apply.

1.04 Computation of Time

In computing any period of time prescribed or allowed by this Plan, the provisions of Bankruptcy
Rule 9006(a) shall apply.

1.05 Reference to Monetary Figures

All references in this Plan to monetary figures shall refer to legal currency of the United States of
America.

1.06 Reference to the Debtors or the Reorganized Debtors

Except as otherwise specifically provided in the Plan to the contrary, references in the Plan to the
Debtors or to the Reorganized Debtors shall mean the Debtors and the Reorganized Debtors, as
applicable, to the extent the context requires.

1.07 Exhibits and Plan Supplement

All Exhibits, all Plan Documents, as well as the Plan Supplement, are incorporated into and are a
part of this Plan as if set forth in full herein, and, to the extent not annexed hereto, such Exhibits
and Plan Supplement shall be timely filed with the Clerk of the Bankruptcy Court on or before the
Plan Supplement Filing Date. Holders of Claims and Interests may obtain a copy of the filed
Exhibits and the Plan Supplement upon written request to the Debtors’ counsel. Upon their filing,
the Exhibits and the Plan Supplement may be inspected in the office of the clerk of the Bankruptcy
Court or at the Bankruptcy Court’s website or at the Balloting Agent’s website for this Case at:

                        https://www.txs.uscourts.gov/page/bankruptcy-court

                        https://www.donlinrecano.com/Clients/warrior/index

The documents contained in the Exhibits and Plan Supplement shall be approved by the
Bankruptcy Court pursuant to the Confirmation Order. The Debtors and the Committee,
collectively, explicitly reserve the right to modify or make additions to or subtractions from any
Exhibit to this Plan or the Plan Supplement and to amend, modify or supplement any Exhibit to
this Plan before the Confirmation Date.

1.08 Deemed Acts

Whenever an act or event is expressed under this Plan to have been deemed done or to have
occurred, it shall be deemed to have been done or to have occurred without any further act by any
party, by virtue of this Plan and the Confirmation Order.




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                                     SECTION 2
                               UNCLASSIFIED CLAIMS
                        (NOT ENTITLED TO VOTE ON THIS PLAN)

In accordance with Bankruptcy Code Section 1123(a)(l), Administrative Expense Claims, DIP
Facility Claims and Priority Tax Claims have not been classified and thus are excluded from the
Classes of Claims and Interests set forth in Section 4. These unclassified Claims are treated as
follows:

2.01 Administrative Expense Claims

Each Holder of an Allowed Administrative Expense Claim, on or as soon as practicable after the
Effective Date, shall receive from the Reorganized Debtors, in full satisfaction, release, settlement,
and discharge of such Allowed Administrative Expense Claim: (1) payment in full in Cash; (2)
other treatment consistent with Bankruptcy Code Sections 1129(a)(9)(C) and 1129(a)(9)(D); or
(3) such other terms as agreed to among the Reorganized Debtors and the Holders thereof.

Notwithstanding the foregoing, Allowed Administrative Expense Claims that arise in the ordinary
course of the Debtors’ businesses shall be paid in the ordinary course of business in accordance
with the terms and subject to the conditions of any agreements governing or other documents
relating to such Claims. Professional Fee Claims (as defined herein) shall be paid by the
Reorganized Debtors promptly after being approved by the Bankruptcy Court, or in the case of
Professional Fee Claims owed pursuant to the DIP Orders, pursuant to the terms of such orders.

2.02 DIP Facility Claim

All DIP Facility Claims are and shall be deemed Allowed Secured Claims and superpriority
Administrative Claims due and owing under the DIP Documents as of the Effective Date. The
Holder of the Allowed DIP Facility Claim, on the Effective Date, shall receive from the
Reorganized Debtors, in full satisfaction, release, settlement, and discharge of such Allowed DIP
Facility Claim; (1) payment in full in Cash; or (2) such other terms as agreed to among the Debtors
and the DIP Lender.

2.03 Priority Tax Claims

        (1)     Each Holder of an Allowed Priority Tax Claim, arising pursuant to Bankruptcy
Code Section 507(a)(8), other than pursuant to Bankruptcy Code Section 508(a)(8)(B), against a
Debtor, on or as soon as practicable after the Effective Date, shall receive from the Creditor Trust,
in full satisfaction, release, and discharge thereof, as determined in the sole discretion of the
Creditor Trustee: (a) payment in full in Cash; (b) other treatment consistent with Sections
1129(a)(9)(C) or 1129(a)(9)(D) of the Bankruptcy Code; or (c) such other terms as agreed to
among the Debtors and the Holders thereof.

        (2)     Each Holder of an Allowed Priority Tax Claim, arising pursuant to Bankruptcy
Code Section 507(a)(8)(B), against a Debtor, on or as soon as practicable after the Effective Date,
shall receive from the Reorganized Debtors, in full satisfaction, release, and discharge thereof, as
determined in the sole discretion of the Reorganized Debtors: (a) payment in full in Cash; (b) other
treatment consistent with Sections 1129(a)(9)(C) or 1129(a)(9)(D) of the Bankruptcy Code; or (c)

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such other terms as agreed to among the Debtors and the Holders thereof. Notwithstanding
subsection (b) herein, upon the sale of the Real Property, pursuant to which an Allowed Priority
Tax Claim arose, the Reorganized Debtors shall make payment in full in Cash, plus Post-Petition
Interest to the extent required under Bankruptcy Code Section 506(b), of the then balance due of
such Allowed Priority Tax Claim.

2.04 Bar Dates for Certain Claims

        (1)    Administrative Expense Claims; Substantial Contribution Claims. The Bar
Date for filing of all Administrative Expense Claims, including substantial contribution claims,
will be the date that is thirty (30) calendar days after the Effective Date (such date, the
“Administrative Expense Claims Bar Date”). Holders of asserted Administrative Expense
Claims, other than Professional Fee Claims, claims for U.S. Trustee fees under 28 U.S.C. Section
1930 and administrative tax claims must submit proofs of Administrative Expense Claims on or
before such Administrative Expense Claims Bar Date or forever be barred from doing so. Within
five (5) Business Days of the Effective Date, the Reorganized Debtors shall serve and file on the
docket of the Bankruptcy Court, a notice setting forth the Administrative Expense Claims Bar
Date. The Reorganized Debtors shall have sixty (60) calendar days (or such longer period as may
be allowed by order of the Bankruptcy Court) following the Administrative Expense Claims Bar
Date to review and object to such Administrative Expense Claims before a hearing for
determination of allowance of such Administrative Expense Claims.

        (2)    Administrative Ordinary Course Liabilities. Holders of Administrative Expense
Claims that are based on liabilities incurred and paid by the Debtors in the ordinary course of the
Debtors’ businesses (other than Claims of governmental units for taxes) on and after the First
Petition Date shall not be required to file any request for payment of such Administrative Expense
Claims. For the avoidance of doubt, Holders of Administrative Expense Claims pursuant to
Bankruptcy Code Section 503(b)(9) are required to file a Proof of Claim on or before the General
Bar Date (as defined in the Second Bar Date Order).

        (3)     Administrative Tax Claims. All requests for payment of Administrative Expense
Claims by a Governmental Unit for taxes for any tax year or period, all or any portion of which
occurs or falls within the period from and including the First Petition Date through and including
the Effective Date, and for which no bar date has otherwise been previously established, must be
filed and served on the Reorganized Debtors and any other party specifically requesting a copy in
writing on or before the later of (a) thirty (30) calendar days after the Effective Date; and (b) one
hundred and twenty (120) calendar days following the filing of the tax return for such taxes for
such tax year or period with the applicable governmental unit. Within five (5) Business Days of
the Effective Date, the Reorganized Debtors shall serve, and file on the docket of the Bankruptcy
Court, a notice setting forth such applicable Bar Date. Any Holder of any such Claim that is
required to file a request for payment of such taxes and does not file and properly serve such a
claim by the applicable Bar Date shall be forever barred from asserting any such claim against the
Debtors, the Reorganized Debtors, the Disbursing Agent or their property, regardless of whether
any such Claim is deemed to arise on or before the Effective Date. Any interested party desiring
to object to an Administrative Tax Claim must file and serve its objection on counsel to the
Reorganized Debtors and the relevant taxing authority no later than ninety (90) calendar days after
the taxing authority files and serves its Claim.

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       (4)     Professional Fee Claims. All final requests for compensation or reimbursement of
Professional fees pursuant to Bankruptcy Code Sections 327, 328, 330, 331, 363, 503(b) or 1103
or pursuant to the DIP Orders (the “Professional Fee Claims”) for services rendered to or on
behalf of the Debtors before the Effective Date (other than substantial contribution claims under
Bankruptcy Code Sections 503(b)(4)) must be filed with the Bankruptcy Court and served on the
Reorganized Debtors and their counsel no later than thirty (30) calendar days after the Effective
Date, unless otherwise ordered by the Bankruptcy Court. Objections to applications of such
Professionals or other entities for compensation or reimbursement of expenses must be filed with
the Bankruptcy Court and served on the Reorganized Debtors and their counsel and the requesting
Professional or other entity no later than twenty (20) calendar days (or such longer period as may
be allowed by order of the Bankruptcy Court) after the date on which the applicable application
for compensation or reimbursement was served.

        (5)    Force Ten Partners’ Professional Fees. Nothing in the Plan or the Confirmation
Order shall modify the terms of the engagement of Force Ten Partners, LLC, as provided in Docket
No. 127, and in particular the Success Fee provisions thereof, which provisions shall survive the
Effective Date and continue to be applicable thereafter. Notwithstanding the foregoing, the
Reorganized Debtors, the Creditor Trustee, and Force Ten Partners, LLC may agree to a delay in
the timing of any Success Fee payments.

2.05 Payment of Statutory Fees

On or before the Effective Date (or as soon as reasonably practicable after such fees become due),
the Reorganized Debtors shall have paid in full, in Cash, all fees payable pursuant to Section 1930
of Title 28 of the United States Code, in the amount determined by the Bankruptcy Court at the
Confirmation Hearing.

                                       SECTION 3
                             CLASSIFICATION OF CLAIMS AND
                        INTERESTS AND ACCEPTANCE REQUIREMENTS

3.01 Introduction

The categories of Claims and Interests set forth herein classify Claims and Interests for all
purposes, including for purposes of voting, confirmation, and distribution pursuant to this Plan and
Bankruptcy Code Sections 1122 and 1123(a)(l). A Claim or Interest shall be deemed classified in
a particular Class only to the extent that it qualifies within the description of such Class and shall
be deemed classified in other Classes to the extent that any portion of such Claim or Interest
qualifies within the description of such other Classes. Notwithstanding anything to the contrary in
this Plan, a Claim or Interest shall be deemed classified in a Class only to the extent that such
Claim or Interest has not been paid, released, or otherwise settled before the Effective Date.

All Claims (except for Administrative Expense Claims, the DIP Facility Claim and Priority Tax
Claims, which are not classified pursuant to Bankruptcy Code Section 1123(a)(l)) are classified in
Section 4.01 through Section 4.09.




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3.02 Voting; Presumptions

        (1)     Acceptance by Impaired Classes. Each Impaired Class of Claims that will (or
may) receive or retain property or any interest in property under this Plan shall be entitled to vote
to accept or reject this Plan. An Impaired Class of Claims shall have accepted this Plan if (i) the
Holders (other than any Holder designated under Bankruptcy Code Section 1126(e)) of at least
two-thirds in amount of the Allowed Claims actually voting in such Class have voted to accept
this Plan and (ii) the Holders (other than any Holder designated under Bankruptcy Code Section
1126(e)) of more than one-half in number of the Allowed Claims actually voting in such Class
have voted to accept this Plan.

        (2)     Voting Presumptions. Claims in Unimpaired Classes are conclusively deemed to
have accepted this Plan pursuant to Bankruptcy Code Section 1126(f) and, therefore, are not
entitled to vote to accept or reject this Plan. Claims and Interests in Classes that do not entitle the
Holders thereof to receive or retain any property under this Plan are conclusively deemed to have
rejected this Plan pursuant to Bankruptcy Code Section 1126(g) and, therefore, are not entitled to
vote to accept or reject this Plan.

         (3)      Direct Claim Opt Out – by Convertible Noteholders.

                 (a)     Convertible Noteholders that validly exercise the Direct Claim Opt Out will
         be deemed to hold an LLC Interest in Class 8 under this Plan and are conclusively deemed
         to have rejected this Plan pursuant to Bankruptcy Code Section 1126(g) and, therefore, are
         not entitled to vote to accept or reject this Plan.

                (b)    Upon the valid exercise of the Direct Claim Opt Out by a Convertible
         Noteholder, the Debtors will have, without further action or Bankruptcy Court order, be
         deemed to have exercised the Conversion Right, immediately prior to the Effective Date,
         under the Convertible Notes with respect to such Convertible Noteholder.

        (4)    WGP Opt Out. WGP Investors that do not validly exercise the WGP Opt Out
Right, shall be deemed to have accepted the Plan. WPG Investors do not have a right to vote on
the Plan.

3.03 Cram Down – Nonconsensual Confirmation

If any Impaired Class of Claims or Interests entitled to vote shall not accept the Plan by the
requisite statutory majority provided in Bankruptcy Code Section 1126(c) or 1126(d), the Debtors
and the Committee, jointly, shall request Confirmation of the Plan under Bankruptcy Code Section
1129(b). In that event, the Debtors and the Committee, jointly, reserve the right to modify the Plan
to the extent, if any, that Confirmation pursuant to Bankruptcy Code Section 1129(b) requires
modification or any other reason in their joint discretion.

3.04 Identification of Claims and Interests

The following table designates the Classes of Claims against, and Interests in, the Debtors and
specifies which of those Classes and Interests are (a) Impaired or Unimpaired by this Plan; (b)


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entitled to vote to accept or reject this Plan in accordance with Bankruptcy Code Section 1126;
and (c) deemed to accept or reject this Plan.

     Class        Type of Claim or Interest        Impairment      Entitled / Not Entitled to Vote
                                           Unclassified Claims
 --           Administrative Expense Claims        Unimpaired    Not entitled to vote on the Plan
 --           DIP Facility Claim                   Unimpaired    Not entitled to vote on the Plan
 --           Priority Tax Claims                  Unimpaired    Not entitled to vote on the Plan
                                            Classified Claims
 1            Other Priority Claims (exclusive     Unimpaired    Not entitled to vote; deemed to
              of Priority Tax Claims)                            accept the Plan
 2            Other Secured Claims                 Unimpaired    Not entitled to vote; deemed to
              (exclusive of Secured Claims in                    accept the Plan
              Class 3)
 3A &         Prepetition Secured Claims in        Unimpaired    Not entitled to vote; deemed to
 3B           Class 3A and 3B                                    accept the Plan
 3C           Prepetition Secured Claim in           Impaired    Entitled to vote on the Plan
              Class 3C
 4            General Unsecured Claims               Impaired    Entitled to vote on the Plan
 5            Investment Claims                      Impaired    Entitled to vote on the Plan
 6            Convertible Note Claims                Impaired    Entitled to vote on the Plan
 7            Custom Golf Interests                  Impaired    Not entitled to vote; deemed to
                                                                 reject the Plan
 8            LLC Interests                        Impaired      Not entitled to vote; deemed to
                                                                 reject the Plan


                                    SECTION 4
                         TREATMENT OF CLAIMS AND INTERESTS

4.01 Other Priority Claims (exclusive of Priority Tax Claims)

       Classification: Class 1 consists of Other Priority Claims against the Debtors. Allowed
Claims arising pursuant to Bankruptcy Code Section 503(b)(9) are Other Priority Claims.

        Treatment: Each holder of an Allowed Claim in Class 1, on or as soon as practicable after
the Effective Date, shall receive from the Reorganized Debtors, in full satisfaction, release,
settlement, and discharge of such Claims, as determined in the sole and exclusive discretion of the
Reorganized Debtors: (1) payment in full in Cash, plus Post-Petition Interest, if applicable; (2)
other treatment consistent with Bankruptcy Code Sections 1129(a)(9)(C) and 1129(a)(9)(D); or
(3) such other less favorable terms agreed to among the Reorganized Debtors and Holders thereof.

       Voting: Claims in Class 1 are Unimpaired. Each Holder of an Allowed Other Priority
Claim shall be conclusively deemed to have accepted this Plan, pursuant to Bankruptcy Code
Section 1126(f), and, therefore, shall not be entitled to vote to accept or reject this Plan.



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4.02 Other Secured Claims (exclusive of Class 3 Secured Claims)

         Classification: Class 2 consists of Allowed Other Secured Claims against the Debtors.

        Treatment: Each Holder of an Allowed Claim in Class 2, on or as soon as practicable
after the Effective Date, shall receive from the Reorganized Debtors, in full satisfaction, release,
settlement, and discharge of such Claim, at the option of the Reorganized Debtors, as determined
in the sole and exclusive discretion of the Reorganized Debtors: (1) payment in full in Cash, plus
Post-Petition Interest to the extent required under Bankruptcy Code Section 506(b); (2) be
Reinstated or receive such other treatment sufficient to render the Holder of such Claim
Unimpaired pursuant to Bankruptcy Code Section 1124; or (3) the return of the applicable
collateral in satisfaction of the Allowed amount of such Secured Claim.

       Voting: Claims in Class 2 are Unimpaired. Each Holder of an Allowed Other Secured
Claim shall be conclusively deemed to have accepted this Plan, pursuant to Bankruptcy Code
Section 1126(f), and, therefore, shall not be entitled to vote to accept or reject this Plan.

4.03 Prepetition Secured Claims

Classification: Class 3, collectively, consists of Prepetition Secured Claims (other than Priority
Tax Claims arising pursuant to Bankruptcy Code Section 507(a)(8)(B)), against Real Property of
the Debtors, as follows:

        Class 3A: Broadmoor Group, Inc., Albert Ronald Smoak, and Zoe Anne Smoak,
collectively, holders of a secured interest in that certain Real Property commonly known as
Broadmoor Golf Links.

        Treatment: The Holder of an Allowed Claim in Class 3A, on or as soon as practicable
after the Effective Date, shall receive from the Reorganized Debtors, in full satisfaction, release,
settlement, and discharge of such Claim, as determined in the sole and exclusive discretion of the
Reorganized Debtors: (1) payment in full in Cash, plus Post-Petition Interest to the extent required
under Section 506(b) of the Bankruptcy Code; (2) be Reinstated or receive such other treatment
sufficient to render the Holder of such Claim Unimpaired pursuant to Section 1124 of the
Bankruptcy Code; or (3) the return of the applicable collateral in satisfaction of the Allowed
amount of such Secured Claim.

       Voting: The Claim in Class 3A is Unimpaired. The Holder of an Allowed Class 3A shall
be conclusively deemed to have accepted this Plan and, therefore, shall not be entitled to vote to
accept or reject this Plan.

      Class 3B: ANB Bank, holder of a secured interest in that certain Real Property commonly
known as Lakota Canyon Ranch Golf Club.

        Treatment: The Holder of an Allowed Claim in Class 3B, on or as soon as practicable
after the Effective Date, shall receive from the Reorganized Debtors, in full satisfaction, release,
settlement, and discharge of such Claim, as determined in the sole and exclusive discretion of the
Reorganized Debtors: (1) payment in full in Cash, plus Post-Petition Interest to the extent required
under Section 506(b) of the Bankruptcy Code; (2) be Reinstated or receive such other treatment

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sufficient to render the Holder of such Claim Unimpaired pursuant to Section 1124 of the
Bankruptcy Code; or (3) the return of the applicable collateral in satisfaction of the Allowed
amount of such Secured Claim.

       Voting: The Claim in Class 3B is Unimpaired. The Holder of an Allowed Class 3B shall
be conclusively deemed to have accepted this Plan and, therefore, shall not be entitled to vote to
accept or reject this Plan.

         Class 3C: CBB, the holder of a secured interest in the Cimarron Golf Resort Property.

        Treatment: The Holder of the Claim in Class 3C shall have a fully Secured Claim equal
to the Allowed amount outstanding under the CBB Mortgage Loan as of the Effective Date. The
Claim shall be secured by all of the Holder’s existing collateral, to the extent of valid and perfected
liens as of the First Petition Date, except: (i) any and all proceeds of eminent domain actions against
the Holder’s collateral, up to an aggregate award or settlement of $1.1 Million; and (ii) the proceeds
of all payments arising under or pursuant to a lease or sale of a portion of the Holder’s existing
collateral, in connection with cell towers on such collateral. The Holder’s liens shall be junior in
priority to the Cimarron Surcharge Amount. The Class 3C Claim shall be memorialized in a
subordinate secured note in form and substance provided in the Plan Supplement.

        Voting: The Claim in Class 3C is Impaired. The Holder of the Allowed Class 3C Claim
shall be entitled to vote to accept or reject this Plan.

4.04 General Unsecured Claims

        Classification: Class 4 consists of all Allowed General Unsecured Claims against the
Debtors. General Unsecured Claims do not include Intercompany Claims or Guaranty Claims. On
the Effective Date, or as soon as practicable thereafter, all Intercompany Claims and all Guaranty
Claims shall be deemed extinguished, released, and discharged, and the Holders thereof shall
receive no Distribution based thereon.

        Treatment: Each Holder of an Allowed Claim in Class 4, on or as soon as practicable
after the Effective Date, shall receive, in full satisfaction, release, settlement, and discharge of such
Claims, its pro rata share of the Class A Interests.

       Voting: Claims in Class 4 are Impaired. Each Holder of an Allowed General Unsecured
Claim shall be entitled to vote to accept or reject this Plan.

4.05 Investment Claims

         Classification: Class 5 consists of the Investment Claims.

        Treatment: Each Holder of an Allowed Claim in Class 5, on or as soon as practicable
after the Effective Date, shall receive, in full satisfaction, release, settlement, and discharge of such
Claims, its pro rata share of the Class B Interests. The amount of the pro rata share of the Class
B Interests is as follows:



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               (i)     To the extent that a Holder of an Investment Claim, has not validly
exercised the Direct Claim Opt Out Right, its Claim will be equal to the aggregate amount of such
Holders’ original Cash Purchase Price of LLC Interests, less, Investment Benefits received by such
Holder; and the Allowed Investment Claim shall not include any separate or additional Claim
based upon the Pro Rata Notes or the Custom Golf Guaranty.

               (ii)    To the extent that a Holder of an Investment Claim, has validly exercised
the Direct Claim Opt Out Right, its Claim will be equal to the aggregate amount of such Holders’
Pro Rata Notes, less, Investment Benefits received by such Holder; and the Allowed Investment
Claim shall not include any separate or additional Claim based upon the aggregate amount of such
Holders’ original Cash Purchase Price of LLC Interests or the Custom Golf Guaranty.

        Voting: Claims in Class 5 are Impaired. Each Holder of an Allowed Investment Claim
shall be entitled to vote to accept or reject this Plan.

ALL HOLDERS OF INVESTMENT CLAIMS WHO DO NOT OPT OUT OF THE
DIRECT CAUSES OF ACTION ASSIGNMENT, ON A TIMELY SUBMITTED BALLOT,
SHALL   BE   DEEMED    TO   HAVE    EXPRESSLY,   UNCONDITIONALLY,
IRREVOCABLY,    GENERALLY,    INDIVIDUALLY,   AND   COLLECTIVELY
CONSENTED TO THE DIRECT CAUSES OF ACTION ASSIGNMENT TO THE
CREDITOR TRUST.

ALL HOLDERS OF INVESTMENT CLAIMS WHO DO NOT OPT OUT OF THE
DIRECT CAUSES OF ACTION ASSIGNMENT, ON A TIMELY SUBMITTED BALLOT,
SHALL EXECUTE ALL DOCUMENTS REASONABLE REQUESTED BY THE
CREDITOR TRUSTEE TO IMPLEMENT THE DIRECT CAUSES OF ACTION
ASSIGNMENT.

4.06 Convertible Note Claims

         Classification: Class 6 consists of the Convertible Note Claims against Acquisitions.

         Treatment:

                  (i)     Each Holder of an Allowed Claim in Class 6, that has not validly exercised
the Direct Claim Opt Out Right, on or as soon as practicable after the Effective Date, shall receive,
in full satisfaction, release, settlement, and discharge of such Claims, its pro rata share of the Class
C Interests;

                (ii)   A validly exercised Direct Claim Opt Out Right by a holder of a Convertible
Note Claim will automatically and immediately prior to the Effective Date, without further action
on the part of the Debtors, or further order of the Bankruptcy Court, cause and effect the exercise
of the Conversion Right; and

              (iii)  Each Holder of a Convertible Note Claim, that has validly exercised the
Direct Claim Opt Out Right, shall be treated as holding an Interest in Class 8.



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       Voting: Claims in Class 6 are Impaired. Each Holder of an Allowed Convertible Note
Claim, that has not validly exercised the Direct Claim Opt Out Right, shall be entitled to vote to
accept or reject this Plan. Each Holder of an Allowed Convertible Note Claim, that has validly
exercised the Direct Claim Opt Out Right, shall not be entitled to vote to accept or reject this Plan.

ALL HOLDERS OF CONVERTIBLE NOTE CLAIMS WHO DO NOT OPT OUT OF THE
DIRECT CAUSES OF ACTION ASSIGNMENT, ON A TIMELY SUBMITTED BALLOT,
SHALL   BE   DEEMED    TO   HAVE    EXPRESSLY,   UNCONDITIONALLY,
IRREVOCABLY,    GENERALLY,    INDIVIDUALLY,   AND   COLLECTIVELY
CONSENTED TO THE DIRECT CAUSES OF ACTION ASSIGNMENT TO THE
CREDITOR TRUST.

ALL HOLDERS OF CONVERTIBLE NOTE CLAIMS WHO DO NOT OPT OUT OF THE
DIRECT CAUSES OF ACTION ASSIGNMENT, ON A TIMELY SUBMITTED BALLOT,
SHALL EXECUTE ALL DOCUMENTS REASONABLE REQUESTED BY THE
CREDITOR TRUSTEE TO IMPLEMENT THE DIRECT CAUSES OF ACTION
ASSIGNMENT.

4.07 Custom Golf Interests

         Classification: Class 7 consists of all Interests in Custom Golf.

       Treatment: On the Effective Date, all Interests in Custom Golf shall be extinguished, and
owners thereof shall receive no distribution on account of such Interests.

        Voting: Interests in Class 7 are Impaired. Each holder of a Custom Golf Interest shall be
deemed to reject the Plan under Bankruptcy Code Section 1126(g) and therefore shall not be
entitled to vote to accept or reject the Plan.

4.08 LLC Interests

       Classification: Class 8 consists of all Interests in the LLCs, including those interest of
Holders of Convertible Note Claims that have validly exercised the Direct Claim Opt Out Right.

        Treatment: On the Effective Date, all Interests in the LLCs, other than Interests in WGP,
shall be extinguished and owners thereof shall receive no distribution on account of such Interests.
Notwithstanding the foregoing, Allowed Investment Claims shall receive the treatment provided
in Section 4.05.

        Voting: Interests in Class 8 are Impaired. Each holder of an Allowed Interest shall be
deemed to reject the Plan under Bankruptcy Code Section 1126(g) and therefore shall not be
entitled to vote to accept or reject the Plan.

4.09 WGP Investors

WGP Investors, that have not validly exercised the WGP Opt Out Right: (a) will be treated
pursuant to Section 4.05; and (b) agree that on and after the Effective Date he/she/it will execute


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all documents reasonable requested by the Creditor Trustee to implement the WGP Causes of
Action Assignment and the WGP Investment Assignment.

ALL WGP INVESTORS WHO DO NOT OPT OUT OF THE WGP CAUSES OF ACTION
ASSIGNMENT AND THE WGP INVESTMENT ASSIGNMENT, ON A TIMELY
SUBMITTED BALLOT, SHALL BE DEEMED TO HAVE EXPRESSLY,
UNCONDITIONALLY, IRREVOCABLY, GENERALLY, INDIVIDUALLY, AND
COLLECTIVELY CONSENTED TO THE WGP CAUSES OF ACTION ASSIGNMENT
AND THE WGP INVESTMENT ASSIGNMENT TO THE CREDITOR TRUST.

ALL WGP INVESTORS WHO DO NOT OPT OUT OF THE DIRECT CAUSES OF
ACTION ASSIGNMENT, ON A TIMELY SUBMITTED BALLOT, SHALL EXECUTE
ALL DOCUMENTS REASONABLE REQUESTED BY THE CREDITOR TRUSTEE TO
IMPLEMENT THE DIRECT CAUSES OF ACTION ASSIGNMENT.

WGP Investors, that have validly exercised the WGP Opt Out Right: (a) will not receive any
distribution pursuant to the Plan, including Class B Interests; and (b) will be not be entitled to vote
on the Plan.

                            SECTION 5
   MEANS FOR IMPLEMENTATION OF THE PLAN AND POST EFFECTIVE DATE
                          GOVERNANCE

5.01 Date of Plan Distributions on Account of Allowed Claims

Except as otherwise specifically provided herein, any Plan Distributions and delivery to be made
under this Plan shall be made on the Effective Date or as soon as practicable thereafter. In the
event that any payment or act under this Plan is required to be made or performed on a date that is
not a Business Day, then the making of such payment or the performance of such act may be
completed on the next succeeding Business Day but shall be deemed to have been completed as of
the required date.

5.02 Sources of Cash for Plan Distributions

Except as otherwise specifically provided herein or in the Confirmation Order, all Cash required
for the payments to be made hereunder shall be obtained from the Reorganized Debtors, the Exit
Facility, and/or the monetization, by the Reorganized Debtors of their assets, or by the Creditor
Trustee of the Trust Assets.

5.03 Operations Prior to the Effective Date

During the period from entry of the Confirmation Order until the Effective Date, the Debtors may
continue to operate their businesses as debtors in possession, subject to all applicable orders of the
Bankruptcy Court, the Bankruptcy Code, and any limitations set forth herein or in the
Confirmation Order.




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5.04 Issuance of New Custom Golf Stock

On or as soon as practicable after the Effective Date, Reorganized Custom Golf is authorized to
issue or cause to be issued the New Custom Golf Stock in accordance with the terms of this Plan
and the Organizational Documents, without the need for any further corporate action. All of the
New Custom Golf Stock issuable under the Plan when so issued, shall be duly authorized, validly
issued, fully paid, and non-assessable, and deemed not to have been issued in violation of any
preemptive rights, rights of first refusal, or similar rights or any applicable law.

All of the New Custom Golf Stock shall be issued to the Creditor Trust.

Upon issuance, (i) the New Custom Golf Stock shall not be registered under the Securities Act and
shall not be listed for public trading on any securities exchange, and (ii) none of the Reorganized
Debtors will be a reporting company under the Exchange Act. The distribution of New Custom
Golf Stock pursuant to the Plan may be made by delivery of one or more certificates representing
such New Custom Golf Stock as described herein, by means of book-entry registration on the
books of the transfer agent for shares of New Custom Golf Stock or by means of book-entry
exchange through the facilities of a transfer agent satisfactory to the Reorganized Debtors and the
Trustee of the Creditor Trust in accordance with the customary practices of such agent, as and to
the extent practicable.

5.05 Formation of and Issuance of Membership Interests in Op.Co. and Prop.Co.

On or as soon as practicable after the Effective Date, the New CEO, is authorized to form, under
the laws of the State of Texas, the limited liability companies of Op.Co. and Prop.Co., and shall
issue or cause to be issued the Op.Co. Membership Interests and the Prop.Co. Membership
Interests therein, in accordance with the terms of this Plan and the Organizational Documents,
without the need for any further corporate or member action. All of the Op.Co. Membership
Interests and the Prop.Co. Membership Interests, issuable under the Plan when so issued shall be
duly authorized, validly issued, fully paid, and non-assessable, and deemed not to have been issued
in violation of any preemptive rights, rights of first refusal, or similar rights or any applicable law.

In accordance with the Organizational Documents of Op.Co. and Prop.Co., each shall be managed
by a Board of Managers, consisting of the same individuals that constitute the Custom Golf Board.

All of the Op.Co. Membership Interests and the Prop.Co. Membership Interests shall be issued to
the Creditor Trust.

Upon issuance, (i) the Op.Co. Membership Interests and the Prop.Co. Membership Interests shall
not be registered under the Securities Act and shall not be listed for public trading on any securities
exchange, and (ii) none of the Reorganized Debtors will be a reporting company under the
Exchange Act. The distribution of the Op.Co. Membership Interests and the Prop.Co. Membership
Interests pursuant to the Plan may be made by delivery of one or more certificates representing
such Op.Co. Membership Interests and Prop.Co. Membership Interests as described herein, by
means of book-entry registration on the books of the transfer agent for Op.Co. and Prop.Co. or by
means of book-entry exchange through the facilities of a transfer agent satisfactory to the
Reorganized Debtors and the Trustee of the Creditor Trust in accordance with the customary
practices of such agent, as and to the extent practicable.

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5.06 Exemption from Registration

Pursuant to Bankruptcy Code Section 1145, the issuance of any securities under this Plan,
including the New Custom Golf Stock, the Op.Co. Membership Interests and the Prop.Co.
Membership Interests, shall be exempt from, among other things, the registration and prospectus
delivery requirements of Section 5 of the Securities Act, and any other applicable securities laws
under Bankruptcy Code Section 1145, or such other exemption as may be available from any
applicable registration requirements.

5.07 Real Property Title Records

On or as soon as practicable after the Effective Date, the Reorganized Debtors are authorized,
without further order of the Bankruptcy Court, to take all actions as may be necessary or
appropriate to effect any transaction necessary to transfer or record the Real Property Title Records
so that all such Real Property Title Records confirm that the title owner of the Real Property, as
may be subject to Pre-Petition Secured Claims, is Prop.Co.

Pursuant to Bankruptcy Code Section 1146(a), the transfers required effectuating the forgoing
paragraph with respect to the Real Property Title Records may not be taxed under any law
imposing a stamp tax or similar tax, and the Confirmation Order shall direct the appropriate state
or local governmental officials or agents to forego the collection of any such tax or governmental
assessment and to accept for filing and recordation any of the foregoing instruments or other
documents without the payment of any such tax or governmental assessment.

Confirmation of the Plan shall constitute a finding of the Bankruptcy Court that the Real Property
was, as of the First Petition Date, property of one of the Debtors.

5.08 Restructuring Transactions

On or as soon as practicable after the Effective Date, the Reorganized Debtors are authorized,
without further order of the Bankruptcy Court, to take all actions as may be necessary or
appropriate to effect any transaction described in, approved by, contemplated by, or necessary to
effectuate the Restructuring Transactions under and in connection with this Plan and/or the Exit
Facility, including, without limitation: the execution and delivery of all appropriate agreements or
other documents of merger, consolidation, restructuring, conversion, disposition, transfer,
dissolution or liquidation containing terms that are consistent with the terms of this Plan, and that
satisfy the requirements of applicable law and any other terms to which the applicable Entities may
agree, including, without limitation: (a) the Exit Facility; (b) the execution and delivery of
appropriate instruments of transfer, assignment, assumption or delegation of any asset, property,
right, liability, debt, or obligation on terms consistent with the terms of this Plan and having other
terms for which the applicable parties agree; (c) the execution and recordation, as necessary, of
any and all documents necessary to transfer Title Records to all Real Property, to Prop.Co.; (d)
rejection or assumption, as applicable, of executory contracts and unexpired leases; (e) the filing
and/or execution of appropriate limited liability company agreements, certificates or articles of
incorporation or organization, reincorporation, merger, consolidation, conversion or dissolution
pursuant to applicable state law; (f) the issuance of New Custom Golf Stock; (g) the consummation
of the transactions contemplated by the Exit Facility Documentation, and the execution thereof;


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(h) the formation of and the issuance of the Op.Co. Membership Interests and the Prop.Co.
Membership Interests; and (i) all other actions that the Reorganized Debtors determine to be
necessary or appropriate, including making filings or recordings that may be required by applicable
law.

5.09 Exit Facility

On or as soon as practicable after the Effective Date, Op.Co. and Prop.Co. are authorized, without
the need for any further corporate or limited liability company action, to enter into the Exit Facility
and any ancillary documents necessary or appropriate to satisfy the conditions to effectiveness of
the Plan. The Exit Facility may be secured by Liens on, up to and including substantially all of the
assets of Op.Co. and Prop.Co., junior to the Allowed Prepetition Secured Claims, as applicable.

The Exit Facility Documentation shall constitute legal, valid, binding, and authorized obligations
of Op.Co. and Prop.Co., enforceable in accordance with their terms. The financial
accommodations to be extended pursuant to the Exit Facility Documentation shall be deemed to
have been extended, in good faith, for legitimate business purposes, shall not be subject to
avoidance, recharacterization, or subordination (including equitable subordination) for any
purposes whatsoever, and shall not constitute preferential transfers, fraudulent conveyances, or
other voidable transfers under the Bankruptcy Code or any other applicable non-bankruptcy law.
On the Effective Date, all of the Liens and security interests to be granted in accordance with the
Exit Facility Documentation: (a) shall be legal, binding, and enforceable Liens on, and security
interests in, the collateral granted thereunder in accordance with the terms of the Exit Facility
Documentation; (b) shall be deemed automatically perfected on the Effective Date, subject only
to such Liens and security interests as may be permitted under the Exit Facility Documentation;
and (c) shall not be subject to avoidance, recharacterization, or subordination (including equitable
subordination) for any purposes whatsoever and shall not constitute preferential transfers,
fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any applicable
non-bankruptcy law. Op.Co. and Prop.Co. and the Persons or Entities granting such Liens and
security interests are authorized to make all filings and recordings, and to obtain all governmental
approvals and consents necessary to establish and perfect, or to evidence the perfection of, such
Liens and security interests under the provisions of the applicable state, provincial, federal, or other
law that would be applicable in the absence of the Plan and the Confirmation Order (it being
understood that perfection shall occur automatically by virtue of the entry of the Confirmation
Order, and any such filings, recordings, approvals, and consents shall not be required), and will
thereafter cooperate to make all other filings and recordings that otherwise would be necessary
under applicable law to give notice of such Liens and security interests to third parties. To the
extent that any holder of a Secured Claim that has been satisfied or discharged in full pursuant to
the Plan, or any agent for such holder, has filed or recorded publicly any Liens and/or security
interests to secure such holder’s Secured Claim, then as soon as practicable on or after the Effective
Date such holder (or the agent for such holder) shall take any and all steps requested by the Debtors
or the Reorganized Debtors that are necessary to cancel and/or extinguish such Liens and/or
security interests.




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5.10 Cancellation of Certain Indebtedness, Agreements, and Existing Securities

On or as soon as practicable after the Effective Date, except for the purposes of evidencing a right
to a distribution under this Plan, and except as otherwise specifically provided for in the Plan: (a)
the Convertible Notes; (b) the Investor Claims; (c) the Pro Rata Notes; (d) the Custom Golf
Guaranty; (e) the Custom Golf Interests; (f) the LLC Interests, other than the WGP Interests; (g)
all membership interests or stock interests, including warrants and any certificate or other
instrument or document directly or indirectly evidencing, convertible into, or creating any
warrants, membership interest, stock or other Interest in any of the Debtors as of immediately prior
to the Effective Date; (h) all registration rights, preemptive rights, rights of first refusal, rights of
first offer, co-sale rights, and other investor rights governing or relating to any of the indebtedness,
obligations, membership interests, stock or other items described in any of clauses (a) or (g) above;
and (i) all obligations and liabilities arising under, related to, or in connection with, any of the
items described in any of clauses (a)-(h) above, in any such case, shall be deemed automatically
extinguished, cancelled and of no further force and effect, without any further act, or action under
any applicable agreement, law, regulation, order or rule, and the Debtors and the Reorganized
Debtors shall not have any continuing obligations thereunder or with respect thereto; and the
obligations of any of the Debtors and the Reorganized Debtors pursuant, relating, or pertaining to
any agreements, indentures, purchase agreements, certificates of incorporation, certificates of
formation, by-laws, limited liability company agreements or similar documents governing or
evidencing any of the items described in clauses (a)-(i) above shall be released and discharged;
and the holder of or parties to, or beneficiaries of, any of the items described in clauses (a)-(i)
above, will have no rights arising from or relating to, and will not be entitled to the benefits of,
any such items or the cancellation thereof, except the rights expressly provided for pursuant to this
Plan. For the avoidance of doubt, nothing in this Section 5.10 shall affect the discharge of or result
in any obligation, liability, or expense of the Debtors or the Reorganized Debtors, or affect the
discharge of Claims or Interests pursuant to the Bankruptcy Code, the Confirmation Order, or the
Plan, or result in any additional obligation, expense, or liability of the Debtors or the Reorganized
Debtors; provided, further, that nothing in this Section 5.10 shall effect a cancellation of any New
Custom Golf Stock, Op.Co. Membership Interests, or the Prop.Co. Membership Interests.

Upon the payment or other satisfaction of an Allowed Other Secured Claim, the Holder of such
Allowed Other Secured Claim shall deliver to the Reorganized Debtors any collateral or other
property of the Debtors held by such Holder, and any termination statements, instruments of
satisfactions, or releases of all security interests with respect to its Allowed Other Secured Claim
that may be required in order to terminate any related financing statements, mortgages, mechanic’s
liens or lis pendens.




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5.11 Intercompany Claims, Custom Golf Guaranty, and Other Guaranty Claims

On or as soon as practicable after the Effective Date: (a) all Intercompany Claims; (b) all
Intercompany Interests; (c) the Custom Golf Guaranty; and (d) any and all Guaranty Claims shall
be deemed automatically extinguished, cancelled, and of no further force and effect without any
further act or action under any applicable agreement, law, regulation, order or rule, and the Debtors
and the Reorganized Debtors shall not have any continuing obligations thereunder or with respect
thereto. The obligations of any of the Debtors and the Reorganized Debtors pursuant, relating, or
pertaining to any agreements, indentures, purchase agreements, certificates of incorporation,
certificates of formation, by-laws, limited liability company agreements or similar documents
governing, or evidencing any of the items described in clauses (a)-(d) above shall be released and
discharged. The holder of, parties to, or beneficiaries of, any of the items described in clauses (a)-
(d) above, will have no rights arising from or relating to, and will not be entitled to the benefits of,
any such items or the cancellation thereof, except the rights expressly provided for pursuant to this
Plan.

5.12 Dissolution of LLCs and Westwind, Continued Corporate Existence, and Vesting of
     Assets

The LLCs, other than WGP, and Westwind, shall be deemed dissolved for all purposes as and
subject to the occurrence of the Effective Date without the necessity of any other or further actions
to be taken by or on behalf of the Debtors or payments to be made in connection therewith;
provided, however, that the LLCs, other than WGP, and Westwind, will file with the Office of the
Secretary of State for their state of formation a certificate of dissolution which may be executed
by the New CEO, or the Creditor Trustee, without the need for further order of the Bankruptcy
Court or approval of the Members of the LLCs. From and after the Effective Date, the LLCs, other
than WGP, and Westwind, shall not be required to file any document, or take any other action, to
withdraw the LLCs business operations from any states in which they previously conducted
business. All property of LLCs and Westwind, to be retained under the Plan shall be transferred
on the Effective Date, without the necessity of any other or further action, to Op.Co., Prop.Co., or
Reorganized Custom Golf, as determined by the Creditor Trustee. Not by limitation, but for
clarity, and as to be provided in, inter alia, the Operating Documents, on and after the Effective
Date: (i) all of the title to all Real Property, and personal property of the LLCs and Westwind, will
be in the name of Prop.Co.; (ii) Op.Co. shall manage the operations of the Real Property, and the
personal property held by Prop.Co., and will be the counter party to all Assumed Executory
Contracts in connection with the operations of the Real Property; (iii) Custom Golf will own and
operate the golf club manufacturing and sales business; and (iv) all assets of Westwind and the
Nocona Note will be transferred to Prop.Co..

Except as otherwise provided herein, Custom Golf, Op.Co. and Prop.Co., will, as the Reorganized
Debtors, continue to exist after the Effective Date as separate legal entities, with all of the powers
of such legal entity, in accordance with the applicable laws of the respective jurisdictions in which
they are incorporated or organized and pursuant to such Reorganized Debtors’ Organizational
Documents and without prejudice to any right to alter or terminate such existence (whether by
merger, dissolution or otherwise) under applicable law. On or after the Effective Date, each
Reorganized Debtor, in its sole and exclusive discretion, may take such action as permitted by
applicable law and such Reorganized Debtors’ Organizational Documents, as such Reorganized

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Debtor may determine is reasonable and appropriate, including, causing: (i) a Reorganized Debtor
to be merged into another Reorganized Debtor, or its subsidiary and/or Affiliate; (ii) a Reorganized
Debtor to be dissolved; (iii) the legal name of a Reorganized Debtor to be changed; (iv) any
Reorganized Debtor to transfer any of its assets to a wholly owned and newly created subsidiary;
(v) a Reorganized Debtor to reorganize under the laws of another jurisdiction; or (vi) the closure
of a Reorganized Debtors’ case on the Effective Date or any time thereafter.

Except as otherwise provided herein, on the Effective Date, all property of each Debtor’s Estate,
including any property held or acquired by each Debtor or Reorganized Debtor under the Plan or
otherwise, will vest in such Reorganized Debtors free and clear of all Claims, Liens, charges, other
encumbrances, Interests, and other equity interests, except for the Liens and Claims established
under the Plan or Liens and Claims that continue; provided that nothing in this Section 5 shall
limit the ability under the Bankruptcy Code of any party-in-interest to object to any Claim prior to
the Claims Objection Deadline unless otherwise ordered by the Bankruptcy Court.

On and after the Effective Date, each Reorganized Debtor may operate its business and may use,
acquire, and dispose of property and maintain, prosecute, abandon, compromise, settle or
otherwise dispose any Causes of Action, motions, adversary proceedings, or other proceedings
commenced prior to or subsequent to the Effective Date, (other than the Assigned Estate Claims)
without supervision or approval by the Court and free of any restrictions of the Bankruptcy Code
or Bankruptcy Rules, subject only to those restrictions expressly imposed by the Plan or the
Confirmation Order as well as the documents and instruments executed and delivered in
connection therewith, including the documents, exhibits, instruments, and other materials
comprising the Plan Supplement. Without limiting the foregoing, the Reorganized Debtors may
pay the charges that they incur from and after the Effective Date for disbursements, expenses, or
related support services (including fees relating to the preparation of Professional fee applications)
without application to, or the approval of, the Bankruptcy Court.

5.13 Retention and Assignment of Causes of Action

As of the Effective Date, all Causes of Action, except the Assigned Estate Claims, shall vest
exclusively in the Reorganized Debtors. Notwithstanding the forgoing, the Reorganized Debtors
may, without further order of the Bankruptcy Court, assign, in any fashion, any Cause of Action
to the Creditor Trust, in which event the Creditor Trust shall be vested with full title to such Cause
of Action, as if it was an Assigned Estate Claim, as of the Effective Date.

As of the Effective Date, all Assigned Estate Claims shall vest exclusively in the Creditor Trust.

As of the Effective Date all of Direct Causes of Action (save for those owned by LLC Investors
or Convertible Noteholders that have properly exercised the Direct Opt Out Right), and the WGP
Causes of Actions (save for those owned by WGP Investors that have properly exercised the WGP
Opt Out Right) shall vest exclusively in the Creditor Trust.

5.14 Preservation of Causes of Action

In accordance with Bankruptcy Code Section 1123(b), and except as expressly provided in Section
13 herein, the Reorganized Debtors shall retain all Causes of Action (other than the Assigned
Estate Claims, which shall vest in and be retained by the Creditor Trust), if any, of the Debtors,

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including, those provided in the Plan Supplement. Nothing contained in this Plan or the
Confirmation Order shall be deemed a waiver or relinquishment of any claim, Cause of Action,
Avoidance Action, right of setoff, or other legal, equitable, or remedial defense of any Debtor that
is not specifically waived or relinquished by this Plan. The Reorganized Debtors, and, with respect
to the Assigned Estate Claims, the Creditor Trustee shall have, retain, reserve, and be entitled to
assert, all such claims, Causes of Action, rights of setoff, and other legal or equitable defenses that
any Debtor had immediately before the Effective Date as fully as if these Chapter 11 Cases had
not been commenced, and all of the Reorganized Debtors’ legal and equitable rights respecting
any claim that are not specifically waived or relinquished by this Plan may be asserted by any of
the Reorganized Debtors or the Creditor Trust (with respect to the Assigned Estate Claims) after
the Effective Date to the same extent as if these Chapter 11 Cases had not been commenced. No
Person may rely on the absence of a specific reference in the Plan or the Disclosure Statement to
any Cause of Action against them as any indication that the Debtors, the Reorganized Debtors, or
Creditor Trustee, as applicable, will not pursue any and all available Causes of Action against such
Person. The Debtors, the Reorganized Debtors, or the Creditor Trustee, as applicable, expressly
reserve all rights to prosecute any and all Causes of Action, motion, adversary proceeding or other
proceeding, commenced prior to or after the Effective Date, against any Person, subject to the
terms of the Plan. From and after the Effective Date, the Reorganized Debtors and, with respect to
the Assigned Estate Actions, the Creditor Trustee, shall have the exclusive right, authority, and
discretion to determine and to initiate, file, prosecute, enforce, abandon, settle, compromise,
release, withdraw, or litigate to judgment any Cause of Action and to decline to do any of the
foregoing without further notice to or action, order, or approval of the Court. The Reorganized
Debtors, and the Creditor Trustee, are each deemed representatives of the Estates for the purpose
of prosecuting any claim, Cause of Action, Avoidance Action, and any objections to Claims, if
any, pursuant to 11 U.S.C. Section 1123(b)(3)(B).

5.15 Creditor Trust

        (1)     Purpose. The Creditor Trust shall be established pursuant to this Plan and become
effective for the benefit of the Creditor Trust Beneficiaries on the Effective Date for the primary
purpose of (a) pursuing the Assigned Estate Claims, (b) maximizing the value of and monetizing
Reorganized Custom Golf’s equity, (c) maximizing the value of and monetizing the Real Property
and personal property held by Prop.Co., and (d) distributing the net proceeds of (a), (b) and (c) to
the Creditor Trust Beneficiaries pursuant to this Plan and the Creditor Trust Agreement with no
objective to continue or engage in the conduct of a trade or business.

         (2)     Governance. All Creditor Trust governance issues shall be determined by the
Committee and the Debtors, and be included in the Creditor Trust Agreement, to be included in
the Plan Supplement. The Plan and the Creditor Trust Agreement shall govern the management
and administration of the Creditor Trust and the respective rights, powers, and obligations of the
Creditor Trustee and the Creditor Trust Beneficiaries, including the Creditor Trustee’s power to
take the reasonable actions necessary or appropriate to fulfill the purpose of the Plan, including (a)
filing, prosecuting, settling, or otherwise resolving any objection to Investor Claims, Convertible
Note Claims or Claims of Excluded Parties, as set forth in the Creditor Trust Agreement; (b)
retaining and paying professionals as necessary to fulfill its duties under the Plan; (c) evaluating,
filing, litigating, settling, or otherwise pursuing any Assigned Estate Claims; (d) abandoning any
property of the Creditor Trust that cannot be monetized, sold, or distributed economically; (e)

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making interim and final distributions of the Creditor Trust Assets; (f) winding up the affairs of
the Creditor Trust and dissolving it under applicable law; and (g) such other responsibilities as
may be vested in the Creditor Trustee pursuant to the Plan, the Creditor Trust Agreement or a
Bankruptcy Court order as may be necessary and proper to carry out the provisions of the Creditor
Trust Agreement, but only to the extent consistent with this Plan. The Creditor Trust Agreement
will be binding on all Creditor Trust Beneficiaries who shall be deemed to have executed the
Creditor Trust Agreement as of the Effective Date.

        (3)     Trust Assets. On the Effective Date, the Creditor Trust Assets will be absolutely
transferred and assigned to the Creditor Trust free and clear of all Liens, encumbrances, or interests
of any kind. The Creditor Trustee, in the exercise of its reasonable discretion and in accordance
with the Creditor Trust Agreement, shall not be obligated to pursue any Assigned Estate Claims.
On, or as soon as practical after the Effective Date, the Reorganized Debtors, shall collectively,
transfer to the Creditor Trust, the Trust Contribution Funds.

        (4)     Right to Enforce & Pursue. In accordance with Bankruptcy Code Section
1123(b), the Creditor Trust shall retain and may enforce all of the Debtors’ rights to commence
and pursue, as appropriate, any and all of the Assigned Estate Claims, and the Creditor Trust’s
rights to commence, prosecute, or settle such Assigned Estate Claims shall be preserved
notwithstanding the occurrence of the Effective Date. The Creditor Trust may pursue such
Assigned Estate Claims, as appropriate, in accordance with the Creditor Trust Agreement. No
Entity may rely on the absence of a specific reference in the Plan, the Plan Supplement, or the
Disclosure Statement to any Assigned Estate Claim as any indication that the Creditor Trust does
not hold or will not pursue any and all Assigned Estate Claims. The Creditor Trust expressly
reserves all rights to prosecute any and all such Assigned Estate Claims against any Entity.

        (5)     Cooperation among Reorganized Debtors and Creditor Trust.                           The
Reorganized Debtors shall provide reasonable and timely cooperation to effectuate the provisions
of the Plan as the Creditor Trustee might otherwise reasonably request. To the extent necessary for
the Creditor Trustee to act in accordance with the terms of the Plan and Creditor Trust Agreement,
all privileges shall be extended to the Creditor Trustee or shall remain with the Reorganized
Debtors, as applicable, without waiver or release. The Creditor Trustee shall be the beneficiary of
all privileges and be entitled to assert all privileges but only to the extent such privileges relate to
the Assigned Estate Claims. No privilege shall be waived by disclosure to the Creditor Trustee of
the Debtors’ documents, information, or communications subject to attorney-client privileges,
work product protections, or immunities or protections from disclosure held by the any of the
Debtors, whether collectively or individually. For the avoidance of doubt, the Creditor Trustee
shall not have any rights or ability to waive any privilege of the Reorganized Debtors, either
intentionally or inadvertently. In any and all litigation pursued by the Creditor Trust, the Creditor
Trust and the Creditor Trustee shall be presumed to hold authentic documents, to the extent such
documents are received from the Debtors or the Reorganized Debtors.

         (6)     Creditor Trustee and Professionals. As of the Effective Date and thereafter, and
to the fullest extent permitted by applicable law, the Creditor Trustee and its professionals, acting
in such capacity, shall not have, nor incur any liability for, any claim, cause of action, or other
liability solely for any act taken or omitted in connection with, related to, or arising out of the
performance of any act, duty, responsibility, or omission arising under the Plan; provided,

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however, that the foregoing shall not affect the liability of the Creditor Trustee or its professionals
that otherwise would result from any act or omission, to the extent that such act or omission is
determined by a Final Order to have constituted actual fraud, willful misconduct, or gross
negligence.

        (7)     Tax Structure. The Creditor Trust shall be structured to qualify as a “liquidating
trust” within the meaning of Treasury Regulations Section 301.7701-4(d) and in compliance with
Revenue Procedure 94-45, 1994-2 C.B. 684, and, thus, as a “grantor trust” within the meaning of
Sections 671 through 679 of the Tax Code to the holders of General Unsecured Claims, Investment
Claims and/or Convertible Note Claims, consistent with the terms of the Plan; provided, however,
that the Creditor Trustee shall elect under Treasury Regulations Section 1.468B-9(c)(2)(ii) to treat
the Creditor Trust Disputed Claims Reserve as a “disputed ownership fund.” Accordingly, other
than the portion of the Creditor Trust Assets comprising the Creditor Trust Disputed Claims
Reserve, holders of Allowed Investment Claims, Allowed Convertible Note Claims and/or
Allowed General Unsecured Claims, shall be treated for U.S. federal income tax purposes, (i) as
direct recipients of an undivided interest in the assets transferred to the Creditor Trust and as having
immediately contributed such assets to the Creditor Trust, and (ii) thereafter, as the grantors and
deemed owners of the Creditor Trust, and thus, the direct owners of an undivided interest in the
assets held by the Creditor Trust. All parties (including the Creditor Trustee and holders of
Allowed Investment Claims, Allowed Convertible Note Claims and Allowed General Unsecured
Claims) shall report consistent with the valuation of the assets transferred to the Creditor Trust as
established by the Reorganized Debtors or their designee. The Creditor Trustee shall be
responsible for filing information on behalf of the Creditor Trust as grantor trust pursuant to
Treasury Regulation Section 1.671-4(a) or as a disputed ownership fund (as applicable).

        (8)    No Transfer of Interests in Creditor Trust. The beneficial interests in the
Creditor Trust shall not be transferable or assignable except by will, intestate, succession, court
order, or operation of law; provided, however, that a holder of such interests may abandon or
otherwise transfer such interests back to the Creditor Trust in its sole discretion.

5.16 Distributions to Creditor Trust Beneficiaries

As more fully provided in the Organizational Documents, each Reorganized Debtor shall make
distributions of excess funds that such Reorganized Debtor’s relevant governing body have
determined are distributable to its equity holder (the Creditor Trust) pursuant to its Organizational
Documents. As more fully provided in the Creditor Trust Agreement, to be filed as part of the Plan
Supplement, distributions by the Creditor Trustee, from the Creditor Trust Assets, shall be made
to the Creditor Trust Beneficiaries (distributions to Holders of Allowed Priority Tax Claims are as
provided in Section 4.01), as follows:

        (a)   Holders of Class A Interests shall receive, on a pro rata basis, an aggregate amount
equal to 10% of the Determined Distribution Amount (the “Class A Distribution Amount”), until
such Holders have received 100% of the amount of the Allowed Class 4 Claims, without interest;

        (b)     Holders of Class B Interests and Class C Interests shall share, on a pro rata basis,
in the Distributions of the Determined Distribution Amount, less the Class A Distribution Amount.
As a consequence, the Holders of Class B Interests and Class C Interests shall share 90% of


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Deemed Distribution Amount on a pro rata basis, until Class A Interests have received 100% of
the amount of the Allowed Class 4 Claims, without interest, at which point they shall share 100%
of the Deemed Distribution Amount on a pro rata basis;

        (c)    The Creditor Trustee shall make provision for payment of the Holders of Allowed
Priority Tax Claims (other than Priority Tax Claims arising pursuant to Bankruptcy Code Section
507(a)(8)(B)), before its calculation of the Determined Distribution Amount, such that the
treatment of Holders of Allowed Priority Tax Claims is reasonably anticipated.

5.17 Claims Incurred After the Effective Date

Claims incurred by the Debtors after the Effective Date may be paid by the Reorganized Debtors
in the ordinary course of business and without application for or Court approval, subject to any
agreements with such Holders of a Claim and applicable law.

5.18 Corporate Action

Each of the matters provided for by the Plan involving the corporate or limited liability company
structure of the Debtors or the Reorganized Debtors, and any action under the Plan to be taken by
of required or the Debtors or of the Reorganized Debtors, whether taken prior to or as of the
Effective Date, including, without limitation: (a) the adoption and filing of the Organizational
Documents for each of the Reorganized Debtors; (b) the authorization, issuance, and distribution
of New Custom Golf Stock, the Op.Co. Membership Interests, and the Prop.Co. Membership
Interests, and any other securities and instruments; (c) the adoption, assumption, assignment, or
rejection, as applicable, of executory contracts; (d) the selection of officers or directors/managers;
and (e) the entry into the Exit Facility, and the execution and delivery of the Exit Facility
Documentation with respect thereto, and implementation of the Restructuring Transactions shall
each be authorized and approved in all respects, without any requirement of further action by any
of the Debtors’ or Reorganized Debtors’ boards of directors or managers, as applicable, or security
holders.

The Debtors, the Reorganized Debtors, and the Disbursing Agent, as applicable, shall be
authorized to execute, deliver, file, and record such documents (including the Plan Documents),
contracts, instruments, releases and other agreements and take such other action as may be
necessary to effectuate and further evidence the terms and conditions of the Plan without the
necessity of any further Bankruptcy Court, corporate, board, or security holder approval or action.
In addition, the selection of the Persons who will serve as the initial directors, officers and
managers of the Reorganized Debtors as of the Effective Date shall be deemed to have occurred
and be effective on and after the Effective Date without any requirement of further action by the
Debtors’ board of directors, board of managers, or stockholders of the applicable Debtor or
Reorganized Debtor.

The authorizations and approvals contemplated by this Section 5.18 shall be effective
notwithstanding any requirements under non-bankruptcy law.




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5.19 Organizational Documents

On the Effective Date, the Organizational Documents of the Reorganized Debtors shall be deemed,
acceptable for filing with appropriate state authorities, as necessary, and, as applicable amended
and restated in substantially the forms set forth in the Plan Supplement, without any further action
by the directors, stockholders or members of the Debtors or the Reorganized Debtors. The
amended and restated Organizational Documents will, among other things, contain appropriate
provisions prohibiting the issuance of nonvoting equity securities to the extent required by
Bankruptcy Code Section 1123(a)(6). On the Effective Date, or as soon as practicable thereafter,
the Debtors or the Reorganized Debtors will, if required by applicable state law, file with the
Secretary of State of the appropriate jurisdiction the new, amended and restated Organizational
Documents. After the Effective Date, the Reorganized Debtors may amend and/or restate their
respective Organizational Documents and other constituent documents as permitted by the laws of
their respective states of formation and their respective Organizational Documents.

5.20 Board of Directors / Managers of Reorganized Debtors

On the Effective Date, each of the Reorganized Debtors shall be managed by and under the
direction of the Custom Golf Board, as may be constituted from time to time pursuant to the
Organizational Documents of each of the Reorganized Debtors and applicable non-bankruptcy
law. The Custom Golf Board shall have full power and authority to manage the business and
affairs of the respective Reorganized Debtors.

5.21 Effectuating Documents

The chairman of the board of directors, president, chief financial officer, manager, or any other
appropriate officer of the Debtors or, after the Effective Date, the Reorganized Debtors shall be
authorized to execute, deliver, file, or record such contracts, instruments, releases, indentures, and
other agreements or documents, and take such actions as may be necessary or appropriate to
effectuate and further evidence the terms and conditions of this Plan. The secretary of the Debtors,
or, after the Effective Date, of the Reorganized Debtors shall be authorized to certify or attest to
any of the foregoing actions.

5.22 Exemption from Certain Transfer Taxes

Pursuant to Bankruptcy Code Section 1146(a), the issuance, transfer, or exchange of a security
(including the New Custom Golf Stock, the Op.Co. Membership Interests, and the Prop.Co.
Membership Interests), or the making or delivery of an instrument of transfer, including any
transfers effected under this Plan (including the transfer of the Real Property Title Records), from
the Debtors to the Reorganized Debtors or any other Person or Entity pursuant to this Plan, as
applicable, may not be taxed under any law imposing a stamp tax or similar tax, and the
Confirmation Order shall direct the appropriate state or local governmental officials or agents to
forego the collection of any such tax or governmental assessment and to accept for filing and
recordation any of the foregoing instruments or other documents without the payment of any such
tax or governmental assessment.




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5.23 Dissolution of Committee

The Committee shall be automatically dissolved on the Effective Date and, on or as soon as
practicable after the Effective Date, each member (including each officer, director, employee or
agent thereof) of the Committee and each Committee Professional shall be released and discharged
from all rights, duties, responsibilities and obligations arising from, or related to, the Debtors, their
membership on the Committee, the Plan or these Chapter 11 Cases, except with respect to any
matters concerning any Administrative Expense Claims held or asserted by a Committee
Professional or Committee Member.

5.24 Withholding and Reporting Requirements

In connection with the Plan and all instruments issued in connection therewith and distributions
thereon, the Reorganized Debtors, the Disbursing Agent, and the Creditor Trustee, as applicable,
shall comply with all withholding and reporting requirements imposed by any United States
federal, state, local, or non-U.S. taxing authority and all distributions hereunder shall be subject to
any such withholding and reporting requirements. Notwithstanding any provision in the Plan to
the contrary, the Reorganized Debtors, the Disbursing Agent, and the Creditor Trustee, as
applicable, shall be authorized to take all actions necessary or appropriate to comply with such
withholding and reporting requirements, including liquidating a portion of the distributions to be
made under the Plan to generate sufficient funds to pay applicable withholding taxes and
withholding distributions pending receipt of information necessary or appropriate to facilitate such
distributions.

With respect to any Person from whom a tax identification number, certified tax identification
number or other tax information required by law has not been received by the Reorganized
Debtors, the Disbursing Agent or the Creditor Trustee, as applicable, within thirty (30) calendar
days from the date of a request for the same (the “Initial Request”), the Reorganized Debtors, the
Disbursing Agent, or the Creditor Trustee, as applicable, may, at its option, withhold the amount
required to such Person and decline to make such distribution until the information is received.
Failure of any Person to provide the information requested within six months of the Initial Request
shall result in the forfeit of the affected distribution and the treatment of said distribution as
Unclaimed Property, pursuant to Section 7.03.

5.25 Determination of Tax Filings and Taxes

For all taxable periods ending on or prior to, or including, the Effective Date, the Debtors and/or
the Reorganized Debtors, shall prepare and file (or cause to be prepared and filed) on behalf of the
Debtors all consolidated and or separate tax returns, reports, certificates, forms or similar
statements or documents of the Debtors otherwise deems appropriate, including the filing of
amended tax returns or requests for refunds.

The Reorganized Debtors, individually and/or collectively, are hereby appointed, pursuant to
Bankruptcy Code Section 1123(b)(3)(B), to handle tax matters, including without limitation, the
filing of all tax returns, and the handling of tax audits and proceedings, of the Debtors and the
Reorganized Debtors. Without limiting the generality of the foregoing, if deemed necessary by a
Debtor or a Reorganized Debtor, a Debtor or Reorganized Debtor shall (i) promptly execute or


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cause to be executed and filed any tax returns or other tax filings, and (ii) shall execute on or prior
to the Effective Date a power of attorney authorizing one or more Reorganized Debtors to
correspond, sign, collect, negotiate, settle and administer tax payments and tax returns for any
Debtor or any Reorganized Debtor.

Each of the Debtors shall cooperate fully with each other regarding the implementation of this
Section 5.25 (including the execution of appropriate powers of attorney) and shall make available
to the other as reasonably requested all information, records and documents relating to taxes
governed by this Section 5.25 until the expiration of the applicable statute of limitations or
extension thereof or at the conclusion of all audits, appeals or litigation with respect to such taxes.

The Debtors and/or the Reorganized Debtors shall have the right to request an expedited
determination of the tax liability, if any, of the Debtors and/or the Reorganized Debtors under
Bankruptcy Code Section 505(b) with respect to any tax returns filed, or to be filed, for any and
all taxable periods ending after the Commencement Date through the Effective Date.

If a Debtor and/or a Reorganized Debtor receives a written notice from a taxing authority of any
pending examination, claim, settlement, proposed adjustment or related matters with respect to
taxes, it shall promptly notify the Reorganized Debtors in writing. The Reorganized Debtors shall
have the sole right, at their expense, to control, conduct, compromise and settle any tax contest,
audit or administrative or court proceeding relating to any liability for taxes of any of the Debtors
and/or any of the Reorganized Debtors. With respect to any such proceeding and with respect to
the preparation and filing of any tax returns of the Debtors, the Reorganized Debtors may act in
their own self-interest and in the interest of their subsidiaries and affiliates, without regard to any
adverse consequences to a Debtor.

To the extent permitted by law, the Debtors shall designate the Reorganized Debtors, or any one
of them, as the “substitute agent” (within the meaning of Treasury Regulation Section 1.1502-77)
for any of the Debtors in accordance with Treasury Regulation Section 1.1502-77, as amended or
supplemented, and any comparable provision under state or local law, with respect to all taxable
periods ending on or before, or including, the Effective Date.

The Reorganized Debtors shall be entitled to the entire amount of any refunds and credits
(including interest thereon) with respect to or otherwise relating to any taxes of the any of the
Debtors, including for any taxable period ending on or prior to, or including, the Effective Date.

                                    SECTION 6
                    PLAN SETTLEMENT & CONSOLIDATED TREATMENT

As more fully provided in Section 13.01, the Plan is being proposed as a joint plan of
reorganization for all of the Debtors. On the Effective Date only one Debtor, Custom Golf, as
Reorganized Custom Golf will survive, all other Debtors will be dissolved. On the Effective Date,
or as soon as practical thereafter, Op.Co. and Prop.Co. will have been formed and will hold all of
the assets of the LLCs and of Westwind. Based on the foregoing, three entities will exist:
Reorganized Custom Golf, Op.Co., and Prop.Co.. Reorganized Custom Golf will generally own
and operate the custom golf club manufacturing and sales business; Op.Co. will operate the golf



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course business; and Prop.Co. will own, market and sell the Real Property and related personal
property, as deemed financial appropriate.

This Plan constitutes a compromise and settlement pursuant to Bankruptcy Rule 9019, with respect
to all Claims against the Debtors and Interests in the Debtors, except to the extent of: (i) Direct
Causes of Action assigned to the Creditor Trust, pursuant to the Direct Causes of Action
Assignment; and (ii) WGP Causes of Action assigned to the Creditor Trust, pursuant to the WGP
Causes of Action Assignment. The Plan compromises provide for the assignment of Direct Causes
of Action and WGP Causes of Auction to the Creditor Trust but does not effect a release of either
Direct Causes of Action or WGP Causes of Action against any Debtor or any third party. The
effect of the compromise and settlement is that all Allowed Claims will share in a waterfall formula
of the assets of all of the Debtors, and, to effectuate such sharing (a) all Real Property and personal
property of the LLCs will be titled in the name of Prop.Co.; (b) all Assumed Executory Contracts
and post-petition contracts of the LLCs will be titled in the name of Op.Co.; (c) all assets of Custom
Golf will remain with Reorganized Custom Golf; (d) all guarantees of the Debtors of the
obligations of any of the Debtors and any joint and several liability of any of the Debtors shall be
eliminated; (e) each and every Claim of a Debtor held against another Debtor shall be deemed
released, canceled, and terminated; and (d) each and every Claim and Interest against any Debtor
shall be deemed filed against the consolidated Debtors and all Claims filed against more than one
Debtor for the same liability shall be deemed one Claim against any obligation of the consolidated
Debtors.

For avoidance of doubt, and notwithstanding anything to the contrary herein, all Assigned Estate
Claims are preserved as they existed immediately before the Effective Date. All Causes of Action
shall be accounted for on a consolidated basis. The deemed consolidation under this Plan shall not
affect or impair any valid, perfected and unavoidable Lien to which the assets of any Debtors are
subject in the absence of deemed consolidation under this Plan; provided, however, the deemed
consolidation shall not cause any such Lien to secure any of Allowed Claims or Allowed Interests
who assert identical Claims against or Interest in multiple Debtors shall be entitled to only a single
satisfaction of such Claims or Interests.

The Disclosure Statement and the motion seeking confirmation of the Plan shall contain support
for the Plan Settlement embodied in the Plan.

                                   SECTION 7
                 PROVISIONS GOVERNING DISTRIBUTIONS GENERALLY

7.01 Disbursing Agent

Except as otherwise provided herein, all distributions under the Plan, including the distribution of
the New Custom Golf Stock, the Op.Co. Membership Interests, and the Prop.Co. Membership
Interests, shall be made by the Reorganized Debtors and/or the Disbursing Agent on the Effective
Date or as soon as practicable thereafter. Distributions to the Creditor Trust Beneficiaries shall be
made by the Creditor Trustee and/or the Disbursing Agent. To the extent the Disbursing Agent is
the Reorganized Debtors or the Creditor Trustee or any affiliates thereof, the Disbursing Agent
shall not be required to give any bond or surety or other security for the performance of its duties
unless otherwise ordered by the Bankruptcy Court.


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7.02 Method of Cash Distributions

Any Cash payment to be made pursuant to this Plan may be made by Cash, draft, check, wire
transfer, or as otherwise required or provided in any relevant agreement or applicable law at the
option of and in the sole discretion of the Debtors, the Reorganized Debtors or the Creditor Trustee,
as applicable.

7.03 Delivery of Distributions

Plan Distributions shall be made at the Holder’s last known address or at the address in any written
notice of address change issued by a Holder. Any notice of an address change of a Holder of a
Claim, other than an Investor Claim or a Convertible Note Claim, must be made, in writing, to the
Reorganized Debtors. Any notice of an address change of Holder of an Investor Claim or a
Convertible Note Claim must be made, in writing, to the Creditor Trustee. If any Holder’s Plan
Distribution is returned as undeliverable, no further Plan Distributions to such Holder shall be
made, unless and until the either the Reorganized Debtors or the Creditor Trustee, as applicable,
is notified, in writing, of such Holder’s then current address, at which time all missed Plan
Distributions shall be made to such Holder without interest. Amounts in respect of undeliverable
Plan Distributions made through the Disbursing Agent shall be returned to the Reorganized
Debtors or Creditor Trustee, as applicable, until such Plan Distributions are claimed. All claims
for undeliverable Plan Distributions must be made on or before the first anniversary of the
Effective Date, after which date all Cash in respect of such forfeited Plan Distributions, including
interest accrued thereon (the “Unclaimed Property”), if any, shall revert to the Reorganized
Debtors, provided, however, that all Unclaimed distributions in respect of Creditor Trust Assets
shall be returned to the Creditor Trust to be distributed in accordance with the terms of the Creditor
Trust Agreement.

7.04 Failure to Negotiate Checks

Checks issued in respect of distributions under this Plan shall be null and void if not negotiated
within sixty (60) calendar days after the date of issuance. The Disbursing Agent shall hold any
amounts returned in respect of such non-negotiated checks. The Holder of an Allowed Claim with
respect to which such check originally was issued shall make requests, in writing, for reissuance
for any such check directly to the Disbursing Agent. All amounts represented by any voided check
will be held until the later of one (1) year after (x) the Effective Date or (y) the date that a particular
Claim is Allowed by Final Order, and all requests for reissuance by the Holder of the Allowed
Claim in respect of a voided check are required to be made before such date. Thereafter, all such
amounts shall be deemed to be Unclaimed Property, and all Claims in respect of void checks and
the underlying distributions shall be forever barred, estopped and enjoined from assertion in any
manner against the Reorganized Debtors, Creditor Trust and the Disbursing Agent, as applicable.

7.05 Allocation of Payments

In the case of distributions with respect to holders of Claims, the amount of any Cash and the fair
market value of any other consideration received by the holder of such Claim will be allocable
first to the principal amount of such Claim (as determined for federal income tax purposes) and
then, to the extent of any excess, the remainder of the Claim.


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7.06 De Minimis Distributions

At the election of the Trustee, no interim distributions of Cash from the Creditor Trust of less than
twenty-five ($25.00) dollars shall be made to the Holder of any Claim on account of its Allowed
Claim.

7.07 Setoffs

Except for any Claim that is Allowed in an amount set forth in this Plan, the Debtors, the
Reorganized Debtors, or Creditor Trustee may, but shall not be required to, set off against any
Claims and the payments or distributions to be made pursuant to this Plan in respect of such
Claims, any and all debts, liabilities and claims of every type and nature whatsoever that the
Debtors may have against the Holder of any such Claim. If the Debtors or Creditor Trustee do not
setoff their claims, no waiver or release by the Debtors of any such claims shall be deemed to have
occurred, and all such claims shall be reserved for and retained by the Reorganized Debtors,
subject to the terms of the Plan.

                           SECTION 8
  EXECUTORY CONTRACTS, UNEXPIRED LEASES, AND OTHER AGREEMENTS

8.01 Assumption/Rejection

All executory contracts and unexpired leases not expressly assumed shall be deemed rejected
pursuant to the Plan. The Plan Supplement shall contain (a) a schedule of executory contracts and
unexpired leases to be assumed by the Debtors, including proposed Cure Costs (the “Assumed
Contract Schedule”). The Assumed Contract Schedule will also delineate which Reorganized
Debtor will either remain as the counter party to each such executory contract or unexpired lease
(with respect to Reorganized Custom Golf), or be assigned, in accordance with Section 8.03, such
executory contract or unexpired lease (with respect to Op.Co. or Prop.Co.).

Counterparties to the contracts on the Assumed Contract Schedule shall have until the fourteenth
(14th) day after the Effective Date to file an objection with the Bankruptcy Court with respect to
the proposed Cure Costs or be forever barred from seeking any amounts exceeding the amounts
on the Assumed Contract Schedule from the Debtors or the Reorganized Debtors and from filing
any statutory lien against the Reorganized Debtors or their properties for such amounts. Unless
there is a dispute as to Cure Costs, on the fourteenth (14th) day after the Effective Date, the
executory contracts and unexpired leases identified in the Assumed Contract Schedule shall be
assumed by the Debtors and vest in and be fully enforceable by the Reorganized Debtors or an
Affiliate of the Reorganized Debtors, as designated by the Reorganized Debtors, in their sole
discretion. All executory contracts and unexpired leases not identified on the Assumed Contract
Schedule, as may be amended, shall be deemed rejected as of the Effective Date.

The Debtors shall notify all counterparties to contracts on the Assumed Contract Schedule of the
filing of such Schedule and shall provide notice of such Schedule on the Debtors’ restructuring
website available at https://www.donlinrecano.com/Clients/warrior/index and such notice shall be
deemed good and sufficient notice for the purposes of Bankruptcy Code Section 365 and
otherwise.


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Notwithstanding the foregoing, the Debtors may alter, amend, modify or supplement the list of
executory contracts or unexpired leases identified in the Assumed Contract Schedule at any time
prior to the Effective Date by filing a revised Assumed Contract Schedule with the Bankruptcy
Court. Counterparties to the contracts on the revised Assumed Contract Schedule shall have
fourteen (14) calendar days from the Effective Date to file an objection with the Bankruptcy Court
with respect to the proposed Cure Costs or be forever barred from seeking any amounts exceeding
the amounts on the revised Assumed Contract Schedule from the Debtors or the Reorganized
Debtors.

Any executory contract rejected by this provision of the Plan, may file a proof of claim in
accordance with Section 8.06, which Claim shall be classified pursuant to the Plan, but shall not
be entitled to any other or further Claim or relief from either the Debtors or the Reorganized
Debtors.

8.02 Cure Costs

The monetary amounts by which each of the executory contracts and unexpired leases is in default
and shall be satisfied, pursuant to Bankruptcy Code Section 365(b)(1), shall be the Cure Costs
identified on the Assumed Contract Schedule; provided, however, if a counterparty to any of the
executory contracts or unexpired leases identified on the Assumed Contract Schedule files with
the Bankruptcy Court, and serves on the Debtors and their counsel, a written objection to the
proposed Cure Cost prior to the Cure Cost Objection Deadline (as defined below), then the Cure
Cost associated with such executory contract or unexpired lease will be determined as set forth
below.

If an objection to a Cure Cost is timely filed with the Bankruptcy Court, then the Debtors or the
Reorganized Debtors shall in good faith attempt to resolve the Cure Cost dispute. If the parties are
unable to agree on a Cure Cost within ten (10) calendar days after the filing of an objection, then
the Debtors or the Reorganized Debtors, as applicable, may request that the Bankruptcy Court
establish the applicable Cure Cost.

The Debtors shall satisfy the Cure Costs of assumed executory contracts and unexpired leases in
Cash by the latest of (i) the Effective Date (or as soon thereafter as is practicable), (ii) in the event
of a dispute regarding the Cure Cost, within thirty (30) calendar days of the entry of an order of
the Bankruptcy Court establishing such Cure Cost, or (iii) on such other terms as the parties to
such executory contracts and unexpired leases may otherwise agree.

Notwithstanding the foregoing, in the event of a dispute regarding: (1) the ability of the
Reorganized Debtors to provide “adequate assurance of future performance” (within the meaning
of Bankruptcy Code Section 365) under the contract or lease to be assumed or (2) any other matter
pertaining to assumption (each, an “Assumption Dispute”), the Cure Costs required by
Bankruptcy Code Section 365(b)(1) shall be made following the entry of a Final Order resolving
the Assumption Dispute and approving the assumption; provided, however, that in the event the
Debtors or the Reorganized Debtors and the applicable non-Debtor party involved in any
Assumption Dispute or any dispute regarding Cure Costs cannot otherwise consensually resolve
such dispute, the Debtors or the Reorganized Debtors, as applicable, may reject the executory
contract at issue pursuant to Bankruptcy Code Section 365 rather than paying the disputed Cure


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Cost, by presenting a proposed order to the Bankruptcy Court for such rejection, without any other
or further notice. In the event any executory contract is so rejected, the non-Debtor party thereto
shall be entitled to file a Proof of Claim, in accordance with Section 8.06, which Claim shall be
classified pursuant to the Plan, but shall not be entitled to any other or further Claim or relief from
either the Debtors or the Reorganized Debtors.

Notwithstanding anything in the Plan to the contrary, any Proof of Claim for a rejected executory
contract, shall be subject to all rights of the Debtors, the Reorganized Debtors or the Creditor
Trustee, to object to such Proof of Claim, as provide in the Plan.

8.03 Assumed Executory Contracts and Unexpired Leases & Assignment

Each executory contract and unexpired lease that is assumed will include (a) all amendments,
modifications, supplements, restatements, or other agreements made directly or indirectly by any
agreement, instrument, or other document that in any manner affect such executory contract or
unexpired lease; and (b) all executory contracts or unexpired leases and other rights appurtenant
to the property, including all easements, licenses, permits, rights, privileges, immunities, options,
rights of first refusal, powers, uses, reciprocal easement agreements, vaults, tunnel or bridge
agreements or franchises, and any other interests in real estate or rights in rem related to such
premises, unless any of the foregoing agreements have been rejected pursuant to an order of the
Bankruptcy Court or are the subject of a motion to reject filed on or before the Confirmation Date.

Amendments, modifications, supplements, and restatements to prepetition executory contracts and
unexpired leases that have been executed by the Debtors during these Chapter 11 Cases shall not
be deemed to alter the prepetition nature of the executory contract or unexpired lease, or the
validity, priority, or amount of any Claims that may arise in connection therewith.

Each assumed executory contract and unexpired lease, as identified on the Assumed Contract
Schedule as being assigned to either Op.Co. or Prop.Co., shall be deemed to have been assumed
and assigned in accordance with Section 365 of the Bankruptcy Code, as of the Effective Date, or
such date that such executory contract or unexpired lease is assumed.

8.04 Insurance Policies

Notwithstanding anything in this Plan to the contrary, all of the Debtors’ insurance policies and
any agreements, documents or instruments relating thereto, are treated as and deemed to be
executory contracts under the Plan. On the Effective Date, the Debtors shall be deemed to have
assumed all insurance policies and any agreements, documents, and instruments related thereto.
Unless otherwise determined by the Bankruptcy Court prior to the Effective Date, or agreed to by
the parties thereto prior to the Effective Date, no payments shall be required to cure any defaults
(if any) of the Debtors existing as of the Effective Date with respect to each such insurance policy
or agreement, and to the extent that the Bankruptcy Court determines otherwise as to any such
insurance policy or agreement, the Debtors’ right to seek the rejection of such insurance policy or
agreement or other available relief within thirty (30) calendar days of such determination are fully
reserved; provided, however, that the rights of any party that issues an insurance policy or
agreement to object to such proposed rejection on any and all grounds are fully reserved. Nothing
in the Plan, the Plan Documents, the Plan Supplement or the Confirmation Order, (a) alters,


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modifies or otherwise amends the terms and conditions of (or the coverage provided by) any of
the insurance policies or agreements, (b) limits the Reorganized Debtors from asserting a right or
claim to the proceeds of any insurance policy or agreement that insures any Debtor, was issued to
any Debtor or was assumed by the Reorganized Debtors by operation of the Plan or (c) impairs,
alters, waives, releases, modifies or amends any of the Debtors’ or Reorganized Debtors’ legal,
equitable or contractual rights, remedies, claims, counterclaims, defenses or Causes of Action in
connection with any of such insurance policies or agreements.

8.05 Officers’ and Directors’ Indemnification Rights

Notwithstanding any other provisions of the Plan, other than the second paragraph of this Section
8.05, the obligations of the Debtors to indemnify their directors, officers, managers and employees
who served in such capacity prior to or during these Chapter 11 Cases, against any obligations,
liabilities, costs or expenses pursuant to the articles of incorporation, bylaws or other
organizational documents of the Debtors, applicable state law, specific agreement (including any
employment agreement), or any combination of the foregoing, shall be deemed rejected executory
contracts (“D&O Indemnification Claims”), as of the Effective Date, without further Order of
the Bankruptcy Court. The non-Debtor party to a D&O Indemnification Claim shall be entitled to
file a Proof of Claim in accordance with Section 8.06, which Claim shall be classified pursuant to
the Plan, but shall not be entitled to any other or further Claim or relief from either the Debtors or
the Reorganized Debtors. Notwithstanding anything in the Plan to the contrary, any Proof of
Claim for a rejected D&O Indemnification Claim, shall be subject to all rights of the Debtors, the
Reorganized Debtors and/or the Creditor Trustee to object to such Proof of Claim, as provided in
the Plan.

Notwithstanding the preceding paragraph, the obligations of the Debtors to indemnify the CRO,
the CFO, and the Independent Board of Directors, prior to or during these Chapter 11 Cases and
through the Effective Date, against any obligations, liabilities, costs or expenses pursuant to the
articles of incorporation, bylaws or other organizational documents of the Debtors, applicable state
law, specific agreement (including any employment agreement), or any combination of the
foregoing, shall survive the Effective Date in all respects and be assumed by the Reorganized
Debtors.

8.06 Claims Based on Rejection of Executory Contracts and Unexpired Leases

Unless otherwise provided by a Bankruptcy Court order, any Proofs of Claim asserting Claims
arising from the rejection of the Debtors’ executory contracts and unexpired leases pursuant to this
Plan or otherwise must be filed no later than fourteen (14) calendar days after the Confirmation
Order is entered. Any Proofs of Claim arising from the rejection of the Debtors’ executory
contracts or unexpired leases that are not timely filed shall be disallowed automatically, forever
barred from assertion, and shall not be enforceable against the Debtors or the Reorganized Debtors
without the need for any objection by any Person or further notice to or action, order, or approval
of the Bankruptcy Court, and any Claim arising out of the rejection of the executory contract or
unexpired lease shall be deemed fully satisfied, released, and discharged, notwithstanding anything
in the Bankruptcy Schedules or a Proof of Claim to the contrary. All Allowed Claims arising from
the rejection of the Debtors’ executory contracts and unexpired leases shall be classified as General
Unsecured Claims and shall be treated in accordance with the particular provisions of this Plan for

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such Claims; provided, however, that if the Holder of an Allowed Claim for rejection damages has
an unavoidable security interest in any Collateral to secure obligations under such rejected
executory contract or unexpired lease, the Allowed Claim for rejection damages shall be treated
as an Other Secured Claim to the extent of the value of such Holder’s interest in the Collateral,
with the deficiency, if any, treated as a General Unsecured Claim.

8.07 Reservation of Rights

Nothing contained in this Plan shall constitute an admission by the Debtors or the Committee that
any particular contract is in fact an executory contract or unexpired lease or that the Debtors have
any liability thereunder. If there is a dispute regarding whether a contract or lease is or was
executory or unexpired at the time of assumption or rejection, the Debtors or the Reorganized
Debtors, as applicable, shall have thirty (30) calendar days following entry of a Final Order
resolving such dispute to alter and to provide appropriate treatment of such contract or lease.

8.08 Assignment

Any executory contract to be held by any of the Debtors or the Reorganized Debtors and assumed
hereunder or otherwise in these Chapter 11 Cases, if not expressly assigned to a third party
previously in these Chapter 11 Cases, will be deemed assigned to the applicable Reorganized
Debtor pursuant to Bankruptcy Code Section 365. If an objection to a proposed assumption,
assumption and assignment, or Cure Claim is not resolved in favor of the Debtors before the
Effective Date, the applicable executory contract may be designated by the Debtors or the
Reorganized Debtors for rejection within five (5) Business Days of the entry of the order of the
Court resolving the matter against the Debtors. Such rejection shall be deemed effective as of the
Effective Date.

8.09 Nonoccurrence of Effective Date

In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction
with respect to any request by the Debtors to extend the deadline for assuming or rejecting
unexpired leases pursuant to Bankruptcy Code Section 365(d)(4).

                                     SECTION 9
                         PROCEDURES FOR RESOLVING DISPUTED,
                        CONTINGENT, AND UNLIQUIDATED CLAIMS

9.01 Expunging of Certain Claims

Except as otherwise provided by a Bankruptcy Court order, all Claims marked or otherwise
Scheduled as contingent, unliquidated or disputed on the Bankruptcy Schedules and for which no
Proof of Claim has been timely filed, shall be deemed Disallowed Claims and such Claims shall
be expunged as of the Effective Date without the necessity of filing a claim objection and without
further notice to, or action, order or approval of the Bankruptcy Court.

Notwithstanding the forgoing paragraph, all Investor Claims and all Convertible Note Claims shall
be deemed allowed, as provided in the Second Bar Date Order.


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9.02 Objections to Claims

        (1)     Authority. The Debtors, and after the Effective Date, the Reorganized Debtors or
the Creditor Trustee, as applicable, shall have authority to file objections to any Claim, and to
withdraw any objections to any Claim that they may file. The Debtors, and after the Effective Date,
the Reorganized Debtors or the Creditor Trustee, as applicable depending on which Person brought
the objection, shall have authority to settle, compromise, or litigate to judgment any objections to
any Claim. Except as set forth above, after the Effective Date, the Reorganized Debtors or the
Creditor Trustee, as applicable, also shall have the right to resolve any Disputed Claim outside the
Bankruptcy Court under applicable governing law.

        (2)    Responsibility for Objections to Claims. The Debtors and the Reorganized
Debtors shall have the sole and exclusive responsibility for objection to all Claims, other than
Investor Claims, Convertible Note Claims, and, Claims and Interests of Excluded Parties. The
Creditor Trustee shall have sole and exclusive responsibility for objections to Investor Claims
(including with respect to the determination of the fair market value of Investor Benefits),
Convertible Note Claims, and, Claims and Interests of Excluded Parties. Objections to Claims,
includes the assertion of the receipt of an Investment Benefit, and the challenge to any such Claim
based upon the same.

        (3)    Objection Deadline. As soon as practicable, but no later than the Claim Objection
Deadline, the Debtors, and after the Effective Date, the Reorganized Debtors or Creditor Trustee,
as applicable, may file objections with the Bankruptcy Court and serve such objections on the
Creditors holding the Claims to which such objections are made. Nothing contained herein,
however, shall limit the right of the Reorganized Debtors or the Creditor Trustee, as applicable, to
object to Claims, if any, filed or amended after the Claim Objection Deadline. The Claim Objection
Deadline may be extended by the Bankruptcy Court upon motion by the Reorganized Debtors or
the Creditor Trustee, as applicable.

9.03 Estimation of Claims

The Debtors, the Reorganized Debtors or the Creditor Trustee, as applicable, as the case may be,
may at any time request that the Court estimate, subject to 28 U.S.C. Section 157, any Disputed
Claim pursuant to Bankruptcy Code Section 502(e) regardless of whether the Debtors or the
Reorganized Debtors have previously objected to such Claim. The Bankruptcy Court will retain
jurisdiction to estimate any Claim at any time, including during proceedings concerning any
objection to such Claim. In the event that the Bankruptcy Court estimates any Disputed Claim,
such estimated amount may constitute either (a) the Allowed amount of such Claim, (b) the
estimate to be used by the Debtors in calculating potential Plan Distributions under the Plan, or (c)
a maximum limitation on such Claim, as determined by the Bankruptcy Court. In the case of
Claims arising from personal injury tort or wrongful death actions, the Bankruptcy Court may
estimate such Claims for the purpose of confirming the Plan. If the estimated amount constitutes
a maximum limitation on such Claim, the Debtors, the Reorganized Debtors or the Creditor
Trustee, as applicable, may elect to object to ultimate payment of such Claim. All of the
aforementioned Claims objection, estimation and resolution procedures are cumulative and not
necessarily exclusive of one another.



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9.04 No Distributions Pending Allowance

Notwithstanding any other provision of this Plan, no payments or distributions shall be made with
respect to all or any portion of a Disputed Claim unless and until all objections to such Disputed
Claim have been settled or withdrawn or have been determined by Final Order, and the Disputed
Claim, or some portion thereof, has become an Allowed Claim.

9.05 Distributions After Allowance

The Disbursing Agent shall make payments and distributions to each Holder of a Disputed Claim
that has become an Allowed Claim in accordance with the provisions of this Plan governing the
class of Claims to which such Holder belongs. As soon as reasonably practicable after the date that
the order or judgment of the Bankruptcy Court allowing all or part of any Disputed Claim becomes
a Final Order, the Disbursing Agent shall distribute to the Holder of such Claim the distribution
(if any) that would have been made to such Holder on the Distribution Date had such Allowed
Claim been allowed on the Distribution Date.

9.06 Reduction of Claims

Notwithstanding the contents of the Bankruptcy Schedules, the Bankruptcy SOFAs or the
Individualized Proof of Claim Form, Claims listed therein as undisputed, liquidated and not
contingent shall be reduced by the amount, if any, that was paid by the Debtors before the Effective
Date, including pursuant to orders of the Bankruptcy Court. To the extent such payments are not
reflected in the Bankruptcy Schedules, the Bankruptcy SOFAs or the Individualized Proof of
Claim Form, such Bankruptcy Schedules, Bankruptcy SOFA, or Individualized Proof of Claim
Form, will be deemed amended and reduced to reflect that such payments were made. Nothing in
this Plan shall preclude the Debtors from paying Claims that the Debtors were authorized to pay
pursuant to any Final Order entered by the Bankruptcy Court before the Effective Date.

                                        SECTION 10
                        CONDITIONS PRECEDENT TO CONFIRMATION AND
                               CONSUMMATION OF THIS PLAN

10.01 Conditions Precedent to Confirmation

The following are conditions precedent to the occurrence of Confirmation, each of which must be
satisfied or waived:

       (1)    The Bankruptcy Court shall have entered an order, in form and substance
reasonably acceptable to the Debtors, the Committee and the DIP Lender, approving the Disclosure
Statement as containing adequate information within the meaning of Bankruptcy Code Section
1125, and such order shall have become a Final Order;

        (2)     The Plan and all documents contained in the Plan Supplement, including any
exhibits, schedules, amendments, modifications or supplements thereto, shall have been filed in
substantially final form and in form and substance reasonably acceptable to the Debtors and the
Committee; and


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        (3)     The Confirmation Order shall include, to the fullest extent permitted by applicable
law, a finding of fact that the Reorganized Debtors, the Committee, and their respective Related
Persons acted in good faith within the meaning of and with respect to all of the actions described
in Bankruptcy Code Section 1125(e) and are therefore not liable for the violation of any applicable
law, rule, or regulation governing such actions.

10.02 Conditions Precedent to the Effective Date of the Plan

The following are conditions precedent to Effective Date of the Plan, each of which must be
satisfied or waived in accordance with Section 10.04:

        (1)    The Debtors and the Committee shall have negotiated, executed and delivered the
Definitive Documentation with respect to the Plan and the Plan Supplement, in form and substance
acceptable to the Debtors and the Committee and otherwise consistent with the terms of the Plan;

       (2)      The Confirmation Order shall have been entered in form and substance reasonably
acceptable to the Debtors, the Committee and the DIP Lender and such order shall have become a
Final Order;

        (3)     There shall not be in effect any (i) order entered by any court of any competent
jurisdiction; (ii) order, opinion, ruling or other decision entered by any administrative or
governmental entity or (iii) applicable law, staying, restraining, enjoining or otherwise prohibiting
or making illegal the consummation of any of the transactions contemplated by this Plan.

10.03 Substantial Consummation

On the Effective Date, this Plan shall be deemed to be substantially consummated under
Bankruptcy Code Sections 1101 and 1127(b).

10.04 Waiver of Conditions

Each of the conditions set forth in Section 10.01 or Section 10.02 hereof may be waived in whole
or in part by written agreement of the Debtors with notice to the Committee. The failure to satisfy
or waive any condition to Confirmation or the Effective Date may be asserted by the Debtors
regardless of the circumstances giving rise to the failure of such condition to be satisfied.

10.05 Revocation, Withdrawal, or Non-Consummation

The Debtors reserve the right to revoke or withdraw this Plan at any time before the Confirmation
Date and to file subsequent plans of reorganization. If the Debtors revoke or withdraw this Plan,
or if Confirmation or Consummation of this Plan does not occur, then (i) this Plan shall be null
and void in all respects; (ii) any settlement or compromise embodied in this Plan (including the
fixing, allowance or limiting to an amount certain of any Claim or Interests or Class of Claims or
Interests), unless otherwise agreed to by the Debtors and any counterparty to such settlement or
compromise, and any document or agreement executed pursuant to this Plan, shall be deemed null
and void; and (iii) nothing contained in this Plan, and no acts taken in preparation for
Consummation of this Plan, shall (a) constitute or be deemed to constitute a waiver or release of
any Claims by or against, or any Interests in, the Debtors or any other Person, (b) prejudice in any

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manner the rights of the Debtors or any Person in any further proceedings involving the Debtors,
or (c) constitute an admission of any sort by the Debtors or any other Person.

                                  SECTION 11
                          AMENDMENTS AND MODIFICATIONS

The Debtors may alter, amend, or modify this Plan, the Plan Documents, or any Exhibits thereto
under Bankruptcy Code Section 1127(a) at any time before the Confirmation Date; provided,
however, that if any amendment, modification or supplement to this Plan (including the Plan
Supplement or a modification described in this Section 11) or any Exhibit hereto or thereto is made
without the prior written consent of the Committee, then the Committee shall have no obligation
to support, or take any actions in support of, this Plan. After the Confirmation Date and before
“substantial consummation” of this Plan, as defined in Bankruptcy Code Section 1101(2), the
Debtors, the Reorganized Debtors, or the Creditor Trustee, may, under Bankruptcy Code Section
1127(b), institute proceedings in the Bankruptcy Court to remedy any defect or omission or
reconcile any inconsistencies in this Plan, the Disclosure Statement, or the Confirmation Order,
and such matters as may be necessary to carry out the purposes and effects of this Plan, so long as
such proceedings do not materially adversely affect the treatment of Holders of Claims or Interests
under this Plan; provided, however, that prior notice of such proceedings shall be served in
accordance with the Bankruptcy Rules or order of the Bankruptcy Court.

Notwithstanding the foregoing, all modifications made to the Plan after solicitation of votes on the
Plan has commenced, as reflected in the Confirmation Order, as set forth on the record at the
Confirmation Hearing, or as reflected in the Plan, satisfy the requirements of Bankruptcy Code
Section 1127(a) and Bankruptcy Rule 3019, are not material or do not adversely affect the
treatment and rights of the Holders of any Claims or Interests under the Plan who have not
otherwise accepted such modifications. Accordingly, the Debtors have satisfied Bankruptcy Code
Section 1127(c) and Bankruptcy Rule 3019 with respect to the Plan, as modified; and Holders of
Claims or Interests that have accepted or rejected the Plan (or are deemed to have accepted or
rejected the Plan) are deemed to have accepted or rejected, as the case may be, the Plan as modified
on the date of the Confirmation Order, pursuant to Bankruptcy Code Section 1127(d) and
Bankruptcy Rule 3019.

                                     SECTION 12
                              RETENTION OF JURISDICTION

Under Bankruptcy Code Sections 105(a) and 1142, and notwithstanding entry of the Confirmation
Order and occurrence of the Effective Date, the Bankruptcy Court shall retain exclusive
jurisdiction over all matters arising out of, or related to, these Chapter 11 Cases and this Plan to
the fullest extent permitted by law, including, among other things, jurisdiction to:

       A.      allow, disallow, determine, liquidate, classify, estimate or establish the priority or
Secured or unsecured status of any Claim or Interest, including the resolution of any request for
payment of any Administrative Expense Claim and the resolution of any objections to the Secured
or unsecured status, priority, amount or allowance of Claims or Interests;




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       B.      hear and determine all applications for compensation and reimbursement of
expenses of Professionals under Bankruptcy Code Sections 327, 328, 330, 331, 503(b), 1103 or
1129(a)(4); provided, however, that from and after the Effective Date, the payment of fees and
expenses of Professionals retained by the Reorganized Debtors, or the Creditor Trustee, shall be
made in the ordinary course of business and shall not be subject to the approval of the Bankruptcy
Court except as otherwise set forth in this Plan;

       C.       hear and determine all matters with respect to the assumption or rejection of any
executory contract or unexpired lease to which the Debtors are a party or with respect to which the
Debtors may be liable, including, if necessary, the nature or amount of any required cure or the
liquidating of any claims arising therefrom;

        D.      hear and determine any and all adversary proceedings, motions, applications, and
contested or litigated matters arising out of, under, or related to, these Chapter 11 Cases, the
property of the Debtors, the property of the Reorganized Debtors, property of the Creditor Trust,
or the Creditor Trust Assets, whether filed before or after the Effective Date;

        E.    enter and enforce such orders as may be necessary or appropriate to execute,
implement, or consummate the provisions of this Plan and all contracts, instruments, releases, and
other agreements or documents created in connection with this Plan, the Disclosure Statement,
and/or the Confirmation Order;

      F.      hear and determine disputes arising in connection with the interpretation,
implementation, Consummation, or enforcement of this Plan, including disputes arising under
agreements, documents or instruments executed in connection with this Plan;

       G.     consider any modifications of this Plan, cure any defect or omission, or reconcile
any inconsistency in any order of the Bankruptcy Court, including, without limitation, the
Confirmation Order;

      H.     issue injunctions, enter and implement other orders, or take such other actions as
may be necessary or appropriate to restrain interference by any entity with implementation,
Consummation, or enforcement of this Plan, and/or the Confirmation Order;

       I.     enter and implement such orders as may be necessary or appropriate if the
Confirmation Order is for any reason reversed, stayed, revoked, modified, or vacated;

        J.     hear and determine any matters arising in connection with or relating to this Plan,
the Disclosure Statement, and/or the Confirmation Order or any other contract, instrument, release,
or other agreement or document created in connection with this Plan, the Disclosure Statement,
and/or the Confirmation Order;

        K.     enforce all orders, judgments, injunctions, releases, exculpations, indemnifications
and rulings entered in connection with these Chapter 11 Cases or pursuant to this Plan;

         L.       recover all assets of the Debtors and property of their Estates, wherever located;



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       M.     hear and determine matters concerning state, local, and federal taxes in accordance
with Bankruptcy Code Sections 346, 505, and 1146;

       N.     hear and determine all disputes involving the existence, nature, or scope of the
Debtors’ discharge or any releases granted in this Plan;

       O.     hear and determine such other matters as may be provided in the Confirmation
Order or as may be authorized under, or not inconsistent with, provisions of the Bankruptcy Code;

         P.       enter an order or final decree concluding or closing these Chapter 11 Cases; and

         Q.       enforce all orders previously entered by the Bankruptcy Court.

                                         SECTION 13
                        EFFECT OF THIS PLAN ON CLAIMS AND INTERESTS

13.01 Compromise and Settlements

Except for any Avoidance Actions (including the Assigned Estate Claims) and Causes of Action
of the Debtors that are being retained by the Reorganizing Debtors pursuant to Section 5.13,
pursuant to Bankruptcy Code Section 363 and Bankruptcy Rule 9019, and in consideration for the
classification, distribution and other benefits provided under this Plan, the provisions of this Plan
shall constitute a good faith compromise and settlement of all Claims, Interests and controversies
resolved pursuant to this Plan, including, without limitation, all Claims arising before the Petition
Date for each of the Debtors, whether known or unknown, foreseen or unforeseen, asserted or
unasserted, arising out of, relating to or in connection with the business or affairs of, or transactions
with, the Debtors. The entry of the Confirmation Order shall constitute the Bankruptcy Court’s
approval of each of the foregoing compromises or settlements, and all other compromises and
settlements provided for in this Plan, and the Bankruptcy Court’s findings shall constitute its
determination that such compromises and settlements are in the best interests of the Debtors, their
Estates, Creditors, Holders of Interests and other parties in interest, and are fair, equitable and
within the range of reasonableness.

13.02 Satisfaction of Claims

The rights afforded in this Plan and the treatment of all Claims and Interests herein shall be in
exchange for and in complete satisfaction, discharge, and release of all Claims and Interests of any
nature whatsoever against the Debtors or their Estates, assets, properties, or interests in property.
Except as otherwise provided in this Plan and/or the Confirmation Order, on the Effective Date,
all Claims against and Interests in the Debtors shall be satisfied, discharged, and released in full.
None of the Debtors, Reorganized Debtors or their Affiliates, shall be responsible for any pre-
Effective Date obligations of the Debtors, except those expressly assumed by the Debtors or the
Reorganized Debtors, as applicable. Except as otherwise provided in this Plan and/or the
Confirmation Order, all Persons and Entities shall be precluded and forever barred from asserting
against the Debtors, Reorganized Debtors and their Affiliates, their respective successors or
assigns, or their Estates, assets, properties, or interests in property any event, occurrence,
condition, thing, or other or further Claims or Causes of Action based upon any act, omission,
transaction, or other activity of any kind or nature that occurred or came into existence before the

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Effective Date, whether or not the facts of or legal bases therefore were known or existed before
the Effective Date.

13.03 Term of Injunction or Stays

Unless otherwise provided, all injunctions or stays arising under or entered during the Chapter 11
Cases under Bankruptcy Code Sections 105 or 363, or otherwise, and in existence on the
Confirmation Date, shall remain in full force and effect until the later of the Effective Date and the
date indicated in the order providing for such injunction or stay.

13.04 Discharge of Liabilities

PURSUANT TO BANKRUPTCY CODE § 1141(D), AND EXCEPT AS OTHERWISE
SPECIFICALLY PROVIDED IN THIS PLAN AND/OR THE CONFIRMATION ORDER,
THE PLAN DISTRIBUTIONS, RIGHTS, AND TREATMENT THAT ARE PROVIDED IN
THIS PLAN SHALL BE IN COMPLETE SATISFACTION, DISCHARGE, AND
RELEASE, EFFECTIVE AS OF THE EFFECTIVE DATE, OF ALL CLAIMS,
INTERESTS, AND CAUSES OF ACTION OF ANY NATURE WHATSOEVER,
INCLUDING ANY INTEREST ACCRUED ON CLAIMS OR INTERESTS FROM AND
AFTER THE PETITION DATE, WHETHER KNOWN OR UNKNOWN, AGAINST,
LIABILITIES OF, LIENS ON, OBLIGATIONS OF, RIGHTS AGAINST, AND
INTERESTS IN, THE DEBTORS OR ANY OF THEIR ASSETS OR PROPERTIES,
REGARDLESS OF WHETHER ANY PROPERTY SHALL HAVE BEEN DISTRIBUTED
OR RETAINED PURSUANT TO THIS PLAN ON ACCOUNT OF SUCH CLAIMS AND
INTERESTS, INCLUDING DEMANDS, LIABILITIES, AND CAUSES OF ACTION
THAT AROSE BEFORE THE EFFECTIVE DATE, ANY LIABILITY (INCLUDING
WITHDRAWAL LIABILITY) TO THE EXTENT SUCH CLAIMS OR INTERESTS
RELATE TO SERVICES PERFORMED BY EMPLOYEES OF THE DEBTORS BEFORE
THE EFFECTIVE DATE AND THAT ARISE FROM A TERMINATION OF
EMPLOYMENT OR A TERMINATION OF ANY EMPLOYEE OR RETIREE BENEFIT
PROGRAM (FORMAL OR INFORMAL), REGARDLESS OF WHETHER SUCH
TERMINATION OCCURRED BEFORE OR AFTER THE EFFECTIVE DATE, ANY
CONTINGENT OR NON-CONTINGENT LIABILITY ON ACCOUNT OF
REPRESENTATIONS OR WARRANTIES ISSUED ON OR BEFORE THE EFFECTIVE
DATE, AND ALL DEBTS OF THE KIND SPECIFIED IN BANKRUPTCY CODE §§
502(G), 502(H), OR 502(I), IN EACH CASE WHETHER OR NOT: (A) A PROOF OF
CLAIM OR INTEREST BASED UPON SUCH DEBT, RIGHT, CLAIM, OR INTEREST
IS FILED OR DEEMED FILED PURSUANT TO BANKRUPTCY CODE § 501; (B) A
CLAIM OR INTEREST BASED UPON SUCH CLAIM, DEBT, RIGHT, OR INTEREST
IS ALLOWED PURSUANT TO BANKRUPTCY CODE § 502; OR (C) THE HOLDER OF
SUCH A CLAIM OR INTEREST HAS ACCEPTED THIS PLAN.

SUBJECT TO THE TERMS OF THIS PLAN AND/OR THE CONFIRMATION ORDER,
ANY DEFAULT BY THE DEBTORS (OTHER THAN EXCLUDED PARTIES) WITH
RESPECT TO ANY CLAIM OR INTEREST THAT EXISTED IMMEDIATELY BEFORE
OR ON ACCOUNT OF THE FILING OF THESE CHAPTER 11 CASES SHALL BE
DEEMED SATISFIED ON THE EFFECTIVE DATE.

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SUBJECT TO THE TERMS OF THIS PLAN, THE CONFIRMATION ORDER SHALL
BE A JUDICIAL DETERMINATION OF THE DISCHARGE OF ALL CLAIMS AND
INTERESTS SUBJECT TO THE EFFECTIVE DATE OCCURRING. SUBJECT TO THE
TERMS OF THIS PLAN, THE CONFIRMATION ORDER SHALL BE A JUDICIAL
DETERMINATION OF DISCHARGE OF ALL LIABILITIES OF THE DEBTORS,
THEIR ESTATES, THE REORGANIZED DEBTORS AND ALL SUCCESSORS
THERETO. AS PROVIDED IN BANKRUPTCY CODE § 524, SUBJECT TO THE TERMS
OF THIS PLAN AND/OR THE CONFIRMATION ORDER SUCH DISCHARGE SHALL
VOID ANY JUDGMENT AGAINST THE DEBTORS, THEIR ESTATES, THE
REORGANIZED DEBTORS OR ANY SUCCESSORS THERETO AT ANY TIME
OBTAINED TO THE EXTENT IT RELATES TO A CLAIM OR INTEREST
DISCHARGED, AND OPERATES AS AN INJUNCTION AGAINST THE
PROSECUTION OF ANY ACTION AGAINST THE REORGANIZED DEBTORS OR
THEIR PROPERTY AND ASSETS TO THE EXTENT IT RELATES TO A
DISCHARGED CLAIM OR INTEREST.

13.05 Releases by the Debtors, their Estates and the Reorganized Debtors

PURSUANT TO SECTION 1123(B) OF THE BANKRUPTCY CODE, AND EXCEPT AS
OTHERWISE SPECIFICALLY PROVIDED IN THE PLAN OR THE CONFIRMATION
ORDER, FOR GOOD AND VALUABLE CONSIDERATION, INCLUDING THE
SERVICE OF THE PARTIES RELEASED HEREIN TO FACILITATE THE
EXPEDITIOUS     REORGANIZATION    OF   THE   DEBTORS    AND    THE
IMPLEMENTATION OF THE RESTRUCTURING CONTEMPLATED BY THE PLAN,
ON AND AFTER THE EFFECTIVE DATE, ALL RELEASED PERSONS ARE DEEMED
RELEASED AND DISCHARGED BY THE DEBTORS AND THEIR ESTATES AND THE
REORGANIZED DEBTORS, FROM ANY AND ALL CLAIMS, OBLIGATIONS,
RIGHTS, SUITS, DAMAGES, CAUSES OF ACTION, REMEDIES AND LIABILITIES
WHATSOEVER, INCLUDING ANY DERIVATIVE CLAIMS, ASSERTED OR
ASSERTABLE ON BEHALF OF THE DEBTORS OR THE REORGANIZED DEBTORS,
WHETHER KNOWN OR UNKNOWN, FORESEEN OR UNFORESEEN, EXISTING OR
HEREINAFTER ARISING, IN LAW, EQUITY OR OTHERWISE, THAT THE
DEBTORS, THEIR ESTATES, THE REORGANIZED DEBTORS, OR THEIR
RESPECTIVE AFFILIATES WOULD HAVE BEEN LEGALLY ENTITLED TO ASSERT
IN THEIR OWN RIGHT (WHETHER INDIVIDUALLY OR COLLECTIVELY) OR ON
BEHALF OF THE HOLDER OF ANY CLAIM OR INTEREST OR OTHER ENTITY,
BASED ON OR RELATING TO, OR IN ANY MANNER ARISING FROM, IN WHOLE
OR IN PART, THE DEBTORS, THE REORGANIZED DEBTORS, THESE CHAPTER 11
CASES, THE DEBTORS’ RESTRUCTURING, THE DIP FACILITY, THE SUBJECT
MATTER OF, OR THE TRANSACTIONS OR EVENTS GIVING RISE TO, ANY CLAIM
OR INTEREST THAT IS TREATED IN THE PLAN, THE BUSINESS OR
CONTRACTUAL ARRANGEMENTS BETWEEN THE DEBTORS AND ANY
RELEASED PERSONS, THE RESTRUCTURING OF CLAIMS AND INTERESTS
BEFORE OR DURING THESE CHAPTER 11 CASES, THE NEGOTIATION,
FORMULATION OR PREPARATION OF THE PLAN AND DISCLOSURE
STATEMENT, OR RELATED AGREEMENTS, INSTRUMENTS OR OTHER
DOCUMENTS, ANY OTHER ACT OR OMISSION, TRANSACTION, AGREEMENT,

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EVENT OR OTHER OCCURRENCE TAKING PLACE ON OR BEFORE THE
CONFIRMATION DATE, OTHER THAN CLAIMS OR LIABILITIES ARISING OUT OF
OR RELATING TO ANY ACT OR OMISSION OF A RELEASED PERSON THAT
CONSTITUTES WILLFUL MISCONDUCT (INCLUDING FRAUD) OR GROSS
NEGLIGENCE. THE FOREGOING RELEASE SHALL NOT APPLY TO ANY EXPRESS
CONTRACTUAL OR FINANCIAL OBLIGATIONS OR ANY RIGHT OR
OBLIGATIONS ARISING UNDER OR THAT IS PART OF THE PLAN OR ANY
AGREEMENTS ENTERED INTO PURSUANT TO, IN CONNECTION WITH, OR
CONTEMPLATED BY THE PLAN.

13.06 Exculpation

THE RELEASED PERSONS SHALL NOT BE LIABLE FOR ANY CAUSE OF ACTION
ARISING IN CONNECTION WITH OR OUT OF THE ADMINISTRATION OF THESE
CHAPTER 11 CASES, THE PLANNING OF THESE CHAPTER 11 CASES, THE
FORMULATION, NEGOTIATION OR IMPLEMENTATION OF THIS PLAN, THE
GOOD FAITH SOLICITATION OF ACCEPTANCES OF THIS PLAN IN
ACCORDANCE WITH BANKRUPTCY CODE SECTION 1125(E), PURSUIT OF
CONFIRMATION OF THIS PLAN, THE CONSUMMATION OF THIS PLAN, OR THE
ADMINISTRATION OF THIS PLAN, EXCEPT FOR GROSS NEGLIGENCE OR
WILLFUL MISCONDUCT AS DETERMINED BY A FINAL ORDER OF THE
BANKRUPTCY COURT. ALL HOLDERS OF CLAIMS AND INTERESTS ARE
ENJOINED FROM ASSERTING OR PROSECUTING ANY CLAIM OR CAUSE OF
ACTION AGAINST ANY RELEASED PERSON FOR WHICH SUCH PARTY HAS BEEN
EXCULPATED FROM LIABILITY PURSUANT TO THE PRECEDING SENTENCE.

13.07 Recoupment

Except as provided in this Plan and/or the Confirmation Order any Holder of a Claim or Interest
shall not be entitled to recoup any Claim or Interest against any Claim, right, or Cause of Action
of the Debtors or the Reorganized Debtors, as applicable, unless such Holder actually has
performed such recoupment and provided notice thereof in writing to the Debtors on or before the
Confirmation Date, notwithstanding any indication in any Proof of Claim or Interest or otherwise
that such Holder asserts, has, or intends to preserve any right of recoupment.

13.08 Release of Liens

Except as otherwise provided in this Plan or in any contract, instrument, release, or other agreement
or document created pursuant to this Plan, on the Effective Date and concurrently with the
applicable distributions made pursuant to this Plan and, in the case of a Secured Claim, satisfaction
of the portion of the Secured Claim that is Allowed as of the Effective Date as set forth in this
Plan, all mortgages, deeds of trust, Liens, pledges, or other security interests against any property
of the Debtors’ Estates shall be fully released and discharged, and all of the right, title, and interest
of any Holder of such mortgages, deeds of trust, Liens, pledges, or other security interests shall
revert to the Debtors and their successors and assigns.




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13.09 Good Faith

As of the Confirmation Date, the Debtors and the Committee shall be deemed to have solicited
acceptances or rejections of this Plan in good faith and in compliance with the applicable
provisions of the Bankruptcy Code.

13.10 Protection against Discriminatory Treatment

Consistent with Bankruptcy Code Section 525 and the Supremacy Clause of the United States
Constitution, all Entities, including governmental units, shall not discriminate against the
Reorganized Debtors or deny, revoke, suspend or refuse to renew a license, permit, charter,
franchise or other similar grant to, condition such a grant to, discriminate with respect to such a
grant against, the Reorganized Debtors or another Entity with whom such Reorganized Debtors
have been associated, solely because the Debtors have been debtors under chapter 11, have been
insolvent before the commencement of these Chapter 11 Cases (or during these Chapter 11 Cases
but before the Debtors are granted or denied a discharge) or have not paid a debt that is
dischargeable in these Chapter 11 Cases.

13.11 Rights of Defendants and Avoidance Actions

All rights, if any, of a defendant to assert a Claim arising from relief granted in an Avoidance
Action (including the Assigned Avoidance Actions), together with the Reorganized Debtors’ and
the Creditors Trustee’s right to oppose such Claim are fully preserved. Any such Claim that is
Allowed shall be entitled to treatment and distribution under this Plan as a General Unsecured
Claim.

                                      SECTION 14
                               MISCELLANEOUS PROVISIONS

14.01 Severability of Plan Provisions

If, before Confirmation, any term or provision of this Plan is held by the Bankruptcy Court to be
invalid, void or unenforceable, the Bankruptcy Court, at the request of the Debtors, shall have the
power to alter and interpret such term or provision to make it valid or enforceable to the maximum
extent practicable, consistent with the original purpose of the term or provision held to be invalid,
void or unenforceable, and such term or provision shall then be applicable as altered or interpreted.
Notwithstanding any such holding, alteration or interpretation, the remainder of the terms and
provisions of this Plan shall remain in full force and effect and shall in no way be affected, impaired
or invalidated by such holding, alteration or interpretation. The Confirmation Order shall constitute
a judicial determination and shall provide that each term and provision of this Plan, as it may have
been altered or interpreted in accordance with the foregoing, is valid and enforceable pursuant to
its terms.




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14.02 Successors and Assigns

The rights, benefits and obligations of any Person named or referred to in this Plan, including any
Holder of a Claim, shall be binding on, and shall inure to the benefit of, any heir, executor,
administrator, successor or assign of such entity.

14.03 Binding Effect

This Plan shall be binding upon and inure to the benefit of the Debtors, all present and former
Holders of Claims against and Interests in the Debtors, their respective successors and assigns and
all other parties-in-interest in these Chapter 11 Cases. WGP Investors that have not validly
exercised the WGP Opt Out Right are deemed parties-in-interest in these Chapter 11 Cases.

14.04 Notices

Any notice, request, or demand required or permitted to be made or provided under this Plan to or
upon the Debtors, the Reorganized Debtors, the Committee, the Creditor Trustee or the Creditor
Trust, shall be (i) in writing; (ii) served by (a) certified mail, return receipt requested, (b) hand
delivery, (c) overnight delivery service, (d) first class mail, or (e) E-mail, and concurrently by first
class mail; and (iii) deemed to have been duly given or made when actually delivered or, in the
case of E-Mail transmission, when received by first class mail, addressed as follows:

         If to the Debtors or Reorganized Debtors, as applicable:

         Warrior Custom Golf
         Attn: Jeremy Rosenthal, CEO
         15 Mason, Suite A
         Irvine, CA 92618
         E-Mail: jrosenthal@force10partners.com

         With a copy to (which shall not constitute notice upon the applicable Reorganized
         Debtor):

         COLE SCHOTZ P.C.
         301 Commerce Street, Ste. 1700
         Fort Worth, TX 76102
         Attn: Michael D. Warner, Esq.
         E-Mail: mwarner@coleschotz.com


         If to the Committee:

         COZEN O’CONNOR
         1201 N. Market Street, Ste. 1001
         Wilmington, DE 19801
         Attn: Thomas J. Francella, Jr., Esq.
         E-Mail: tfrancella@cozen.com


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         If to the Creditor Trust or the Creditor Trustee:

         Warrior Creditor Trust Trustee
         c/o Force 10 Advisory Services LLC
         20341 SW Birch St., Suite 220
         Newport Beach, CA 92660
         E-Mail: jrosenthal@force10partners.com


14.05 Term of Injunctions or Stay

Unless otherwise provided in this Plan and/or Confirmation Order, all injunctions or stays provided
for in these Chapter 11 Cases under Bankruptcy Code Sections 105 or 362 or otherwise, and in
existence on the Confirmation Date (excluding any injunctions or stays contained in this Plan or
Confirmation Order and in any order of the Bankruptcy Court concerning preservation of any net
operating losses), shall remain in full force and effect until the Effective Date. All injunctions or
stays contained in this Plan and/or Confirmation Order shall remain in full force and effect in
accordance with their terms.

14.06 No Admissions

Notwithstanding anything herein to the contrary, nothing in this Plan shall be deemed as an
admission by the Debtors or the Committee with respect to any matter set forth herein, including
liability on any Claim.

14.07 Notice of the Effective Date

Within five (5) Business Days after the Effective Date, the Debtors shall file on the docket of the
Bankruptcy Court a Notice of Effective Date stating that (i) all conditions to the occurrence of the
Effective Date have been satisfied or waived with the consent of the Requisite Majority Consenting
Secured Lenders; (ii) the Effective Date has occurred and specifying the date thereof for all
purposes under this Plan; and (iii) setting forth the name, address and telephone number for the
Reorganized Debtors.

14.08 Governing Law

Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
Bankruptcy Rules), the laws of the State of Texas, without giving effect to the principles of
conflicts of law thereof, shall govern the construction and implementation of this Plan and any
agreements, documents, and instruments executed in connection with this Plan (except as
otherwise set forth in those agreements, in which case the governing law of such agreement shall
control) as well as corporate governance matters with respect to the Debtors; provided, however,
that corporate governance matters relating to the Debtors, the Reorganized Debtors, or their
Affiliates as applicable, not organized under Texas law shall be governed by the laws of the state
of organization of such entity.




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14.09 Plan Documents

The Plan Documents are incorporated herein and are a part of this Plan as set forth in full herein.

14.10 Prior Orders of the Bankruptcy Court

Except to the extent explicitly stated in this Plan, all prior Orders of the Bankruptcy Court shall
remain in full force and effect.

14.11 Conflicts among Documents

In the event of a conflict between the Disclosure Statement and this Plan, the Plan shall control.
In the event of a conflict between the Plan and the Creditor Trust Agreement, the Creditor Trust
Agreement will control. Notwithstanding the forgoing conflict resolution structures, absent a
conflict, the Disclosure Statement, the Plan and the Creditor Trust Agreement are to be construed
collectively.

14.12 Entire Agreement

This Plan and the Plan Documents set forth the entire agreement and understanding among the
parties-in-interest relating to the subject matter hereof and supersede all prior discussions and
documents.

                                       SECTION 15
                                 CONFIRMATION REQUEST

The Debtors and the Committee request Confirmation of this Plan under Bankruptcy Code Section
1129. If any Impaired Class does not accept this Plan pursuant to Bankruptcy Code Section 1126,
the Debtors and the Committee request Confirmation pursuant to Bankruptcy Code Section
1129(b). In that event, the Debtors and the Committee reserve the right to modify this Plan to the
extent (if any) that Confirmation of this Plan under Bankruptcy Code Section 1129(b) requires
modification.

                                    [Signature Pages Follow]




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Dated: March 20, 2020                       Westwind Manor Resort Association, Inc.
                                            Warrior Custom Golf, Inc.
                                            Warrior Acquisitions, LLC
                                            Warrior Golf, LLC
                                            Warrior ATV Golf, LLC
                                            Warrior Golf Development, LLC
                                            Warrior Golf Management, LLC
                                            Warrior Golf Assets, LLC
                                            Warrior Golf Venture, LLC
                                            Warrior Premium Properties, LLC
                                            Warrior Golf Equities, LLC
                                            Warrior Golf Capital, LLC
                                            Warrior Golf Resources, LLC
                                            Warrior Golf Legends, LLC
                                            Warrior Golf Holdings, LLC
                                            Warrior Capital Management, LLC


                                            By:    /s/ Jeremy Rosenthal
                                            Name: Jeremy Rosenthal
                                            Title: Chief Restructuring Officer



                                            The Official Committee of Unsecured
                                            Creditors


                                            By:   /s/ Raymond J. Kiefer
                                            Name: Raymond J. Kiefer, its Chairperson




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                               EXHIBIT 2
                         CONFIRMATION NOTICE




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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                                 )
In re:                                                           )    Chapter 11
                                                                 )
WESTWIND MANOR RESORT                                            )    Case No. 19-50026 (DRJ)
ASSOCIATION, INC., et al.,3                                      )
                                                                 )    Jointly Administered
                                      Debtors.
                                                                 )

                NOTICE OF CONFIRMATION OF PLAN, PERMANENT INJUNCTION,
                        VARIOUS DEADLINES, EFFECTIVE DATE

                                                           AND

                DEADLINE FOR FILING ADMINISTRATIVE CLAIMS AND CLAIMS
              ARISING FROM THE REJECTION OF EXECUTORY CONTRACTS
                             AND UNEXPIRED LEASES


       PLEASE TAKE NOTICE that on June 15, 2020, the United States Bankruptcy Court for
the Southern District of Texas entered the Findings of Fact, Conclusions of Law, and Order
Confirming the Debtors’ Joint Chapter 11 Plan as of March 20, 2020 (the “Confirmation Order”).
The Confirmation Order confirmed the Debtors’ Joint Chapter 11 Plan (as amended and modified
to date, the “Plan”), filed by the above-captioned debtors and debtors in possession (the
“Debtors”).

      PLEASE TAKE FURTHER NOTICE that copies of the Confirmation Order and the
Plan may be obtained at the following website: https://www.donlinrecano.com/Clients/warrior/index.

           PLEASE TAKE FURTHER NOTICE that the Effective Date of the Plan occurred on [
], 2020;

       PLEASE TAKE FURTHER NOTICE that the Plan contains certain permanent
injunctions, releases, exculpations, and related provisions in Section 13 of the Plan.




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  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, are: Westwind
Manor Resort Association, Inc. (7533); Warrior ATV Golf, LLC (3420); Warrior Acquisitions, LLC (9919); Warrior Golf
Development, LLC (5741); Warrior Golf Management, LLC (7882); Warrior Golf Assets, LLC (1639); Warrior Golf Venture,
LLC (7752); Warrior Premium Properties, LLC (0220); Warrior Golf, LLC (4207); Warrior Custom Golf, Inc. (2941); Warrior
Golf Equities, LLC (9803); Warrior Golf Capital, LLC (5713); Warrior Golf Resources, LLC (6619); Warrior Golf Legends, LLC
(3099); Warrior Golf Holdings, LLC (2892); and Warrior Capital Management, LLC (8233). The address of the Debtors’ corporate
headquarters is 15 Mason, Suite A, Irvine, California 92618.


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        PLEASE TAKE FURTHER NOTICE that the Confirmation Order provides, among

other things, the following deadlines:

       a.      Administrative Bar Date (General). Except as otherwise provided in the Plan,
any Person holding an Administrative Claim (other than a claim for Professional
Compensation) shall File a request for payment of such Administrative Claim within thirty
(30) days following the Effective Date, except as specifically set forth in the Plan or a Final
Order. At the same time any Person Files an Administrative Claim, such Person shall also
serve a copy of the Administrative Claim upon counsel for the Debtors. Any Person who fails
to timely File and serve a request for payment of such Administrative Claim shall be forever
barred from asserting such Administrative Claim against the Debtors, the Estates, the
Reorganized Debtors, the Creditor Trustee, the Creditor Trust or any of their respective
properties.

       b.      Administrative Bar Date (Professionals). Any Person seeking an award by this
Court of Professional Compensation shall File a final application with this Court for
allowance of Professional Compensation for services rendered and reimbursement of
expenses incurred through the Effective Date within thirty (30) days after the Effective Date.
The provisions of this paragraph shall not apply to any Professional providing services
pursuant to, and subject to the limits contained in, the Order Authorizing Debtors the
Retention and Compensation of Professionals Utilized in the Ordinary Course of Business
entered in the Chapter 11 Cases on June 6, 2019 [Docket No. 290].

        c.     Bar Date for Rejection Damage Claims. All proofs of claim with respect to
Claims arising from the rejection pursuant to the Plan of any executory contracts or
unexpired leases, if any, must be Filed with the Bankruptcy Court no later than the later of
(a) thirty (30) days after the Effective Date, and (b) thirty (30) days after the entry of an
order rejecting such executory contract or unexpired lease. Any Claims arising from the
rejection of executory contracts or unexpired leases that become Allowed Claims are
classified and shall be treated as Class 4 in accordance with Section 3 of the Plan. Any Claims
arising from the rejection of an executory contract or unexpired lease pursuant to the Plan
not Filed within the time required by this section will be forever barred from assertion
against the Debtors, their Estates, the Reorganized Debtors, the Creditor Trustee, the
Creditor Trust or any of their respective properties unless otherwise ordered by this Court
or provided in the Plan. Notwithstanding the foregoing, a Claim for damages arising from
the rejection of an executory contract or unexpired lease rejected pursuant to a different
order of this Court must be Filed prior to any bar date set forth in such order.




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       PLEASE TAKE FURTHER NOTICE that the Plan and the Confirmation Order contain
other provisions that may affect your rights. You are encouraged to review the Plan and the
Confirmation Order in their entirety.


 Dated: ______, 2020                                 Respectfully submitted,


                                                 By: /s/ Michael D. Warner
                                                     Michael D. Warner (TX Bar No. 00792304)
                                                     Benjamin L. Wallen (TX Bar No. 24102623)
                                                     COLE SCHOTZ P.C.
                                                     301 Commerce Street, Suite 1700
                                                     Ft. Worth, TX 76102
                                                     (817) 810-5250
                                                     (817) 810-5255 (fax)
                                                     mwarner@coleschotz.com
                                                     bwallen@coleshotz.com

                                                    Counsel for the Debtors




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